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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                  Chapter 11
In re:

MOUNTAIN EXPRESS OIL COMPANY, et al.,                             Case No. 23-90147 (DRJ)

                                  Debtors. 1                      (Jointly Administered)


    MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES LLP
        FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT
          OF EXPENSES AS COUNSEL TO THE DEBTORS FOR THE
           PERIOD FROM APRIL 1, 2023 THROUGH APRIL 30, 2023

         Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [Docket No. 408] (the “Compensation Order”),

Pachulski Stang Ziehl & Jones LLP (“PSZJ”), attorneys for the above-captioned debtors and

debtors in possession (the “Debtors”), submits this monthly statement (“Statement”) of services

rendered and expenses incurred in these Chapter 11 Cases for the period from April 1, 2023

through April 30, 2023 (the “Statement Period”).

         I.      Itemization of Services Rendered by PSZJ:

         A.      The following is a list of individuals and their respective titles that provided

services during the Statement Period. It includes information regarding their respective billing

rates and the total number of hours spent by each individual providing services during the

Statement Period for which PSZJ seeks compensation.




1   A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor
    Mountain Express Oil Company’s principal place of business and the Debtors’ service address in these Chapter
    11 Cases is 3650 Mansell Road, Suite 250, Alpharetta, GA 30022.


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                                            SUMMARY

                                              State of Bar
                               Position /                      Hourly                       Total
             Name                             Admission /                     Hours
                                Dept.                           Rate                     Compensation
                                                 Year
 Jeffrey N. Pomerantz         Partner       CA 1989          $1,595.00        100.40     $160,138.00
 Henry C. Kevane              Partner       CA 1986          $1,550.00        113.10     $175,305.00
 Richard J. Gruber            Counsel       CA 1982          $1,525.00          0.30         $457.50
 Michael D. Warner            Partner       TX 1995          $1,495.00         10.30      $15,398.50
                                            TX 1997
 Maxim B. Litvak              Partner                        $1,445.00         48.30      $69,793.50
                                            CA 2001
                                            NY 1983
 Iain A. W. Nasatir           Partner                        $1,395.00          0.80        $1,116.00
                                            CA 1990
 Jeffrey W. Dulberg           Partner       CA 1995          $1,295.00        206.00     $266,770.00
 Malhar S. Pagay              Partner       CA 1997          $1,295.00         42.50      $55,037.50
                                            IL 2008
 Gregory Vincent Demo         Partner                        $1,250.00         69.10      $86,375.00
                                            NY 2015
 Jonathan J. Kim              Counsel       CA 1996          $1,175.00         47.90      $56,282.50
 Victoria A. Newmark          Counsel       CA 1996          $1,175.00         51.10      $60,042.50
                                            NY 1984
 Robert M. Saunders           Counsel       FL 1995          $1,095.00         16.60      $18,177.00
                                            CA 2003
 Nina L. Hong                 Partner       CA 1996          $1,075.00          0.50          $537.50
 Gina F. Brandt               Counsel       CA 1976          $1,050.00          1.90        $1,995.00
                                            PA 2008
 Peter J. Keane               Counsel       NH 2010          $1,025.00         43.30      $44,382.50
                                            DE 2010
 Cia H. Mackle                Counsel       FL 2006            $925.00          2.80       $2,590.00
 Ben L. Wallen                Associate     TX 2016            $895.00        194.80     $174,346.00
                                            NY & MD 2015
 Steven W. Golden             Partner       TX 2016            $895.00        177.90     $159,220.50
                                            DE 2022
                                            NY 2018
 Edward A. Corma              Associate     PA 2019            $725.00          6.10        $4,422.50
                                            DE 2020
 Leslie A. Forrester          Other         N/A                $595.00          9.00       $5,355.00
 Kerri L. LaBrada             Paralegal     N/A                $545.00         24.10      $13,134.50
 Patricia J. Jeffries         Paralegal     N/A                $545.00        118.80      $64,746.00
 Denise L. Mendoza            Other         N/A                $395.00          9.50       $3,752.50
 Total:                                                                     1,295.10     $1,439,375.00

        B.        The time records of PSZJ consisting of a daily breakdown of the time spent by

each person on each day, and detail as to the disbursements incurred are attached as Exhibit A to

this Statement.


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        II.      Itemization of Services Rendered and Disbursements Incurred By Category

        The following itemization presents the services rendered by PSZJ by Task Categories,

and provides a summary of disbursements incurred by category of disbursement.

                 1.          Services Rendered

        The following services were rendered in the following Task Categories:

                      Task Category                         Hours           Fees Earned
       Asset Analysis / Recovery                               73.00         $ 78,806.00
       Asset Disposition                                       93.00         $120,050.50
       Bankruptcy Litigation                                   74.40         $ 79,246.50
       Case Administration                                    205.50         $196,485.50
       Claims Administration / Objections                       8.20         $ 6,764.00
       Compensation of Professionals                           13.60         $ 16,083.50
       Corporate Governance / Board Matters                    48.20         $ 53,194.00
       Employee Benefits / Pension                             33.80         $ 44,501.00
       Executory Contracts                                    242.70         $274,244.00
       Financial Filings                                       26.00         $ 22,850.00
       Financing                                              128.30         $181,096.50
       General Creditors’ Committee                            15.80         $ 21,983.00
       Insurance Coverage                                       2.30         $ 3,058.50
       Litigation                                              22.60         $ 23,516.00
       Meeting of Creditors                                     2.40         $ 2,228.00
       Operations                                             156.90         $170,367.50
       Retention of Professionals                              82.90         $ 84,592.00
       Stay Litigation                                         65.20         $ 59,960.00
       Tax Issues                                               0.30         $    348.50
       Total                                                1,295.10       $1,439,375.00

        A detailed itemization of the services rendered in each of the above Task Categories is set

forth in Exhibit A.

                 2.          Disbursements Incurred

        The disbursements incurred by PSZJ for this Statement are as follows:

                      Expense Category                           Total Expenses
                      Bloomberg – Online Research                    $ 198.10
                      Federal Express                                $ 815.43
                      Lexis/Nexis – Legal Research                   $1,315.53
                      Pacer – Court Research                         $ 60.60
                      Postage                                        $ 49.75
                      Reproduction / Scan Copy                       $ 630.60

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                      Expense Category                              Total Expenses
                      Reproduction Expense                              $    4.80
                      Research – CL@S Services                          $ 270.00
                      Travel Expense – Court Parking                    $ 10.00
                      Total                                             $3,354.81

                 3.          Accordingly, the amount of compensation and expenses payable for this
                             Statement Period is $1,154,854.81 which is calculated as follows:

          Total Fees for Services Rendered During Statement Period            $1,439,375.00
          Twenty Percent (20%) Holdback                                        ($287,875.00)
          Fees Minus Holdback                                                 $1,151,500.00
          Costs (100%)                                                            $3,354.81
          TOTAL                                                               $1,154,854.81

        WHEREFORE, pursuant to the Interim Compensation Order, PSZJ requests payment of

compensation in the amount of (i) $1,151,500.00 (80% of $1,439,375.00) on account of actual,

reasonable and necessary professional services rendered to the Debtors by PSZJ and (ii)

reimbursement of actual and necessary costs and expenses in the amount of $3,354.81 incurred

on behalf of the Debtors by PSZJ.

Dated: June 7, 2023                                  PACHULSKI STANG ZIEHL & JONES LLP

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner (SBT 00792304)
                                                     Steven W. Golden (SBT 24099681)
                                                     440 Louisiana Street, Suite 900
                                                     Houston, TX 77002
                                                     Telephone: (713) 691-9385
                                                     Facsimile: (713) 691-9407
                                                     mwarner@pszjlaw.com
                                                     sgolden@pszjlaw.com

                                                     -and-

                                                     Jeffrey N. Pomerantz (admitted pro hac vice)
                                                     Jeffrey W. Dulberg (admitted pro hac vice)
                                                     10100 Santa Monica Blvd., 13th Floor
                                                     Los Angeles, CA 90067
                                                     Telephone: (310) 277-6910
                                                     Facsimile: (310) 201-0760
                                                     jpomerantz@pszjlaw.com
                                                     jdulberg@pszjlaw.com

                                                     Counsel to the Debtors and Debtors in Possession



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                                     EXHIBIT A




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                                Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067
                                                                     April 30, 2023
Turjo Wadud                                                          Invoice 132520
5435 Bells Ferry Rd. ste. 106                                        Client    58614
Acworth , GA 30102                                                   Matter    00002
                                                                               JNP

RE: Chapter 11

 _______________________________________________________________________________________

           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 04/30/2023
                 FEES                                               $1,439,375.00
                 EXPENSES                                              $3,354.81
                 TOTAL CURRENT CHARGES                              $1,442,729.81

                 BALANCE FORWARD                                     $836,414.52
                 LAST PAYMENT                                        $670,170.52
                 TOTAL BALANCE DUE                                  $1,608,973.81
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  Summary of Services by Professional
  ID        Name                        Title               Rate       Hours               Amount

 BLW        Wallen , Ben L              Associate          895.00     194.80           $174,346.00

 CHM        Mackle, Cia H.              Counsel            925.00       2.80             $2,590.00

 DLM        Mendoza, Denise L.          Other              395.00       9.50             $3,752.50

 ECO        Corma, Edward A.            Associate          725.00       6.10             $4,422.50

 GFB        Brandt, Gina F.             Counsel           1050.00       1.90             $1,995.00

 GVD        Demo, Gregory Vincent       Partner           1250.00      69.10            $86,375.00

 HCK        Kevane, Henry C.            Partner           1550.00     113.10           $175,305.00

 IAWN       Nasatir, Iain A. W.         Partner           1395.00       0.80             $1,116.00

 JJK        Kim, Jonathan J.            Counsel           1175.00      47.90            $56,282.50

 JNP        Pomerantz, Jeffrey N.       Partner           1595.00     100.40           $160,138.00

 JWD        Dulberg, Jeffrey W.         Partner           1295.00     206.00           $266,770.00

 KLL        LaBrada, Kerri L.           Paralegal          545.00      24.10            $13,134.50

 LAF        Forrester, Leslie A.        Other              595.00       9.00             $5,355.00

 MBL        Litvak, Maxim B.            Partner           1445.00      48.30            $69,793.50

 MDW        Warner, Michael D.          Partner           1495.00      10.30            $15,398.50

 MSP        Pagay, Malhar S.            Partner           1295.00      42.50            $55,037.50

 NLH        Hong, Nina L.               Partner           1075.00       0.50              $537.50

 PJJ        Jeffries, Patricia J.       Paralegal          545.00     118.80            $64,746.00

 PJK        Keane, Peter J.             Counsel           1025.00      43.30            $44,382.50

 RJG        Gruber, Richard J.          Counsel           1525.00       0.30              $457.50

 RMS        Saunders, Robert M.         Counsel           1095.00      16.60            $18,177.00

 SWG        Golden, Steven W.           Partner            895.00     177.90           $159,220.50

 VAN        Newmark, Victoria A.        Counsel           1175.00      51.10            $60,042.50

                                                                    1295.10        $1,439,375.00
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Mountain Express Oil Co.                                                  Invoice 132520
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  Summary of Services by Task Code
  Task Code         Description                                   Hours                       Amount

 AA                 Asset Analysis/Recovery[B120]                 73.00                     $78,806.00

 AD                 Asset Disposition [B130]                      93.00                    $120,050.50

 BL                 Bankruptcy Litigation [L430]                  74.40                     $79,246.50

 CA                 Case Administration [B110]                   205.50                    $196,485.50

 CG                 Corporate Governance/Board Mtr                48.20                     $53,194.00

 CO                 Claims Admin/Objections[B310]                  8.20                      $6,764.00

 CP                 Compensation Prof. [B160]                     13.60                     $16,083.50

 EB                 Employee Benefit/Pension-B220                 33.80                     $44,501.00

 EC                 Executory Contracts [B185]                   242.70                    $274,244.00

 FF                 Financial Filings [B110]                      26.00                     $22,850.00

 FN                 Financing [B230]                             128.30                    $181,096.50

 GC                 General Creditors Comm. [B150]                15.80                     $21,983.00

 IC                 Insurance Coverage                             2.30                      $3,058.50

 LN                 Litigation (Non-Bankruptcy)                   22.60                     $23,516.00

 MC                 Meeting of Creditors [B150]                    2.40                      $2,228.00

 OP                 Operations [B210]                            156.90                    $170,367.50

 RP                 Retention of Prof. [B160]                     82.90                     $84,592.00

 SL                 Stay Litigation [B140]                        65.20                     $59,960.00

 TI                 Tax Issues [B240]                              0.30                       $348.50

                                                                1295.10                $1,439,375.00
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Mountain Express Oil Co.                                                 Invoice 132520
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  Summary of Expenses
  Description                                                                             Amount
Bloomberg                                                                            $198.10
Federal Express [E108]                                                               $815.43
Lexis/Nexis- Legal Research [E                                                      $1,315.53
Pacer - Court Research                                                                    $60.60
Postage [E108]                                                                            $49.75
Reproduction Expense [E101]                                                                $4.80
Reproduction/ Scan Copy                                                              $630.60
Research [E106]                                                                      $270.00
Travel Expense [E110]                                                                     $10.00

                                                                                    $3,354.81
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Mountain Express Oil Co.                                                                         Invoice 132520
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                                                                                         Hours           Rate     Amount

  Asset Analysis/Recovery[B120]
 04/03/2023    PJJ    AA        Coordinate county level lien search.                      0.30        545.00       $163.50

 04/06/2023    JJK    AA        Team conf. call Golden, Newmark, et al. re                0.80      1175.00        $940.00
                                prepetition and pending deals review and anaylsis.

 04/06/2023    JWD    AA        Attend PSZJ call re current and historical transaction    0.80      1295.00       $1,036.00
                                review

 04/06/2023    SWG    AA        Call with PSZJ asset tracking team re: spreadsheet        0.90        895.00       $805.50
                                creation

 04/10/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.00      1175.00       $3,525.00
                                for analysis issues.

 04/11/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.00      1175.00       $3,525.00
                                for analysis issues.

 04/12/2023    JJK    AA        Call D. Rosenthal on pending deals issues.                0.70      1175.00        $822.50

 04/12/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.60      1175.00       $4,230.00
                                for analysis issues.

 04/12/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.40      1175.00       $3,995.00
                                for analysis issues.

 04/13/2023    JJK    AA        Review pending and prepetition deals docs (sale           2.20      1175.00       $2,585.00
                                leasebacks, etc.) and analyze.

 04/13/2023    JNP    AA        Conference with N. Lansing regarding right to             0.10      1595.00        $159.50
                                deposit regarding PSA transferred pre-petition.

 04/14/2023    JJK    AA        Review pending and prepetition deals docs (sale           4.00      1175.00       $4,700.00
                                leasebacks, etc.) and analyze for certain issues.

 04/17/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.00      1175.00       $3,525.00
                                for analysis issues.

 04/17/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        1.70      1175.00       $1,997.50
                                for analysis issues.

 04/17/2023    JNP    AA        Email to and from N. Lansing and Jeffrey W.               0.10      1595.00        $159.50
                                Dulberg regarding potential transaction
                                opportunities.

 04/18/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        3.70      1175.00       $4,347.50
                                for analysis issues.

 04/18/2023    PJJ    AA        Review confidentiality provisions of oil agreements.      3.50        545.00      $1,907.50

 04/19/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)        1.60      1175.00       $1,880.00
                                for analysis issues.
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                                                                                     Hours           Rate     Amount

 04/19/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)    3.20      1175.00       $3,760.00
                                for analysis issues.

 04/19/2023    JNP    AA        Conference with M. Healy regarding pending            0.20      1595.00        $319.00
                                transactions.

 04/19/2023    JNP    AA        Conference with Gregory V. Demo and Jeffrey W.        0.20      1595.00        $319.00
                                Dulberg regarding section 108 and stay issues
                                relating to expiring transactions.

 04/20/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)    3.90      1175.00       $4,582.50
                                for analysis issues.

 04/21/2023    PJJ    AA        Coordinate county lien search (.2); email FTI         0.40        545.00       $218.00
                                regarding broader lien search status (.2).

 04/22/2023    GVD    AA        Review and circulate research from P. Keane re        0.20      1250.00        $250.00
                                extension of contract period

 04/24/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)    1.80      1175.00       $2,115.00
                                for analysis issues.

 04/24/2023    PJK    AA        Research re PSAs and cure issues re new questions,    1.80      1025.00       $1,845.00
                                emails with G Demo re same

 04/24/2023    PJK    AA        Additional research re PSAs and cure issues re new    2.20      1025.00       $2,255.00
                                questions, emails with G Demo re same, emails with
                                E Corma re assistance on research

 04/25/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)    4.50      1175.00       $5,287.50
                                for analysis issues.

 04/25/2023    ECO    AA        Conduct legal research re issues with option to       1.90        725.00      $1,377.50
                                purchase real property/consequences of bankruptcy
                                filing.

 04/26/2023    JJK    AA        Review pending and prepetition deals docs (sale       2.00      1175.00       $2,350.00
                                leasebacks, etc.) and analyze.

 04/26/2023    JJK    AA        Review/analyze deal documents (APAs, leases, etc.)    1.80      1175.00       $2,115.00
                                for analysis issues.

 04/26/2023    ECO    AA        Legal research/prepare notes re issues with option    2.70        725.00      $1,957.50
                                contract and time to assume contract in bankruptcy
                                proceeding.

 04/26/2023    PJK    AA        Additional research re PSAs and assumption/cure       1.80      1025.00       $1,845.00
                                issues, review PSAs

 04/27/2023    ECO    AA        Continue to research/prepare notes on issues with     1.10        725.00       $797.50
                                assumption of contract/timing with respect to
                                bankruptcy filing.
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Mountain Express Oil Co.                                                                         Invoice 132520
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                                                                                        Hours            Rate       Amount

 04/27/2023    ECO    AA        Prepare e-mail to Peter Keane with notes on research     0.10         725.00         $72.50
                                issues relating to option contract/bankruptcy filing.

 04/27/2023    PJK    AA        Additional research re PSAs and assumption/cure          2.90       1025.00        $2,972.50
                                issues, review PSAs (2.6), emails with G Demo and
                                E Corma re same (.3)

 04/28/2023    PJJ    AA        Email to and from Debtor regarding lien searches         0.20         545.00        $109.00
                                and payment issue.

 04/28/2023    PJK    AA        Additional research re section 365 and PSA issues,       0.60       1025.00         $615.00
                                email to G. Demo re same

 04/30/2023    JWD    AA        Review and comment to Connect presentation               0.40       1295.00         $518.00

 04/30/2023    PJK    AA        Additional research re PSAs and termination/section      2.50       1025.00        $2,562.50
                                365 issues (2.2), emails with G Demo re same (.3)

 04/30/2023    JWD    AA        Review research re 108 impact                            0.20       1295.00         $259.00

                                                                                         73.00                    $78,806.00

  Asset Disposition [B130]
 04/01/2023    SWG    AD        Review and edit Cameron Transaction Motion.              1.20         895.00       $1,074.00

 04/03/2023    HCK    AD        Review M. Litvak comments to draft of proposed           0.20       1550.00         $310.00
                                stalking horse APA.

 04/03/2023    JNP    AD        Conference with Berger Singerman regarding sale          0.50       1595.00         $797.50
                                process issues.

 04/03/2023    JNP    AD        Conference with J. Elrod, J. Tibus, FTI, and PSZJ        0.50       1595.00         $797.50
                                regarding dealer conversion motion and Cameron
                                Pilot transaction.

 04/03/2023    JWD    AD        Work on new NDA and multiple emails with RJ              0.80       1295.00        $1,036.00
                                team regarding same

 04/03/2023    JWD    AD        Work on NDA issues and call with RJ team re same         0.70       1295.00         $906.50

 04/03/2023    JWD    AD        Further work on NDA issues                               0.60       1295.00         $777.00

 04/03/2023    MBL    AD        Review and comment on draft form APA.                    1.50       1445.00        $2,167.50

 04/03/2023    SWG    AD        Review and edit Cameron Transaction Motion               0.20         895.00        $179.00

 04/03/2023    SWG    AD        Call with A. Spirito (.1) and email to lenders'          0.30         895.00        $268.50
                                professionals (.2) re: ordinary course dealer
                                transaction

 04/04/2023    HCK    AD        Further draft / revise form of APA for stalking horse    1.40       1550.00        $2,170.00
                                transaction.
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58614 - 00002                                                                                   April 30, 2023


                                                                                        Hours           Rate      Amount

 04/04/2023    HCK    AD        Continue to proof / edit draft of stalking horse APA.    0.60      1550.00        $930.00

 04/04/2023    HCK    AD        Memos to / from M. Litvak re certain APA terms.          0.10      1550.00        $155.00

 04/04/2023    HCK    AD        Memos to / from J. Dulberg re NDA terms.                 0.20      1550.00        $310.00

 04/04/2023    HCK    AD        Review / edit APA for tax and lease prorations.          1.20      1550.00       $1,860.00

 04/04/2023    JNP    AD        Conference with Steven W. Golden regarding Bank          0.10      1595.00        $159.50
                                information requests regarding dealer conversion
                                motion.

 04/04/2023    JWD    AD        Review corr re ANK and emails with team re same          0.30      1295.00        $388.50

 04/04/2023    JWD    AD        Work on NDA issues and call with party regarding         0.80      1295.00       $1,036.00
                                same.

 04/04/2023    JWD    AD        Work on multiple new NDA's and related issues            3.70      1295.00       $4,791.50

 04/04/2023    JWD    AD        Call with F Yodice regarding NDA                         0.20      1295.00        $259.00

 04/04/2023    MBL    AD        Emails with H. Kevane re APA comments.                   0.20      1445.00        $289.00

 04/04/2023    SWG    AD        Receive and respond to email from DIP Lender re:         0.20        895.00       $179.00
                                Cameron transaction

 04/05/2023    HCK    AD        Telephone call with R. Gruber re proration insert for    0.60      1550.00        $930.00
                                APA and memos to / from Mr. Gruber re examples.

 04/05/2023    HCK    AD        Further draft / revise template stalking horse APA.      2.20      1550.00       $3,410.00

 04/05/2023    HCK    AD        Memo to M. Litvak re revised form of APA.                0.10      1550.00        $155.00

 04/05/2023    RJG    AD        Assist Henry C. Kevane and Maxim B. Litvak               0.30      1525.00        $457.50
                                regarding certain provisions for Asset Purchase
                                Agreement.

 04/05/2023    JWD    AD        Attend call with NDA party                               0.40      1295.00        $518.00

 04/05/2023    JWD    AD        Work on revisions to NDA party mark up                   0.60      1295.00        $777.00

 04/05/2023    JWD    AD        Review email re new bidder interest                      0.10      1295.00        $129.50

 04/05/2023    JWD    AD        Work on various NDA's and calls with K Sulkowski         1.50      1295.00       $1,942.50
                                re same

 04/05/2023    JWD    AD        Call with counsel for bidder                             0.10      1295.00        $129.50

 04/05/2023    JWD    AD        Work on revisions to NDA and emails with J               0.20      1295.00        $259.00
                                Wainwright re same

 04/05/2023    JWD    AD        Review lender inquiry re Cameron                         0.20      1295.00        $259.00

 04/05/2023    JWD    AD        Work on NDA for new bidder                               0.40      1295.00        $518.00
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 04/05/2023    JWD    AD        Emails with team re NY center acquistion                0.10      1295.00        $129.50

 04/05/2023    SWG    AD        Review and comment on emergency conversion              0.20        895.00       $179.00
                                motion

 04/05/2023    SWG    AD        Call with counsel to Sunoco re: dealer conversion       0.40        895.00       $358.00
                                procedures

 04/05/2023    SWG    AD        Call with counsel Pilot re: Cameron Motion              0.20        895.00       $179.00

 04/05/2023    BLW    AD        Call from interested purchaser (.1) and correspond      0.20        895.00       $179.00
                                with RJ re: same (.1).

 04/06/2023    JNP    AD        Conference with J. Elrod, J. Tibus and FTI regarding    0.70      1595.00       $1,116.50
                                dealer conversions and Pilot transactions.

 04/06/2023    JNP    AD        Conference with Steven W. Golden regarding call         0.20      1595.00        $319.00
                                with J. Tibus and J. Elrod regarding conversions.

 04/06/2023    JNP    AD        Conference with Steven W. Golden in preparation         0.20      1595.00        $319.00
                                for call with J. Tibus and J. Elrod regarding Pilot
                                transactions.

 04/06/2023    JNP    AD        Email to M. Quejada regarding continuance of Pilot      0.10      1595.00        $159.50
                                motion

 04/06/2023    JNP    AD        Conference with Henry C. Kevane regarding Pilot         0.10      1595.00        $159.50
                                Cameron transaction and documentation issues.

 04/06/2023    JNP    AD        Conference with D. McFaul regarding Pilot               0.20      1595.00        $319.00
                                Cameron transaction.

 04/06/2023    JNP    AD        Conference with J. Elrod regarding hearings on          0.10      1595.00        $159.50
                                dealer conversion motion and Pilot.

 04/06/2023    JNP    AD        Review and revise letter regarding Wisconsin            0.20      1595.00        $319.00
                                transaction and emails regarding same.

 04/06/2023    JWD    AD        Work on various NDA issues                              0.60      1295.00        $777.00

 04/06/2023    SWG    AD        Call with A. Spirito re: Cameron transaction            0.40        895.00       $358.00

 04/06/2023    SWG    AD        Call with J. Pomerantz re: Cameron transaction          0.20        895.00       $179.00

 04/06/2023    HCK    AD        Telephone call with J. Pomerantz re Cameron             0.20      1550.00        $310.00
                                transaction lien analysis.

 04/06/2023    HCK    AD        Review DIP loan / prepetition loan documents re         0.90      1550.00       $1,395.00
                                Cameron transaction and memo to Messrs. Golden
                                and Pomerantz re same.

 04/06/2023    HCK    AD        Further memos to / from J. Pomerantz et al. re          0.30      1550.00        $465.00
                                Cameron lien / transaction analysis.
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 04/06/2023    HCK    AD        Review Cameron transaction documents from S.            1.70      1550.00       $2,635.00
                                Golden and further research / analyze competing lien
                                priorities.

 04/06/2023    HCK    AD        Telephone call with S. Golden re Cameron                0.50      1550.00        $775.00
                                transaction and factual background.

 04/06/2023    HCK    AD        Further review Cameron / Pilot purchase and sale        1.20      1550.00       $1,860.00
                                documents.

 04/06/2023    HCK    AD        Conference call with N. Lansing, S. Golden and B.       0.50      1550.00        $775.00
                                Frampton re Cameron transaction.

 04/07/2023    HCK    AD        Memos to / from J. Pomerantz et al. re protocol for     0.20      1550.00        $310.00
                                sale information.

 04/07/2023    HCK    AD        Further proof / finalize APA template and circulate     2.30      1550.00       $3,565.00
                                to J. Pomerantz et al. for review.

 04/07/2023    JNP    AD        Email to N. Lansing regarding letter to Wisconsin       0.10      1595.00        $159.50
                                buyers

 04/07/2023    JNP    AD        Emails regarding confidentiality provisions in oil      0.20      1595.00        $319.00
                                company agreements and conference with Jeffrey W.
                                Dulberg regarding same.

 04/07/2023    JNP    AD        Review draft of Confidential Information                0.20      1595.00        $319.00
                                Memorandum and provide comments.

 04/07/2023    JNP    AD        Emails to and from Henry C. Kevane regarding Pilot      0.20      1595.00        $319.00
                                transaction and competing liens.

 04/07/2023    JNP    AD        Emails with Sidley regarding Cameron/ Pilot             0.10      1595.00        $159.50
                                hearing.

 04/07/2023    JNP    AD        Emails to and from J. Elrod regarding information       0.10      1595.00        $159.50
                                outstanding for the conversion motion and Cameron
                                motion.

 04/07/2023    JWD    AD        Call with J Pomerantz re sale process                   0.10      1295.00        $129.50

 04/07/2023    JWD    AD        Work on issues re confi terms in key agreements         0.30      1295.00        $388.50

 04/07/2023    JWD    AD        Work on NDA issues with RJ team                         0.20      1295.00        $259.00

 04/07/2023    JWD    AD        Further work on closing NDA's                           0.30      1295.00        $388.50

 04/07/2023    MBL    AD        Review revisions to form APA.                           0.20      1445.00        $289.00

 04/07/2023    BLW    AD        Attend RJ call re sale update.                          0.30        895.00       $268.50

 04/07/2023    HCK    AD        Memos to / from N. Lansing re Cameron follow-up         0.80      1550.00       $1,240.00
                                and memos to / from J. Pomerantz re same.
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 04/08/2023    JNP    AD        Review and revise proposed sale protocols.                0.20      1595.00        $319.00

 04/08/2023    JWD    AD        Call with J Pomerantz re board and sale issues            0.10      1295.00        $129.50

 04/10/2023    HCK    AD        Memos to / from J. Pomerantz re sale protocol             0.10      1550.00        $155.00
                                resolution.

 04/10/2023    JNP    AD        Conference with Jeffrey W. Dulberg regarding sale         0.10      1595.00        $159.50
                                process letter.

 04/10/2023    JNP    AD        Review email regarding OCC comments to dealer             0.20      1595.00        $319.00
                                conversion motion.

 04/10/2023    JNP    AD        Conference with Jeffrey W. Dulberg regarding OCC          0.20      1595.00        $319.00
                                dealer conversion motion comments.

 04/10/2023    JNP    AD        Conference with McDermott regarding Dealer                0.50      1595.00        $797.50
                                conversion motion.

 04/10/2023    JNP    AD        Emails with P. Singerman regarding sale protocol.         0.10      1595.00        $159.50

 04/10/2023    JNP    AD        Review McDermott further revisions to dealer              0.10      1595.00        $159.50
                                conversion order.

 04/10/2023    JNP    AD        Review Raymond James sale process letter.                 0.10      1595.00        $159.50

 04/10/2023    JNP    AD        Review Raymond James process report to Special            0.10      1595.00        $159.50
                                Transactions Committee.

 04/10/2023    JWD    AD        Review draft expression on interest and issues re         0.10      1295.00        $129.50
                                same, email with J Pomerantz re same

 04/10/2023    JWD    AD        Further review sale process update                        0.10      1295.00        $129.50

 04/10/2023    JWD    AD        Review draft version of initial APA                       0.30      1295.00        $388.50

 04/10/2023    JWD    AD        Review RJ sale process update and emails re same          0.20      1295.00        $259.00

 04/10/2023    JWD    AD        Attend call with RJ team re confi and sale issues         0.40      1295.00        $518.00

 04/10/2023    JWD    AD        Review various emails re NDA updates                      0.20      1295.00        $259.00

 04/10/2023    JWD    AD        Revise RJ process letter                                  0.20      1295.00        $259.00

 04/10/2023    JWD    AD        Further review and revise sale process letter and call    0.10      1295.00        $129.50
                                with J Pomerantz re same, update email to RJ team

 04/10/2023    JWD    AD        Review email from P Singerman re protocol                 0.10      1295.00        $129.50

 04/10/2023    VAN    AD        Analysis regarding pending real property purchase         3.20      1175.00       $3,760.00
                                and sale documentation.

 04/10/2023    HCK    AD        Memos to / from C. Mackle and J. Pomerantz re             0.20      1550.00        $310.00
                                pending acquisition issues.
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 04/11/2023    HCK    AD        Further review / proof draft of stalking horse APA.      1.30      1550.00       $2,015.00

 04/11/2023    JNP    AD        Conference with McDermott Will & Emery                   0.50      1595.00        $797.50
                                regarding Committee dealer motion.

 04/11/2023    JNP    AD        Conference with Jeffrey W. Dulberg regarding             0.10      1595.00        $159.50
                                dealer conversion order.

 04/11/2023    JNP    AD        Email to and from J. Elrod regarding position on         0.10      1595.00        $159.50
                                dealer conversion motion.

 04/11/2023    JWD    AD        Analyze issues re Cameron motion                         0.10      1295.00        $129.50

 04/11/2023    JWD    AD        Review NDA revisions and email with RJ team              0.20      1295.00        $259.00

 04/11/2023    JWD    AD        Emails with J Pomerantz regarding documents              0.10      1295.00        $129.50
                                requested by Pilot

 04/11/2023    MDW    AD        Multiple emails re parties interested in purchasing      0.40      1495.00        $598.00
                                assets.

 04/12/2023    JNP    AD        Conference with Steven W. Golden regarding               0.10      1595.00        $159.50
                                background for Cameron transaction.

 04/12/2023    JNP    AD        Conference with G. Richards regarding status of sale     0.30      1595.00        $478.50
                                process.

 04/12/2023    JNP    AD        Emails regarding information to Lenders regarding        0.10      1595.00        $159.50
                                sale process.

 04/12/2023    JNP    AD        Review Raymond James deck for Lenders                    0.10      1595.00        $159.50
                                professionals.

 04/12/2023    JNP    AD        Participate in call with Alvarez, Greenberg, FTI, RJ     0.70      1595.00       $1,116.50
                                and Jeffrey W. Dulberg regarding sale process.

 04/12/2023    JNP    AD        Conference with G. Richards after call with lenders'     0.10      1595.00        $159.50
                                professionals.

 04/12/2023    JNP    AD        Conference with Jeffrey W. Dulberg after call with       0.10      1595.00        $159.50
                                lenders’ professionals.

 04/12/2023    JNP    AD        Conference with Jeffrey W. Dulberg regarding             0.20      1595.00        $319.00
                                dealer conversion motion and Cameron transaction.

 04/12/2023    JWD    AD        Attend lender update call re sale process etc            0.70      1295.00        $906.50

 04/12/2023    JWD    AD        Review email re support for Cameron transaction          0.10      1295.00        $129.50

 04/12/2023    JWD    AD        Review RJ process update for lender call                 0.20      1295.00        $259.00

 04/12/2023    MBL    AD        Draft NDA for lease parties (0.5); emails with Spirit    0.60      1445.00        $867.00
                                counsel and team re same (0.1).
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 04/12/2023    GVD    AD        Conference with counsel to Oil Co. re information      0.20      1250.00        $250.00
                                requests

 04/13/2023    JNP    AD        Review issues relating to Brothers' opposition to      0.20      1595.00        $319.00
                                dealer conversion motion; Conference with Jeffrey
                                W. Dulberg regarding same.

 04/13/2023    JNP    AD        Prepare for hearing on Cameron transaction.            0.50      1595.00        $797.50

 04/13/2023    PJJ    AD        Revise dealer transaction notice and circulate.        0.20        545.00       $109.00

 04/13/2023    PJJ    AD        Email PSZJ team re edits to dealer conversion order    0.20        545.00       $109.00
                                and transaction notice.

 04/13/2023    JWD    AD        Review filed objection from Brothers and emails re     0.60      1295.00        $777.00
                                same (.1); work on issues for resolving same (.5)

 04/13/2023    JWD    AD        Review and revise NDA                                  0.30      1295.00        $388.50

 04/13/2023    VAN    AD        Analysis regarding current dealer conversions;         0.70      1175.00        $822.50
                                revise summary chart regarding same.

 04/13/2023    BLW    AD        Revise and correspond re: dealer conversion notice     0.70        895.00       $626.50
                                (.3); call (2x) with Ms. Jeffries re: same (.4).

 04/13/2023    BLW    AD        Correspond re: objection to dealer conversion          0.10        895.00        $89.50
                                motion.

 04/13/2023    BLW    AD        Review Brother's comments to dealer conversion         0.70        895.00       $626.50
                                proposed order and calls with Mr. Dulberg re: same.

 04/13/2023    HCK    AD        Review Brothers objection re dealer conversion         0.20      1550.00        $310.00
                                motion.

 04/14/2023    JNP    AD        Prepare for hearing on dealer conversion motion and    0.50      1595.00        $797.50
                                Cameron transaction; Conference with Jeffrey W.
                                Dulberg regarding same.

 04/14/2023    JNP    AD        Participate in hearing on dealer conversion motion     0.80      1595.00       $1,276.00
                                and Cameron transaction.

 04/14/2023    JNP    AD        Conference with Jeffrey W. Dulberg after hearing on    0.10      1595.00        $159.50
                                dealer conversion motion and Cameron transaction.

 04/14/2023    JNP    AD        Review interest from potential bidder.                 0.10      1595.00        $159.50

 04/14/2023    PJJ    AD        Conference call with Gregory V. Demo and Andrew        0.30        545.00       $163.50
                                Spirito regarding deal conversions.

 04/14/2023    JWD    AD        Review entered orders from today's hearings            0.20      1295.00        $259.00

 04/14/2023    JWD    AD        Review LOI draft from bidder and emails re same        0.20      1295.00        $259.00
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 04/14/2023    GVD    AD        Conference with A. Spirito re conversion notices        0.30      1250.00        $375.00

 04/14/2023    MDW    AD        Internal strategy discussion re sale process, and       0.80      1495.00       $1,196.00
                                budgeting issues.

 04/14/2023    BLW    AD        Revise Dealer conversion order and correspond re;       1.20        895.00      $1,074.00
                                same.

 04/14/2023    BLW    AD        Call with Mr. Dulberg re: Dealer Conversion             0.10        895.00        $89.50
                                amended order.

 04/14/2023    BLW    AD        Attend hearing on dealer conversion motion and          1.00        895.00       $895.00
                                cameron transaction.

 04/14/2023    DLM    AD        Review and file Dealer Conversion Procedures            0.40        395.00       $158.00
                                Order.

 04/15/2023    VAN    AD        Analysis regarding current dealer conversions;          2.00      1175.00       $2,350.00
                                revise summary chart regarding same.

 04/17/2023    JNP    AD        Review Raymond James summary of sale process.           0.10      1595.00        $159.50

 04/17/2023    JWD    AD        Review emails from bidder re NDA status                 0.10      1295.00        $129.50

 04/17/2023    JWD    AD        Review and revise new comments from NDA party           0.30      1295.00        $388.50
                                and emails with RJ team re same

 04/17/2023    HCK    AD        Further review Pilot documents and follow-up with J     0.20      1550.00        $310.00
                                Wainwright (RJ) re same.

 04/17/2023    HCK    AD        Follow-up with J. Wainwright re Pilot travel center     0.10      1550.00        $155.00
                                agreements.

 04/18/2023    HCK    AD        Review indication of interest from G. Richards and      0.50      1550.00        $775.00
                                markup.

 04/18/2023    JWD    AD        Work on changes to NDA with counsel and various         0.70      1295.00        $906.50
                                emails re same and review new final version

 04/18/2023    JWD    AD        Further review of NDA and emails re same                0.20      1295.00        $259.00

 04/18/2023    JWD    AD        Work on two NDA mark ups                                0.80      1295.00       $1,036.00

 04/18/2023    MBL    AD        Review draft LOI from potential bidder.                 0.20      1445.00        $289.00

 04/18/2023    VAN    AD        Analysis regarding current dealer conversions;          0.30      1175.00        $352.50
                                revise summary chart regarding same.

 04/18/2023    SWG    AD        Respond to question from RJ team re: confidentiality    0.20        895.00       $179.00
                                provisions of agreements.

 04/18/2023    SWG    AD        Receive and respond to inquiry re: pending              0.30        895.00       $268.50
                                transaction
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 04/18/2023    HCK    AD        Memos to / from J. Wainwright and S. Golden re           0.20      1550.00        $310.00
                                Pilot confidentiality.

 04/18/2023    HCK    AD        Further review Pilot agreements re transfer              0.60      1550.00        $930.00
                                restrictions.

 04/19/2023    HCK    AD        Memos to group re HSR clearance and counsel.             0.20      1550.00        $310.00

 04/19/2023    JNP    AD        Conference with Berger Singerman and G. Richards         0.60      1595.00        $957.00
                                regarding sale process.

 04/19/2023    PJJ    AD        Continue oil agreement confidentiality provision         4.00        545.00      $2,180.00
                                review.

 04/19/2023    JWD    AD        Review new NDA revisions and email comments              0.50      1295.00        $647.50
                                thereto

 04/19/2023    JWD    AD        Call with PSZJ team re research issue re acquisitions    0.20      1295.00        $259.00

 04/19/2023    JWD    AD        Review final draft of NDA                                0.10      1295.00        $129.50

 04/19/2023    MBL    AD        Emails with team re sale issues and status.              0.10      1445.00        $144.50

 04/19/2023    VAN    AD        Research and analysis regarding motion to                1.90      1175.00       $2,232.50
                                reimburse for due diligence expenses.

 04/19/2023    HCK    AD        Further review / analyze Pilot lease, fuel and           1.20      1550.00       $1,860.00
                                thru-put agreements.

 04/20/2023    JWD    AD        Call with FTI, D Turcot re transaction                   0.20      1295.00        $259.00

 04/20/2023    VAN    AD        Research and analysis regarding motion to                3.00      1175.00       $3,525.00
                                reimburse ARKO due diligence expenses; draft
                                same.

 04/20/2023    HCK    AD        Review S. Golden memos re Cameron / Pilot closing        0.20      1550.00        $310.00
                                payments.

 04/20/2023    HCK    AD        Telephone call with S. Golden re Cameron / Pilot         0.10      1550.00        $155.00
                                resolution.

 04/20/2023    JWD    AD        Emails with G. Demo re dealer conversion                 0.10      1295.00        $129.50

 04/20/2023    JWD    AD        Call with S Golden re Cameron transaction                0.10      1295.00        $129.50

 04/21/2023    JNP    AD        Conference with Steven W. Golden regarding Pilot         0.10      1595.00        $159.50
                                request for interest.

 04/21/2023    JWD    AD        Review RJ complete sale summary                          0.20      1295.00        $259.00

 04/22/2023    JWD    AD        Emails re auction issues and review timelines            0.30      1295.00        $388.50

 04/22/2023    JWD    AD        Review issues for sale pleadings and work on same        0.80      1295.00       $1,036.00
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 04/23/2023    JNP    AD        Emails with G. Richards regarding call to discuss      0.10      1595.00        $159.50
                                sale process.

 04/24/2023    HCK    AD        Follow-up with S. Golden re draft APA for review       0.10      1550.00        $155.00
                                by Raymond James.

 04/24/2023    JNP    AD        Conference with FTI, RJ and PSZJ regarding sale        0.80      1595.00       $1,276.00
                                process.

 04/24/2023    JWD    AD        Review initial draft of sale APA                       0.30      1295.00        $388.50

 04/24/2023    JWD    AD        Attend call with RJ, FTI, PSZJ re sale issues          0.90      1295.00       $1,165.50

 04/24/2023    JWD    AD        Review and revise NDA for AR Global / Necessity        0.70      1295.00        $906.50

 04/24/2023    JWD    AD        Review and revise RJ update to NDA parties and         0.20      1295.00        $259.00
                                emails re same

 04/24/2023    SWG    AD        Participate in call with Debtors' professionals re:    0.80        895.00       $716.00
                                sale process.

 04/25/2023    PJJ    AD        Draft de minimis assets sales procedures motion.       1.60        545.00       $872.00

 04/25/2023    JWD    AD        Emails with team re issues for sale process            0.20      1295.00        $259.00

 04/25/2023    JWD    AD        Review and comment to email re request from            0.10      1295.00        $129.50
                                bidder re insiders

 04/26/2023    JNP    AD        Conference with M. Healy regarding status call         0.30      1595.00        $478.50
                                regarding variety of pending issues including sale
                                process.

 04/26/2023    JWD    AD        Work on changes to NDA and emails with K               0.30      1295.00        $388.50
                                Sulkowski re same

 04/26/2023    JWD    AD        Call with K Sulkowski re NDA issues                    0.10      1295.00        $129.50

 04/26/2023    JWD    AD        Review new IOI draft and G Richards & J                0.20      1295.00        $259.00
                                Pomerantz emails re same

 04/27/2023    JNP    AD        Communication with P. Singerman regarding call to      0.10      1595.00        $159.50
                                discuss sale process.

 04/27/2023    JNP    AD        Conference with M. Healy and G. Richards               0.50      1595.00        $797.50
                                regarding sale process.

 04/27/2023    JNP    AD        Conference with T. Howley regarding sale process.      0.30      1595.00        $478.50

 04/27/2023    JNP    AD        Conference with P. Singerman regarding sale and        0.30      1595.00        $478.50
                                case related issues.

 04/27/2023    JWD    AD        Email with K Sulkowski re NDA issue                    0.10      1295.00        $129.50
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 04/27/2023    VAN    AD        Review/revise de minimis asset sale motion.              1.00       1175.00         $1,175.00

 04/28/2023    JWD    AD        Prep for call with NDA candidate (.1); attend call re    0.50       1295.00          $647.50
                                same (.2); revise agreement (.2)

 04/28/2023    JWD    AD        Call with RJ and FTI team re sale process issues         0.70       1295.00          $906.50

 04/28/2023    VAN    AD        Draft/revise de minimis asset sale motion.               1.30       1175.00         $1,527.50

                                                                                         93.00                    $120,050.50

  Bankruptcy Litigation [L430]
 04/03/2023    VAN    BL        Analysis regarding ordinary course professionals         0.30       1175.00          $352.50
                                motion, including email correspondence with Steven
                                Golden regarding same.

 04/05/2023    JNP    BL        Emails regarding potential litigation with dealers.      0.20       1595.00          $319.00

 04/05/2023    PJJ    BL        Prepare W&E for 5/12 hearing.                            0.20         545.00         $109.00

 04/05/2023    PJJ    BL        Prepare W&E for 4/10 hearing.                            0.20         545.00         $109.00

 04/05/2023    JWD    BL        Review email re fuel supply contract valuation and       0.20       1295.00          $259.00
                                lender inquiries

 04/05/2023    JWD    BL        Review J Elrod email re D&O and work on response         0.20       1295.00          $259.00
                                for same

 04/06/2023    JNP    BL        Conference with Steven W. Golden, Jeffrey W.             0.50       1595.00          $797.50
                                Dulberg and Gregory V. Demo and then N. Lansing
                                regarding strategy to deal with dealers violating
                                contracts.

 04/06/2023    PJJ    BL        Prepare for and file W&E list for 4/10 hearing.          0.30         545.00         $163.50

 04/06/2023    JWD    BL        Emails with S Golden re Oak St request                   0.10       1295.00          $129.50

 04/06/2023    JWD    BL        Further emails re informal discovery and sale            0.20       1295.00          $259.00
                                process

 04/06/2023    JWD    BL        Attend call with PSZJ team re dealer issues and          0.50       1295.00          $647.50
                                litigation and follow up call with client re same

 04/07/2023    JNP    BL        Emails regarding status of information regarding         0.20       1595.00          $319.00
                                dealers breaching agreements and next steps.

 04/07/2023    PJJ    BL        Prepare notice of continued hearing regarding DIP,       0.80         545.00         $436.00
                                dealer conversion.

 04/07/2023    PJJ    BL        Prepare notice of continuation of Cameron                0.50         545.00         $272.50
                                transaction motion.
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                                                                                       Hours           Rate     Amount

 04/07/2023    PJJ    BL        File notice of continued hearing.                       0.20        545.00       $109.00

 04/07/2023    JWD    BL        Work on lease / litigation issues                       0.80      1295.00       $1,036.00

 04/07/2023    JWD    BL        Review issues and call w prospective dealer lit         0.50      1295.00        $647.50
                                counsel

 04/07/2023    JWD    BL        Attend PSZJ call re dealer litigation workflow          0.50      1295.00        $647.50

 04/10/2023    JNP    BL        Conference with Gregory V. Demo regarding               0.30      1595.00        $478.50
                                potential litigation with Imperial (2x).

 04/10/2023    JNP    BL        Conference with N. Lansing regarding Imperial           0.10      1595.00        $159.50
                                issues and potential litigation.

 04/10/2023    JNP    BL        Conference with Jeffrey W. Dulberg regarding            0.10      1595.00        $159.50
                                Imperial issues and litigation.

 04/10/2023    JNP    BL        Emails regarding next steps regarding Imperial.         0.10      1595.00        $159.50

 04/10/2023    PJJ    BL        Review/revise dealer conversion order and circulate.    0.20        545.00       $109.00

 04/11/2023    JNP    BL        Conference with team and B. Kadden regarding            0.30      1595.00        $478.50
                                Imperial status and potential litigation.

 04/11/2023    JNP    BL        Emails regarding settlement with Imperial.              0.10      1595.00        $159.50

 04/11/2023    PJJ    BL        Revise/redline dealer conversion procedures order.      0.30        545.00       $163.50

 04/11/2023    JWD    BL        Review G Demo and client emails re dealer updates       0.20      1295.00        $259.00

 04/11/2023    JWD    BL        Attend lit update call                                  0.50      1295.00        $647.50

 04/11/2023    JWD    BL        Review emails re Imperial dispute                       0.10      1295.00        $129.50

 04/12/2023    JWD    BL        Prepare for Friday hearings and review newly filed      0.40      1295.00        $518.00
                                W/E lists from different parties

 04/12/2023    JNP    BL        Review stipulation with Imperial and emails             0.20      1595.00        $319.00
                                regarding same.

 04/12/2023    JNP    BL        Conference with Gregory V. Demo regarding               0.10      1595.00        $159.50
                                stipulation with Imperial.

 04/12/2023    JNP    BL        Conference with Gregory V. Demo, Jeffrey W.             0.50      1595.00        $797.50
                                Dulberg and N. Lansing regarding outstanding
                                litigation issues.

 04/12/2023    JWD    BL        Attend litigation call with N Lansing (partial)         0.30      1295.00        $388.50

 04/12/2023    JWD    BL        Review J Johnston update and work with G Demo re        0.20      1295.00        $259.00
                                lit mgmt

 04/12/2023    JWD    BL        Work on proffer for hearing on Friday                   0.30      1295.00        $388.50
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 04/12/2023    GVD    BL        Draft stipulation re Imperial agreement (1.1); revise    2.90      1250.00       $3,625.00
                                stipulation re comments from J. Pomerantz (0.6);
                                further revise settlement re comments from client
                                (0.2); multiple correspondence with counsel to
                                Imperial re review and filing (0.4); correspondence
                                with client re applicable deadlines and requirement
                                for court approval (0.3); correspondence with PSZJ
                                group re filing of agreements under seal (0.3)

 04/13/2023    JWD    BL        Email with G Demo re litigation plan                     0.10      1295.00        $129.50

 04/13/2023    JWD    BL        Multiple calls with B Wallen re RJ retention and         0.30      1295.00        $388.50
                                Dealer Motion

 04/13/2023    JWD    BL        Review email litigation summaries and respond to G       0.30      1295.00        $388.50
                                Demo re same

 04/13/2023    GVD    BL        Revise Imperial stipulation and multiple                 0.50      1250.00        $625.00
                                correspondence with counsel to Imperial re same

 04/13/2023    GVD    BL        Correspondence with N. Lansing re status of J.           0.30      1250.00        $375.00
                                Johnston cases and next steps

 04/13/2023    GVD    BL        Conference with S. Milbath re Florida eviction case      0.40      1250.00        $500.00
                                (0.2); follow up correspondence with working group
                                re same (0.2)

 04/13/2023    GVD    BL        Conference with Parker Poe and N. Lansing re             1.40      1250.00       $1,750.00
                                condemnation cases (0.7); follow up correspondence
                                with working group re same (0.7)

 04/14/2023    JNP    BL        Conference with Gregory V. Demo regarding                0.20      1595.00        $319.00
                                Shamash litigation.

 04/14/2023    PJJ    BL        Telephone conference with Ben L. Wallen regarding        0.20        545.00       $109.00
                                Samnosh motion to compel (.1); emails regarding
                                same (.1).

 04/14/2023    JWD    BL        Email with G Demo re litigation mgmt and stay            0.10      1295.00        $129.50
                                application

 04/14/2023    JWD    BL        Emails with FTI re diligence responses for DIP           0.20      1295.00        $259.00
                                lender

 04/14/2023    JWD    BL        Call with S Golden re litigation issues                  0.10      1295.00        $129.50

 04/14/2023    JWD    BL        Call with G Demo and N Lansing re lit update             0.20      1295.00        $259.00

 04/14/2023    PJK    BL        Review Samnosh motion to compel, emails with G           0.30      1025.00        $307.50
                                Demo re same

 04/14/2023    GVD    BL        Correspondence with Parker Poe re analysis of            0.20      1250.00        $250.00
                                potential recoveries
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 04/14/2023    GVD    BL        Research effect of automatic stay on condemnation         2.20      1250.00       $2,750.00
                                proceedings

 04/14/2023    GVD    BL        Correspondence with N. Lansing and M. Healy re            0.40      1250.00        $500.00
                                status of Florida eviction case and next steps (0.2);
                                correspondence with counsel re Florida eviction case
                                re same (0.2)

 04/14/2023    GVD    BL        Review and analyze outstanding litigation and create      0.50      1250.00        $625.00
                                tracker re same

 04/14/2023    PJJ    BL        Attend hearing (partial).                                 0.50        545.00       $272.50

 04/14/2023    MBL    BL        Review Brothers objection; misc. case emails with         0.20      1445.00        $289.00
                                team and FTI.

 04/15/2023    GVD    BL        Correspondence with P. Keane re response to               0.10      1250.00        $125.00
                                Somnash motion to compel

 04/16/2023    GVD    BL        Correspondence with J. Dulberg and J. POmerantz           0.20      1250.00        $250.00
                                re proposed settlement of Samnosh litigation

 04/16/2023    GVD    BL        Review proposed revisions to Imperial stipulation         0.30      1250.00        $375.00
                                (0.2); correspondence with client re same (0.1)

 04/17/2023    PJK    BL        Call with G Demo and S Golden re Samnosh issues           3.30      1025.00       $3,382.50
                                (.3), research re same (2.2), begin drafting objection
                                to Samnosh motion (.8)

 04/17/2023    GVD    BL        Conference with counsel to Somnash re potential           0.30      1250.00        $375.00
                                case resolution and next steps

 04/17/2023    GVD    BL        Conference with P. Keane and S. Golden re draft           0.70      1250.00        $875.00
                                response to Somnash motion to compel

 04/17/2023    GVD    BL        Review materials and research re Somnash                  1.20      1250.00       $1,500.00
                                agreement and multiple correspondence re same

 04/17/2023    GVD    BL        Conference with S. Golden re status of Somnash            0.20      1250.00        $250.00
                                case and client communications

 04/17/2023    GVD    BL        Conference with T. Hines re status of Imperial            0.40      1250.00        $500.00
                                stipulation (0.2): correspondence with client re same
                                (0.1); corresponcence with PSZJ working group re
                                same (0.1)

 04/17/2023    GVD    BL        Correspondence with M. Healy and N. Lansing re            0.20      1250.00        $250.00
                                Samnosh litigation response

 04/18/2023    PJJ    BL        Draft notice of continued DIP and KERP hearing            0.40        545.00       $218.00
                                (.2); file (.2).

 04/18/2023    PJJ    BL        Telephone conference with Ben L. Wallen regarding         0.20        545.00       $109.00
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                                                                                          Hours           Rate     Amount
                                W/E lists for DIP & KERP.
 04/18/2023    JWD    BL        Work with lit team re managing Sonmash dispute             0.40      1295.00        $518.00

 04/18/2023    PJK    BL        Review litigation tracker, research re pending             1.50      1025.00       $1,537.50
                                litigation matters for stay notices, review stay notice
                                form, emails with PSZJ team re same, email to
                                litigation counsel re ch 11 filing and stay notices

 04/18/2023    GVD    BL        Conference with J. Johnston re litigation next steps       0.40      1250.00        $500.00

 04/18/2023    GVD    BL        Correspondence with T. Hines re status of Imperial         0.30      1250.00        $375.00
                                stipulation (0.1); correspondence with client re status
                                of Imperial deal (0.2)

 04/18/2023    GVD    BL        Correspondence with PSZJ working group re status           0.30      1250.00        $375.00
                                of Somnash litigation and next steps

 04/19/2023    CHM    BL        Emails with S. Golden and N. Lansing re document           0.20        925.00       $185.00
                                collection in response to Committee information
                                requests.

 04/19/2023    PJJ    BL        Email PSZJ team regarding W/E UST for April 25             0.20        545.00       $109.00
                                hearing.

 04/19/2023    JWD    BL        Review Sannosh filing and emails with team re same         0.20      1295.00        $259.00

 04/19/2023    JWD    BL        Call with PSZJ team re litigation issues                   0.20      1295.00        $259.00

 04/19/2023    PJK    BL        Research re various issues re purchase option PSAs,        5.30      1025.00       $5,432.50
                                prepare summary re same (5.0), emails with G
                                Demo re same (.3)

 04/19/2023    PJK    BL        Call with G Demo re litigation tracking and open           0.30      1025.00        $307.50
                                research issues

 04/19/2023    SWG    BL        Review and respond to email re: outstanding                0.30        895.00       $268.50
                                document requests

 04/19/2023    GVD    BL        Multiple correspondence with counsel to Imperial re        0.20      1250.00        $250.00
                                status of stipulation

 04/19/2023    GVD    BL        Conference with J. Johnston re status of litigation        0.20      1250.00        $250.00
                                and next steps

 04/19/2023    GVD    BL        Correspondence with J. Johnston re engagement              0.20      1250.00        $250.00
                                letters

 04/19/2023    GVD    BL        Correspondence with M. Healy re J. Johnston                0.10      1250.00        $125.00
                                litigation and next steps

 04/19/2023    GVD    BL        Correspondence with J. Johnston re deadline to             0.20      1250.00        $250.00
                                remove cases
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 04/19/2023    GVD    BL        Correspondence with PSZJ and client re Sannosh            0.60      1250.00        $750.00
                                withdrawal of motion to compel (0.2);
                                correspondence with counsel to Samnosh re
                                potential settlement (0.4)

 04/19/2023    GVD    BL        Conference with D. Turcot re status of Imperial and       0.20      1250.00        $250.00
                                Sonnash settlements

 04/19/2023    HCK    BL        Memos to / from P. Jeffries re W&E lists for              0.20      1550.00        $310.00
                                upcoming hearing.

 04/20/2023    PJJ    BL        Prepare exhibits to W/E List for April 25 hearing.        0.50        545.00       $272.50

 04/20/2023    JWD    BL        Attend client call re oil agreement recon                 1.00      1295.00       $1,295.00

 04/20/2023    PJK    BL        Attention to utilities issues and reach out/responses     3.40      1025.00       $3,485.00
                                from utility providers, research shutoff issues, calls
                                and emails to utility providers, calls adn emails with
                                B Wallen and PSZJ team re same

 04/20/2023    PJK    BL        Additional research re PSAs and option contracts          3.50      1025.00       $3,587.50
                                and various issues re same, emails with G Demo re
                                same, prepare research summary

 04/20/2023    GVD    BL        Correspondence with Parker Poe re damage                  0.20      1250.00        $250.00
                                assessment and next steps

 04/20/2023    GVD    BL        Conference with J. Johnston re open litigation issues     0.30      1250.00        $375.00
                                and proposed responses

 04/20/2023    GVD    BL        Correspondence with counsel to Imperial re need of        0.20      1250.00        $250.00
                                call and scheduling

 04/20/2023    GVD    BL        Conference with D. Turcot re Imperial issues re           0.20      1250.00        $250.00
                                property interference

 04/21/2023    JNP    BL        Conference with N. Lansing regarding potential            0.10      1595.00        $159.50
                                litigation against breaching dealers.

 04/21/2023    JNP    BL        Conference with Steven W. Golden regarding                0.10      1595.00        $159.50
                                potential litigation against breaching dealers.

 04/21/2023    PJJ    BL        Prepare for and file W/E list.                            0.20        545.00       $109.00

 04/21/2023    PJJ    BL        Emails regarding expense motion filing logistics          0.20        545.00       $109.00
                                with PSZJ team.

 04/21/2023    PJK    BL        Additional work on utility issues and various urgent      1.50      1025.00       $1,537.50
                                responses to same (1.2), emails with B Wallen and
                                PSZJ team re same (.3)

 04/21/2023    PJK    BL        Additional research on issues related to PSAs adn         3.50      1025.00       $3,587.50
                                option contracts re assumption/assignment (2.8),
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                                draft summary re same (.5), emails with G Demo re
                                same (.2)
 04/21/2023    GVD    BL        Correspondence with Parker Poe re status of case         0.10      1250.00        $125.00
                                analysis

 04/21/2023    GVD    BL        Correspondence with T. Hines re scheduling call          0.20      1250.00        $250.00
                                (0.1); correspondence with client re Imperial
                                defaults (0.1)

 04/21/2023    GVD    BL        Review research on contract defaults from P. Keane       0.40      1250.00        $500.00
                                and correspondence re same

 04/21/2023    GVD    BL        Prepare for conference with Imperial's counsel re        0.60      1250.00        $750.00
                                defaults (0.2); conference with Imperial's counsel re
                                same (0.4)

 04/21/2023    GVD    BL        Review email from J. Johnston re litigation action       0.20      1250.00        $250.00
                                items

 04/23/2023    PJJ    BL        Draft Agenda for April 24 hearing.                       0.80        545.00       $436.00

 04/24/2023    PJJ    BL        Revise final cash management order (.2); prepare         0.40        545.00       $218.00
                                Notice of filing redline (.2).

 04/24/2023    PJJ    BL        Prepare COC regarding final cash management              0.50        545.00       $272.50
                                motion (.3) and file (.2).

 04/24/2023    PJJ    BL        Telephone conference with Ben L. Wallen regarding        0.20        545.00       $109.00
                                W/E list filing, notice of final DIP order and
                                Agenda.

 04/24/2023    PJJ    BL        Prepare Notice of Filing final DIP order for             2.00        545.00      $1,090.00
                                filing/service, W/E List and Agenda.

 04/24/2023    JWD    BL        Emails with G Demo re Imperial; emails with team         0.10      1295.00        $129.50
                                re litigation issues

 04/24/2023    SWG    BL        Call with litigation counsel re: dealer litigation       0.20        895.00       $179.00
                                issues

 04/24/2023    GVD    BL        Review litigation options re Imperial and                0.70      1250.00        $875.00
                                correspondence re same (0.3); correspondence with
                                PSZJ working group re litigation options (0.1);
                                conference with B. Kadden and PSZJ working group
                                re transitioning litigation (0.3)

 04/24/2023    GVD    BL        Multiple correspondence with counsel to Somnash          0.20      1250.00        $250.00
                                re status of litigation and next steps

 04/25/2023    JWD    BL        Email with G Demo re litigation update                   0.10      1295.00        $129.50

 04/25/2023    PJK    BL        Revise termination agreement re store 384, emails        0.40      1025.00        $410.00
                                with S Golden re same
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 04/25/2023    SWG    BL        Assemble documents requested by AR Global               1.90        895.00      $1,700.50

 04/25/2023    GVD    BL        Review correspondence re litigation issues and          0.20      1250.00        $250.00
                                respond to same

 04/25/2023    GVD    BL        Correspondence with B. Kadden re imperial (0.2);        0.40      1250.00        $500.00
                                correspondence with counsel to Somnash re default
                                issues (0.1); correspondence with Imperial re status
                                of negotiations (0.1)

 04/25/2023    PJJ    BL        Attend hearing.                                         1.30        545.00       $708.50

 04/25/2023    SWG    BL        Attend first portion of final DIP hearing.              0.80        895.00       $716.00

 04/26/2023    JWD    BL        Attend call re 4Court                                   0.50      1295.00        $647.50

 04/26/2023    SWG    BL        Call with counsel to AR Global re: document             0.50        895.00       $447.50
                                production.

 04/26/2023    GVD    BL        Conference with MEX working group re next steps         0.80      1250.00       $1,000.00
                                in Imperial litigation

 04/26/2023    GVD    BL        Conference with J. Johnston re settlement issues        0.10      1250.00        $125.00

 04/26/2023    GVD    BL        Conference with B. Wallen re default tracker and        0.10      1250.00        $125.00
                                correspondence with K. Labrada re same

 04/26/2023    GVD    BL        Correspondence with PSZJ working group re status        0.20      1250.00        $250.00
                                of Imperial litigation issues

 04/27/2023    GVD    BL        Multiple correspondence with outside law firms re       0.20      1250.00        $250.00
                                status of cases

 04/27/2023    GVD    BL        Correspondence with Imperial re status of               0.70      1250.00        $875.00
                                negotiations (0.2); review documents re Imperial
                                negotiation and send same to B. Kadden (0.5)

 04/27/2023    KLL    BL        Call with G. Demo on assignment for tracking            0.20        545.00       $109.00
                                litigation defaults.

 04/27/2023    KLL    BL        Review correspondence and chart on litigation           0.30        545.00       $163.50
                                defaults.

 04/28/2023    PJJ    BL        Prepare and file additional amended Petitions to        0.70        545.00       $381.50
                                correct tax IDs.

 04/28/2023    JWD    BL        Review emails re dealer litigation issues               0.10      1295.00        $129.50

 04/28/2023    SWG    BL        Call re: document production to AR Global               0.70        895.00       $626.50

 04/28/2023    SWG    BL        Call with FTI team re: document production              0.30        895.00       $268.50

 04/28/2023    SWG    BL        Participate in meet and confer with counsel to AR       0.80        895.00       $716.00
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                                                                                    Hours            Rate       Amount
                                Global
 04/28/2023    GVD    BL        Correspondence with Parker Poe re automatic stay     0.10       1250.00         $125.00
                                issues

 04/28/2023    GVD    BL        Correspondence with internal working group re        0.20       1250.00         $250.00
                                default issues

 04/30/2023    GVD    BL        Correspondence with Parker Poe re status of          0.10       1250.00         $125.00
                                condemnation actions

                                                                                     74.40                    $79,246.50

  Case Administration [B110]
 04/02/2023    PJJ    CA        Review MEX share point files.                        0.50         545.00        $272.50

 04/02/2023    BLW    CA        Discuss work flows with Mr. Dulberg.                 0.10         895.00         $89.50

 04/03/2023    HCK    CA        Review WIP charts / revisions from P. Jeffries.      0.10       1550.00         $155.00

 04/03/2023    HCK    CA        All-hands conference call with PSZJ team re WIP      1.00       1550.00        $1,550.00
                                review.

 04/03/2023    HCK    CA        Conference call with PSZJ / FTI re tasks and         0.70       1550.00        $1,085.00
                                deadlines.

 04/03/2023    JNP    CA        Participate on weekly PSZJ WIP call.                 1.00       1595.00        $1,595.00

 04/03/2023    JNP    CA        Participate on weekly PSZJ FTI WIP call.             0.90       1595.00        $1,435.50

 04/03/2023    PJJ    CA        Update WIP and Critical Dates Memo and circulate.    1.00         545.00        $545.00

 04/03/2023    PJJ    CA        Attend PSZJ WIP call.                                1.00         545.00        $545.00

 04/03/2023    PJJ    CA        Attend professional WIP call.                        0.90         545.00        $490.50

 04/03/2023    PJJ    CA        Follow up call with Ben L. Wallen regarding open     0.20         545.00        $109.00
                                administration items.

 04/03/2023    PJJ    CA        Attend all hands call.                               0.40         545.00        $218.00

 04/03/2023    JWD    CA        Attend PSZJ tracker update call                      1.00       1295.00        $1,295.00

 04/03/2023    JWD    CA        Call with other profs re workstreams                 0.90       1295.00        $1,165.50

 04/03/2023    JWD    CA        Review critical dates and update WIP.                0.20       1295.00         $259.00

 04/03/2023    JWD    CA        Call with client team and all profs and follow up    0.40       1295.00         $518.00
                                notes re same

 04/03/2023    MBL    CA        Weekly update calls with debtor advisors re case     1.30       1445.00        $1,878.50
                                status.
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                                                                                       Hours           Rate     Amount

 04/03/2023    VAN    CA        Phone conference with PSZJ team regarding work in       1.80      1175.00       $2,115.00
                                process.

 04/03/2023    SWG    CA        Participate in PSZJ WIP call                            1.00        895.00       $895.00

 04/03/2023    SWG    CA        Participate in WIP call with PSZJ, FTI, and RJ          0.90        895.00       $805.50
                                teams.

 04/03/2023    SWG    CA        Participate in WIP call with client and professional    0.30        895.00       $268.50
                                teams.

 04/03/2023    GVD    CA        Attend WIP Call                                         1.00      1250.00       $1,250.00

 04/03/2023    BLW    CA        Attend WIP Call (1) and professionals call (.9)         1.90        895.00      $1,700.50

 04/03/2023    BLW    CA        Correspond with Court Clerk re: hearing on              0.10        895.00        $89.50
                                Cameron Motion.

 04/03/2023    KLL    CA        Attend PSZJ WIP call re upcoming tasks.                 1.00        545.00       $545.00

 04/03/2023    KLL    CA        Attend Debtors' professional call.                      0.80        545.00       $436.00

 04/03/2023    KLL    CA        Telephone call with court clerk on status of            0.20        545.00       $109.00
                                expedited order for hearing transcript.

 04/03/2023    KLL    CA        Correspond with transcriber on expedited request        0.20        545.00       $109.00
                                order.

 04/04/2023    PJJ    CA        Review emails regarding open items and update WIP       2.00        545.00      $1,090.00
                                accordingly.

 04/04/2023    JWD    CA        Call with S Golden regarding case tasks                 0.10      1295.00        $129.50

 04/04/2023    BLW    CA        Call with Mr. Dulberg re: work streams.                 0.10        895.00        $89.50

 04/04/2023    BLW    CA        Correspond re: committee formation.                     0.10        895.00        $89.50

 04/04/2023    BLW    CA        Return creditor calls (9x).                             1.20        895.00      $1,074.00

 04/04/2023    BLW    CA        Call with Ms. Jeffries re: upcoming filings.            0.20        895.00       $179.00

 04/04/2023    KLL    CA        Review and circulate hearing transcript re 3-29-23      0.30        545.00       $163.50
                                hearing.

 04/05/2023    JNP    CA        Conference with Steven W. Golden regarding case         0.10      1595.00        $159.50
                                issues.

 04/05/2023    JNP    CA        Conference with Jeffrey W. Dulberg regarding case       0.10      1595.00        $159.50
                                management issues.

 04/05/2023    PJJ    CA        Attend all hands WIP call.                              0.50        545.00       $272.50

 04/05/2023    JWD    CA        Call with S Golden re workflow and new items            0.70      1295.00        $906.50
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                                                                                        Hours           Rate     Amount

 04/05/2023    JWD    CA        Attend all profs and client update call                  0.40      1295.00        $518.00

 04/05/2023    JWD    CA        Calls with J Pomerantz re task mgmt                      0.10      1295.00        $129.50

 04/05/2023    JWD    CA        Call with P Jeffries and V Arias re filing fee           0.10      1295.00        $129.50
                                reimbursements

 04/05/2023    JWD    CA        Work on review of workflows and monitor same             0.50      1295.00        $647.50

 04/05/2023    SWG    CA        Draft and send status email to client                    0.20        895.00       $179.00

 04/05/2023    SWG    CA        Call with J. Dulberg re: case status and WIP             0.70        895.00       $626.50

 04/05/2023    SWG    CA        Participate in WIP call with professionals and client    0.60        895.00       $537.00

 04/05/2023    BLW    CA        Creditor Calls (3x).                                     0.40        895.00       $358.00

 04/06/2023    MSP    CA        Internal PSZJ call re: work-in-process, pending          2.00      1295.00       $2,590.00
                                action items, etc.

 04/06/2023    PJJ    CA        Attend PSZJ internal WIP call.                           1.00        545.00       $545.00

 04/06/2023    PJJ    CA        Attend PSZJ professionals WIP call.                      1.00        545.00       $545.00

 04/06/2023    PJJ    CA        Coordinate data site access.                             0.30        545.00       $163.50

 04/06/2023    PJJ    CA        Update WIP/critical dates memo.                          1.00        545.00       $545.00

 04/06/2023    JWD    CA        Work on task flow oversight and assignments to           0.30      1295.00        $388.50
                                team

 04/06/2023    JWD    CA        Attend PSZJ case status call                             1.00      1295.00       $1,295.00

 04/06/2023    JWD    CA        Attend all profs WIP call                                1.00      1295.00       $1,295.00

 04/06/2023    JWD    CA        Call with FTI and PSZJ teams re affiliate issues         0.50      1295.00        $647.50

 04/06/2023    JWD    CA        Prep email to J Elrod re D&O                             0.20      1295.00        $259.00

 04/06/2023    JWD    CA        Emails re Regions Bank inquiry                           0.10      1295.00        $129.50

 04/06/2023    JWD    CA        Work on hearing scheduling isuses following              0.20      1295.00        $259.00
                                Committee call

 04/06/2023    LAF    CA        Business research re: Various debtor entities.           2.30        595.00      $1,368.50

 04/06/2023    VAN    CA        Phone conference with Steven Golden, Jeff Dulberg,       0.70      1175.00        $822.50
                                Jonathan Kim and Patricia Jeffries regarding
                                transaction reconstruction.

 04/06/2023    SWG    CA        Assemble comprehensive WIP/workflow                      0.90        895.00       $805.50

 04/06/2023    SWG    CA        Participate in PSZJ WIP call                             1.00        895.00       $895.00
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 04/06/2023    SWG    CA        Participate in all Debtors' professionals WIP call    1.00        895.00       $895.00

 04/06/2023    SWG    CA        Receive and respond to email from client re:          0.20        895.00       $179.00
                                document production

 04/06/2023    GVD    CA        Attend WIP call                                       1.00      1250.00       $1,250.00

 04/06/2023    MDW    CA        3 Creditor inquires re general case issues.           0.40      1495.00        $598.00

 04/06/2023    BLW    CA        Attend WIP (1) and Professionals Call (1.1).          2.10        895.00      $1,879.50

 04/06/2023    BLW    CA        Creditor Call.                                        0.10        895.00        $89.50

 04/06/2023    BLW    CA        Correspond and Address numerous hearing issues.       0.60        895.00       $537.00

 04/06/2023    KLL    CA        Attend PSZJ WIP professionals call re update and      1.00        545.00       $545.00
                                assignment of tasks.

 04/07/2023    JNP    CA        Emails regarding coordination of items and tasks      0.10      1595.00        $159.50
                                through FTI.

 04/07/2023    JNP    CA        Emails with team regarding information requests by    0.10      1595.00        $159.50
                                creditor.

 04/07/2023    JNP    CA        Conference with M. Healy regarding reconciliation     0.10      1595.00        $159.50
                                of creditor claims.

 04/07/2023    PJJ    CA        Review emails regarding administrative items and      1.80        545.00       $981.00
                                track same on WIP.

 04/07/2023    JWD    CA        Call with S Golden re case mgmt                       0.10      1295.00        $129.50

 04/07/2023    JWD    CA        Review corr and email with team re Konica demand      0.20      1295.00        $259.00

 04/07/2023    LAF    CA        Business research re: Various debtor entities.        1.30        595.00       $773.50

 04/07/2023    VAN    CA        Review background materials regarding transaction     1.20      1175.00       $1,410.00
                                reconstruction.

 04/07/2023    SWG    CA        Call with G. Demo, J. Davis, and J. Wainwright re:    0.90        895.00       $805.50
                                communication workflows

 04/07/2023    SWG    CA        Call with client and professional teams               0.40        895.00       $358.00

 04/07/2023    GVD    CA        Multiple correspondence re organization of work       1.40      1250.00       $1,750.00
                                flows (0.3); conference S. Golden re same (0.3);
                                conference with S. Golden, FTI, and Raymond
                                James re organization of work flows (0.8)

 04/07/2023    GVD    CA        Conference with PSZJ working group re status of       0.50      1250.00        $625.00
                                case and next steps

 04/07/2023    BLW    CA        Numerous correspondences re: hearing issues (.4)      0.70        895.00       $626.50
                                and review, comment on, and coordinate filing of
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                                                                                       Hours           Rate      Amount
                                notice of continuance (.3).
 04/07/2023    BLW    CA        Attend WIP Call.                                        0.50        895.00       $447.50

 04/08/2023    PJJ    CA        Revise and organize workstreams and create new          3.00        545.00      $1,635.00
                                WIP.

 04/08/2023    PJJ    CA        Download and organize 4court documents.                 0.40        545.00       $218.00

 04/08/2023    JWD    CA        Work on case task list and revise same                  0.20      1295.00        $259.00

 04/08/2023    JWD    CA        Work on issues re gathering lease / org materials re    0.40      1295.00        $518.00
                                related parties

 04/08/2023    MDW    CA        Internal strategy discussion re ordinary course         0.20      1495.00        $299.00
                                professional employment.

 04/09/2023    JNP    CA        Review summary of FTI call with Province and            0.10      1595.00        $159.50
                                requests for information and email regarding same.

 04/10/2023    HCK    CA        All-hands WIP call with PSZJ team re tasks /            1.00      1550.00       $1,550.00
                                deadlines and hearing preparation.

 04/10/2023    JNP    CA        Participate on PSZJ WIP call (partial).                 0.80      1595.00       $1,276.00

 04/10/2023    JNP    CA        Participate on weekly FTI, RJ, and PSZJ WIP call.       0.90      1595.00       $1,435.50

 04/10/2023    JNP    CA        Weekly call with N. Lansing and D. Martin               0.40      1595.00        $638.00
                                regarding catch up.

 04/10/2023    MSP    CA        Internal PSZJ call regarding work-in-process,           1.00      1295.00       $1,295.00
                                pending action items, etc.

 04/10/2023    PJJ    CA        Review emails and update WIP with new tasks and         1.00        545.00       $545.00
                                action items.

 04/10/2023    PJJ    CA        Attend PSZJ WIP call.                                   1.00        545.00       $545.00

 04/10/2023    PJJ    CA        Attend professional call.                               0.90        545.00       $490.50

 04/10/2023    JWD    CA        Attend PSZJ WIP update call                             0.90      1295.00       $1,165.50

 04/10/2023    JWD    CA        Attend all profs call                                   0.80      1295.00       $1,036.00

 04/10/2023    JWD    CA        Attend client update call                               0.40      1295.00        $518.00

 04/10/2023    MBL    CA        Attend weekly update call with PSZJ team re WIP         1.00      1445.00       $1,445.00
                                and pending items.

 04/10/2023    SWG    CA        Calls with J. Davis regarding WIP                       0.20        895.00       $179.00

 04/10/2023    GVD    CA        Attend WIP call (partial)                               1.20      1250.00       $1,500.00

 04/10/2023    GVD    CA        Conference with FTI/Raymond James re daily              0.40      1250.00        $500.00
                                priorities
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 04/10/2023    MDW    CA        Contact from Creditors re case status.                  0.40      1495.00        $598.00

 04/10/2023    BLW    CA        Attend WIP Call (1) and professionals call (.9).        1.90        895.00      $1,700.50

 04/10/2023    BLW    CA        Coordinate hearing settings.                            0.10        895.00        $89.50

 04/10/2023    KLL    CA        Prepare witness and exhibit list re ADA motion.         1.10        545.00       $599.50

 04/10/2023    KLL    CA        Attend PSZJ professional team WIP call re updates       1.00        545.00       $545.00
                                and scheduling of tasks.

 04/11/2023    JNP    CA        Conference with Ben L. Wallen regarding critical        0.10      1595.00        $159.50
                                vendors issues.

 04/11/2023    PJJ    CA        Review emails and update WIP accordingly.               1.30        545.00       $708.50

 04/11/2023    PJJ    CA        Update contact lists with Committee information.        0.40        545.00       $218.00

 04/11/2023    PJJ    CA        Review Chevron agreements and email to Steven W.        0.20        545.00       $109.00
                                Golden.

 04/11/2023    PJJ    CA        Update critical dates memo, calendar entries &          0.80        545.00       $436.00
                                reminders.

 04/11/2023    JWD    CA        Review new call log from KCC                            0.10      1295.00        $129.50

 04/11/2023    JWD    CA        Emails with team re retention and OCP issues            0.20      1295.00        $259.00

 04/11/2023    JWD    CA        Call with S Golden re insider issues                    0.10      1295.00        $129.50

 04/11/2023    JWD    CA        Work on changes to form pleadings                       0.30      1295.00        $388.50

 04/11/2023    JWD    CA        Call with B Wallen re case update                       0.10      1295.00        $129.50

 04/11/2023    SWG    CA        CHeck-in with Gregory Demo regarding various            0.50        895.00       $447.50
                                workstreams.

 04/11/2023    GVD    CA        Conference with S. Golden re open issues and next       0.50      1250.00        $625.00
                                steps

 04/11/2023    GVD    CA        Conference with J. Davis re allocation of resources     0.60      1250.00        $750.00
                                and reconciliation of invoices

 04/11/2023    MDW    CA        Multiple emails re creditor inquires.                   0.50      1495.00        $747.50

 04/11/2023    BLW    CA        Correspond re: W/E List for 4/14 hearing.               0.20        895.00       $179.00

 04/11/2023    BLW    CA        Call with Ms. Jeffries re: work flows and               0.20        895.00       $179.00
                                submissions of proposed amended orders.

 04/11/2023    BLW    CA        Revise WIP Tracker.                                     0.90        895.00       $805.50

 04/11/2023    KLL    CA        Prepare witness and exhibit list re 4/14/23 hearing.    0.80        545.00       $436.00
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 04/12/2023    JNP    CA        Email to Committee counsel regarding weekly call.       0.10      1595.00        $159.50

 04/12/2023    JNP    CA        Weekly call with McDermottee regarding case             0.50      1595.00        $797.50
                                status.

 04/12/2023    PJJ    CA        Review emails and update WIP accordingly.               1.00        545.00       $545.00

 04/12/2023    PJJ    CA        Attend professional all hands call.                     0.50        545.00       $272.50

 04/12/2023    JWD    CA        Attend all profs / client update call                   0.30      1295.00        $388.50

 04/12/2023    JWD    CA        Work on obtaining data for Committee re DCM             0.10      1295.00        $129.50

 04/12/2023    JWD    CA        Emails with team re tracker updates                     0.20      1295.00        $259.00

 04/12/2023    JWD    CA        Review tracker and respond to various emails for        0.20      1295.00        $259.00
                                workflow

 04/12/2023    JWD    CA        Calls with J Pomerantz and B Wallen re IDI, stay        0.30      1295.00        $388.50
                                hearing, related issues

 04/12/2023    SWG    CA        Call with J. Davis regarding status of workflows        0.60        895.00       $537.00

 04/12/2023    SWG    CA        Call with J. Dulberg regarding CA matters               0.30        895.00       $268.50

 04/12/2023    BLW    CA        Call with U.S. Trustee re: MORs and Ada Coke            0.40        895.00       $358.00
                                Contempt Hearing.

 04/12/2023    BLW    CA        Correspond with Committee re: notice of                 0.10        895.00        $89.50
                                commencement.

 04/12/2023    KLL    CA        Review notice of bankruptcy for listing of City of      0.30        545.00       $163.50
                                Seminole for B. Wallen.

 04/12/2023    KLL    CA        Review and revise Imperial Stipulation.                 0.50        545.00       $272.50

 04/12/2023    KLL    CA        Finalize for filing witness and exhibit list re 4/14    0.30        545.00       $163.50
                                hearing.

 04/12/2023    KLL    CA        Prepare transcript request form for filing with the     0.40        545.00       $218.00
                                Court re 4/12/23 hearing.

 04/12/2023    DLM    CA        Review and file Witness and Exhibit List re 4-14-23     0.40        395.00       $158.00
                                hearing.

 04/13/2023    JNP    CA        Participate in PSZJ WIP call.                           0.80      1595.00       $1,276.00

 04/13/2023    JNP    CA        Participate in PSZJ, FTI, and RJ WIP call.              0.70      1595.00       $1,116.50

 04/13/2023    PJJ    CA        Attend PSZJ WIP call.                                   0.80        545.00       $436.00

 04/13/2023    PJJ    CA        Attend professionals WIP call.                          0.60        545.00       $327.00

 04/13/2023    PJJ    CA        Update WIP.                                             1.50        545.00       $817.50
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 04/13/2023    PJJ    CA        Update WIP and circulate.                               1.50        545.00       $817.50

 04/13/2023    JWD    CA        Emails with team re 2015.3 notice                       0.10      1295.00        $129.50

 04/13/2023    JWD    CA        Attend PSZJ task call                                   0.80      1295.00       $1,036.00

 04/13/2023    JWD    CA        Attend all profs call                                   0.70      1295.00        $906.50

 04/13/2023    JWD    CA        Review updated comms call log                           0.10      1295.00        $129.50

 04/13/2023    JWD    CA        Emails with team re hearing prep and orders             0.30      1295.00        $388.50

 04/13/2023    MBL    CA        Misc. case status emails with team.                     0.10      1445.00        $144.50

 04/13/2023    SWG    CA        Call with A. Spinto regarding WIP                       0.20        895.00       $179.00

 04/13/2023    SWG    CA        Call with Gregory Demo regarding case                   0.30        895.00       $268.50
                                administration issues

 04/13/2023    SWG    CA        Call with J. Dulberg regarding case status              0.20        895.00       $179.00

 04/13/2023    GVD    CA        Attend PSZJ WIP call (0.8); attend all professionals    1.00      1250.00       $1,250.00
                                WIP call (partial) (0.2)

 04/13/2023    BLW    CA        Correspond with Ms. Jeffries re: supplemental           0.10        895.00        $89.50
                                service.

 04/13/2023    BLW    CA        Attend WIP Call.                                        0.80        895.00       $716.00

 04/13/2023    BLW    CA        Attend Professionals Call.                              0.70        895.00       $626.50

 04/13/2023    BLW    CA        return creditor call.                                   0.10        895.00        $89.50

 04/13/2023    KLL    CA        Attend PSZJ WIP call to go over upcoming new            0.80        545.00       $436.00
                                tasks and status of pending ones.

 04/13/2023    KLL    CA        Correspond with C. Cowden re 3-23-23 hearing            0.20        545.00       $109.00
                                transcript.

 04/13/2023    KLL    CA        Review witness and exhibit list filed by BFM.           0.30        545.00       $163.50

 04/14/2023    PJJ    CA        Telephone conference with Ben L. Wallen regarding       0.10        545.00        $54.50
                                hearing and tasks going forward.

 04/14/2023    PJJ    CA        Review daily emails and update WIP and critical         1.50        545.00       $817.50
                                dates memo accordingly.

 04/14/2023    PJJ    CA        Forward hearing notices, calendar to FTI, RJ and        0.30        545.00       $163.50
                                Board.

 04/14/2023    PJJ    CA        Attend professional WIP call.                           0.30        545.00       $163.50

 04/14/2023    PJJ    CA        Update critical dates memo, calendar entries &          0.80        545.00       $436.00
                                reminders.
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 04/14/2023    JWD    CA        Review and update tracker                                0.20      1295.00        $259.00

 04/14/2023    JWD    CA        Attend all hands profs call with client                  0.30      1295.00        $388.50

 04/14/2023    MBL    CA        Weekly update call with client and debtor advisors re    0.30      1445.00        $433.50
                                case status and pending issues.

 04/14/2023    BLW    CA        Correspond re; Key Bank with FTI.                        0.10        895.00        $89.50

 04/14/2023    BLW    CA        Attend RJ status call.                                   0.30        895.00       $268.50

 04/14/2023    KLL    CA        Prepare for filing transcript request re 4/14/23         0.30        545.00       $163.50
                                hearing.

 04/16/2023    JWD    CA        Case and task flow update call with S Golden             0.80      1295.00       $1,036.00

 04/16/2023    JWD    CA        Review notes to tracker                                  0.20      1295.00        $259.00

 04/16/2023    SWG    CA        Call with J. Dulberg re: WIP and case admin matters      0.80        895.00       $716.00

 04/17/2023    HCK    CA        All-hands WIP call re pending tasks and deadlines        1.00      1550.00       $1,550.00
                                (PSZJ only).

 04/17/2023    HCK    CA        Follow-up all-hands call with FTI and RJ re WIP list     0.90      1550.00       $1,395.00
                                review.

 04/17/2023    JNP    CA        Participate on weekly PSZJ WIP call.                     1.00      1595.00       $1,595.00

 04/17/2023    JNP    CA        Participate on weekly PSZJ, FTI and RJ WIP call.         1.00      1595.00       $1,595.00

 04/17/2023    JNP    CA        Emails regarding status of provision of information      0.10      1595.00        $159.50
                                to constituents.

 04/17/2023    PJJ    CA        Update and circulate WIP.                                0.20        545.00       $109.00

 04/17/2023    PJJ    CA        Attend PSZJ WIP call.                                    1.00        545.00       $545.00

 04/17/2023    PJJ    CA        Attend professionals WIP call.                           1.00        545.00       $545.00

 04/17/2023    PJJ    CA        Attend all hands call.                                   0.30        545.00       $163.50

 04/17/2023    PJJ    CA        Update WIP with new administrative tasks.                1.50        545.00       $817.50

 04/17/2023    PJJ    CA        Update critical dates memo, calendar entries and         0.30        545.00       $163.50
                                reminders, and circulate.

 04/17/2023    JWD    CA        Review updated tracker and email with H Kevane re        0.10      1295.00        $129.50
                                hearing coverage

 04/17/2023    JWD    CA        Attend PSZJ tracker call                                 1.00      1295.00       $1,295.00

 04/17/2023    JWD    CA        Attend PSZJ and FTI update call                          0.80      1295.00       $1,036.00

 04/17/2023    JWD    CA        Attend RJ, client call re update                         0.40      1295.00        $518.00
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                                                                                       Hours           Rate     Amount

 04/17/2023    JWD    CA        Call with S Golden regarding various matters            0.10      1295.00        $129.50

 04/17/2023    JWD    CA        Prep for call with surety bond issuer                   0.20      1295.00        $259.00

 04/17/2023    MBL    CA        Attend weekly update call with team and FTI re          1.50      1445.00       $2,167.50
                                pending issues and WIP.

 04/17/2023    SWG    CA        Draft and send various case update and task emails      0.30        895.00       $268.50
                                to PSZJ and FTI teams.

 04/17/2023    SWG    CA        Comprehensive review and update of WIP list             0.30        895.00       $268.50

 04/17/2023    SWG    CA        Daily stand-up call with PSZJ, FTI, and RJ teams        0.50        895.00       $447.50

 04/17/2023    SWG    CA        Participate in weekly call with DIP Lender              1.00        895.00       $895.00
                                professionals

 04/17/2023    SWG    CA        Participate in PSZJ WIP call                            1.00        895.00       $895.00

 04/17/2023    SWG    CA        Participate in WIP call with FTI and RJ teams.          1.00        895.00       $895.00

 04/17/2023    SWG    CA        Call with client re: WIP                                0.30        895.00       $268.50

 04/17/2023    GVD    CA        Attend WIP call                                         2.00      1250.00       $2,500.00

 04/17/2023    BLW    CA        Attend WIP (1) and Professionals Call (1).              2.00        895.00      $1,790.00

 04/17/2023    BLW    CA        Correspond with clerk re: upcoming hearing dates.       0.10        895.00        $89.50

 04/17/2023    KLL    CA        Attend PSZJ team WIP call.                              1.00        545.00       $545.00

 04/18/2023    PJJ    CA        Update WIP, critical dates memo, calendar entries       1.50        545.00       $817.50
                                and reminders, and circulate.

 04/18/2023    JWD    CA        Call with counsel to minority shareholder and emails    0.30      1295.00        $388.50
                                re same

 04/18/2023    SWG    CA        Participate in daily stand-up call with PSZJ, FTI,      0.60        895.00       $537.00
                                and RJ teams

 04/18/2023    BLW    CA        Correspond with FTI re: various information             0.20        895.00       $179.00
                                requests from creditors.

 04/18/2023    BLW    CA        Correspond with Court clerk re: continuance of 4/20     0.30        895.00       $268.50
                                hearing and revise NOH re: same.

 04/18/2023    BLW    CA        Call with Ms. Jeffries re: DIP Hearing W/E list         0.50        895.00       $447.50
                                issues and discuss other work flow matters.

 04/19/2023    JNP    CA        Conference with Steven W. Golden regarding US           0.20      1595.00        $319.00
                                Fuels.

 04/19/2023    JNP    CA        Conference with N. Lansing, T. Wadud, L. Frady          0.50      1595.00        $797.50
                                and Steven W. Golden regarding potential issues
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                                                                                        Hours           Rate     Amount
                                with creditor; follow-up with Steven W. Golden
                                regarding same.
 04/19/2023    PJJ    CA        Research Landers service issue (.4); email Steven W.     0.50        545.00      $272.50
                                Golden re same (.1).

 04/19/2023    PJJ    CA        Update WIP, critical dates memo, calendar entries        0.50        545.00      $272.50
                                and reminders, and circulate.

 04/19/2023    JWD    CA        Work on mgmt of new issues and task assignments          0.70      1295.00       $906.50

 04/19/2023    JWD    CA        Call with B Wallen re utilities and other case issues    0.20      1295.00       $259.00

 04/19/2023    SWG    CA        Participate in daily stand-up call with FTI and RJ       0.40        895.00      $358.00
                                teams.

 04/19/2023    MDW    CA        Contact from creditors re case issues - generally.       0.40      1495.00       $598.00

 04/19/2023    BLW    CA        Call to creditor re: information requests.               0.10        895.00       $89.50

 04/19/2023    BLW    CA        Correspond re: hearing agenda.                           0.10        895.00       $89.50

 04/20/2023    HCK    CA        Internal PSZJ call re WIP tasks and upcoming             0.50      1550.00       $775.00
                                hearings.

 04/20/2023    PJJ    CA        Attend PSZJ WIP call.                                    0.50        545.00      $272.50

 04/20/2023    PJJ    CA        Attend professionals WIP call.                           0.50        545.00      $272.50

 04/20/2023    PJJ    CA        Prepare W/E UST for April 25 hearing.                    0.20        545.00      $109.00

 04/20/2023    JWD    CA        Review updated tracker, review B Wallen email re         0.20      1295.00       $259.00
                                status update, emails with P Jeffries re next W/E

 04/20/2023    JWD    CA        Attend PSZJ tracker call                                 0.30      1295.00       $388.50

 04/20/2023    JWD    CA        Attend all profs update call                             0.40      1295.00       $518.00

 04/20/2023    SWG    CA        Participate in daily stand-up call                       0.50        895.00      $447.50

 04/20/2023    SWG    CA        Participate in WIP calls with PSZJ (.5) and all          1.00        895.00      $895.00
                                professionals (.5)

 04/20/2023    GVD    CA        Attend WIP call (partial)                                0.60      1250.00       $750.00

 04/20/2023    BLW    CA        Draft work flow update for Mr. Dulberg re: pressing      0.50        895.00      $447.50
                                case issues.

 04/20/2023    BLW    CA        Attend WIP Call.                                         1.00        895.00      $895.00

 04/20/2023    KLL    CA        Attend PSZJ team WIP call.                               0.50        545.00      $272.50

 04/21/2023    PJJ    CA        Email wire instructions to Ada counsel.                  0.10        545.00       $54.50

 04/21/2023    PJJ    CA        Attend Raymond James WIP call.                           0.40        545.00      $218.00
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                                                                                        Hours           Rate     Amount

 04/21/2023    PJJ    CA        Review email from UST regarding Messina Debtor           0.50        545.00       $272.50
                                Tax ID numbers (.1); compare to chart and email
                                company regarding same (.4).

 04/21/2023    JWD    CA        Emails with B Wallen and P Keane re task updates         0.10      1295.00        $129.50

 04/21/2023    JWD    CA        Call with Pomerantz and Golden re various issues         0.10      1295.00        $129.50

 04/21/2023    JWD    CA        Attend RJ all hands client call                          0.50      1295.00        $647.50

 04/21/2023    JWD    CA        Emails with various parties re work stream review        0.40      1295.00        $518.00

 04/21/2023    JWD    CA        Review and update tracker and emails with team re        0.20      1295.00        $259.00
                                same

 04/21/2023    SWG    CA        Call with G. Demo re: various case admin matters         0.30        895.00       $268.50

 04/21/2023    SWG    CA        Call with J. Dulberg, M. Healy, and J. Davis re: case    0.30        895.00       $268.50
                                status matters

 04/21/2023    SWG    CA        Call with client re: case status                         0.50        895.00       $447.50

 04/21/2023    GVD    CA        Conference with S. Golden re open items and next         0.30      1250.00        $375.00
                                steps

 04/21/2023    GVD    CA        Conference with FTI, Raymond James, and S.               0.50      1250.00        $625.00
                                Golden re priority of obligations

 04/21/2023    BLW    CA        Return multiple creditor calls.                          0.40        895.00       $358.00

 04/21/2023    KLL    CA        Review and finalize for filing stipulation and order     0.40        545.00       $218.00
                                re ADA sanctions order.

 04/21/2023    KLL    CA        Review for filing ARKO GPM Expense                       0.40        545.00       $218.00
                                Reimbursement Motion.

 04/22/2023    JWD    CA        Two calls with S Golden re case oversight                0.50      1295.00        $647.50

 04/22/2023    SWG    CA        Call with J. Davis re: case status and admin matters     0.30        895.00       $268.50

 04/23/2023    PJJ    CA        Update first days.                                       0.30        545.00       $163.50

 04/24/2023    HCK    CA        All-hands conference call with PSZJ team re WIP          1.00      1550.00       $1,550.00
                                review.

 04/24/2023    HCK    CA        Follow-up all-hands conference call with PSZJ /          1.00      1550.00       $1,550.00
                                FTI / RJ re tasks and deadlines.

 04/24/2023    JNP    CA        Participate on weekly PSZJ WIP call.                     0.50      1595.00        $797.50

 04/24/2023    JNP    CA        Participate in Raymond James, FTI and PSZJ WIP           1.00      1595.00       $1,595.00
                                call.

 04/24/2023    JNP    CA        Call with professionals and N, Lansing regarding         0.30      1595.00        $478.50
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                                                                                        Hours           Rate     Amount
                                update.
 04/24/2023    PJJ    CA        Attend PSZJ internal WIP.                                1.00        545.00       $545.00

 04/24/2023    PJJ    CA        Attend professionals WIP call.                           1.00        545.00       $545.00

 04/24/2023    PJJ    CA        Attend all hands WIP call.                               0.30        545.00       $163.50

 04/24/2023    PJJ    CA        Update WIP.                                              0.70        545.00       $381.50

 04/24/2023    JWD    CA        Attend all profs update call                             1.00      1295.00       $1,295.00

 04/24/2023    JWD    CA        Attend RJ call regular client call                       0.30      1295.00        $388.50

 04/24/2023    JWD    CA        Call with S Golden and Call with J Pomerantz re          0.10      1295.00        $129.50
                                meeting update

 04/24/2023    JWD    CA        Call with S Golden re update                             0.10      1295.00        $129.50

 04/24/2023    JWD    CA        Review case tracker for WIP                              0.10      1295.00        $129.50

 04/24/2023    JWD    CA        Review updated hearing agenda                            0.10      1295.00        $129.50

 04/24/2023    JWD    CA        Attend PSZJ tracker call                                 1.10      1295.00       $1,424.50

 04/24/2023    JWD    CA        Work on issues for W/E filing tomorrow                   0.20      1295.00        $259.00

 04/24/2023    MBL    CA        Attend weekly update calls with team and FTI re          1.30      1445.00       $1,878.50
                                pending issues.

 04/24/2023    SWG    CA        Participate in daily stand-up call.                      0.40        895.00       $358.00

 04/24/2023    SWG    CA        Participate in WIP call with PSZJ team.                  1.00        895.00       $895.00

 04/24/2023    SWG    CA        Participate in WIP call with PSZJ, RJ, and FTI           1.00        895.00       $895.00
                                teams.

 04/24/2023    SWG    CA        Participate in call with client.                         0.30        895.00       $268.50

 04/24/2023    SWG    CA        Call with J. Davis re: case status and admin matters.    0.40        895.00       $358.00

 04/24/2023    GVD    CA        Attend WIP call                                          1.40      1250.00       $1,750.00

 04/24/2023    MDW    CA        General creditor inquiry calls and direct same.          0.50      1495.00        $747.50

 04/24/2023    BLW    CA        Revise agenda re: 4/25 hearing.                          0.20        895.00       $179.00

 04/24/2023    BLW    CA        Attend WIP Call (1), Professionals call (1), and RJ      2.30        895.00      $2,058.50
                                update call (.3).

 04/24/2023    BLW    CA        Correspond re: FEIN in petitions.                        0.10        895.00        $89.50

 04/24/2023    BLW    CA        Review and comment on U.S. Trustee fee                   0.30        895.00       $268.50
                                calculation re: March stub period.
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                                                                                       Hours           Rate     Amount

 04/24/2023    BLW    CA        Call with Ms. Jeffries re: W/E list issues.             0.30        895.00      $268.50

 04/24/2023    KLL    CA        Attend PSZJ WIP Call.                                   1.00        545.00      $545.00

 04/25/2023    PJJ    CA        Telephone conference with Ben L. Wallen regarding       0.20        545.00      $109.00
                                admin matters/filing.

 04/25/2023    PJJ    CA        Circulate entered orders.                               0.20        545.00      $109.00

 04/25/2023    PJJ    CA        Update critical dates memo, calendar entries and        0.20        545.00      $109.00
                                reminders, and circulate.

 04/25/2023    PJJ    CA        Update tax ID spreadsheet for missing EINs and          0.40        545.00      $218.00
                                circulate.

 04/25/2023    JWD    CA        Attend call with surety bond issuer re case update      0.30      1295.00       $388.50

 04/25/2023    JWD    CA        Call with B Wallen following hearing                    0.10      1295.00       $129.50

 04/25/2023    JWD    CA        Emails with team re next W/E lists for hearings on      0.10      1295.00       $129.50
                                Thursday

 04/25/2023    JWD    CA        Calls with S Golden re case tasks                       0.20      1295.00       $259.00

 04/25/2023    JWD    CA        Emails with team re W/E list and agenda                 0.10      1295.00       $129.50

 04/25/2023    JWD    CA        Emails re reimbursement of petition filing fees         0.10      1295.00       $129.50

 04/25/2023    JWD    CA        Review email from utility and email to P Jeffries re    0.10      1295.00       $129.50
                                same

 04/25/2023    SWG    CA        Participate in daily stand-up call.                     0.50        895.00      $447.50

 04/25/2023    GVD    CA        Conference with S. Golden, FTI, and Raymond             0.40      1250.00       $500.00
                                James re open issues and next steps

 04/25/2023    MDW    CA        Contact from creditor re tax issues for DIP Order.      0.20      1495.00       $299.00

 04/25/2023    BLW    CA        Call with Ms. LaBrada re: workflows.                    0.20        895.00      $179.00

 04/25/2023    BLW    CA        Calls (2x) with Ms. Jeffries re: filing of Final DIP    0.30        895.00      $268.50
                                Order and work flows.

 04/25/2023    KLL    CA        Review and provide comments to B. Wallen re             0.30        545.00      $163.50
                                Stipulation on 95 Nascar store.

 04/25/2023    KLL    CA        Submit electronic appearances re 4/25/23 hearing.       0.20        545.00      $109.00

 04/25/2023    KLL    CA        Prepare transcript request form for filling with the    0.30        545.00      $163.50
                                court re 4/25/23 hearing.

 04/25/2023    KLL    CA        Pull transcript for B. Wallen re Ada Coke hearing.      0.20        545.00      $109.00

 04/25/2023    SWG    CA        Call with surety re: bankruptcy questions               0.30        895.00      $268.50
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 04/26/2023    HCK    CA        Memos to / from group re schedules.                   0.10      1550.00        $155.00

 04/26/2023    PJJ    CA        Review emails and update WIP with admin tracking      0.50        545.00       $272.50
                                items.

 04/26/2023    PJJ    CA        Attend all hands call.                                0.30        545.00       $163.50

 04/26/2023    JWD    CA        Calls with B Wallen re various issues                 0.10      1295.00        $129.50

 04/26/2023    JWD    CA        Attend regular RJ / Client update call                0.40      1295.00        $518.00

 04/26/2023    JWD    CA        Multiple calls with J Pomerantz, B Wallen and S       0.70      1295.00        $906.50
                                Golden re case mgmt

 04/26/2023    SWG    CA        Participate in daily stand-up call.                   0.40        895.00       $358.00

 04/26/2023    SWG    CA        Participate in call with client re: case tasks        0.20        895.00       $179.00

 04/26/2023    GVD    CA        Conference with S. Golden, FTI, and Raymond           0.40      1250.00        $500.00
                                James re open issues and next steps

 04/26/2023    BLW    CA        Correspond with CRO re: various hearings.             0.10        895.00        $89.50

 04/26/2023    BLW    CA        Review, finalize, and circulate March stub UST Fee    0.20        895.00       $179.00
                                chart.

 04/26/2023    KLL    CA        Circulate 4-14-23 hearing transcript to McDermott     0.20        545.00       $109.00
                                Will & Emery.

 04/26/2023    BLW    CA        Correspond re: Trust EIN.                             0.10        895.00        $89.50

 04/27/2023    JNP    CA        PSZJ WIP call.                                        1.00      1595.00       $1,595.00

 04/27/2023    PJJ    CA        Update and circulate WIP.                             2.50        545.00      $1,362.50

 04/27/2023    PJJ    CA        Telephone conference with Ben L. Wallen regarding     0.20        545.00       $109.00
                                case status and admin matters.

 04/27/2023    PJJ    CA        Update critical dates memo, calendar entries and      0.50        545.00       $272.50
                                reminders, and circulate.

 04/27/2023    PJJ    CA        Attend PSZJ WIP call.                                 1.60        545.00       $872.00

 04/27/2023    JWD    CA        Attend PSZJ tracker call                              1.60      1295.00       $2,072.00

 04/27/2023    JWD    CA        Emails with P Jeffries re filing fee accounting       0.10      1295.00        $129.50

 04/27/2023    JWD    CA        Multiple calls with J Pomerantz and S Golden re       0.50      1295.00        $647.50
                                lease, employee, etc

 04/27/2023    JWD    CA        Review tracker and draft revisions re same            0.20      1295.00        $259.00

 04/27/2023    SWG    CA        Participate in daily stand up call                    0.50        895.00       $447.50
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 04/27/2023    SWG    CA        Comprehensive WIP call with PSZJ team                        1.60        895.00        $1,432.00

 04/27/2023    GVD    CA        Attend WIP Call                                              1.60      1250.00         $2,000.00

 04/27/2023    BLW    CA        Correspond with UST re: amended petitions and                0.30        895.00         $268.50
                                EIN (.2); coordinate internally re: filing of same (.1).

 04/27/2023    BLW    CA        Call with Ms. Jeffries re: WIP.                              0.20        895.00         $179.00

 04/27/2023    BLW    CA        Call with Ms. LaBrada re: amended petitions.                 0.10        895.00          $89.50

 04/27/2023    BLW    CA        Correspond with CRO re: amended petitions.                   0.10        895.00          $89.50

 04/27/2023    BLW    CA        Return multiple (2x) creditor calls.                         0.30        895.00         $268.50

 04/27/2023    BLW    CA        Attend WIP Call.                                             1.60        895.00        $1,432.00

 04/27/2023    KLL    CA        Revise rejection motion for S. Golden.                       0.30        545.00         $163.50

 04/27/2023    KLL    CA        Prepare 17 amended petitions.                                4.80        545.00        $2,616.00

 04/28/2023    HCK    CA        Review numerous accumulated memos re upcoming                0.30      1550.00          $465.00
                                tasks and deadlines.

 04/28/2023    PJJ    CA        Emails from and to Ben L. Wallen regarding                   0.20        545.00         $109.00
                                amended petitions.

 04/28/2023    PJJ    CA        Update WIP and critical dates memo, calendar                 0.70        545.00         $381.50
                                entries and reminders, and circulate.

 04/28/2023    JWD    CA        Review and respond to emails possible additional             0.10      1295.00          $129.50
                                debtor

 04/28/2023    SWG    CA        Participate in daily stand-up call                           0.50        895.00         $447.50

 04/28/2023    SWG    CA        Participate in call with professional team re: case          0.50        895.00         $447.50
                                status

 04/28/2023    KLL    CA        Review 4/25/23 hearing transcript.                           0.20        545.00         $109.00

                                                                                           205.50                    $196,485.50

  Corporate Governance/Board Mtr
 03/18/2023    NLH    CG        Work on resolution related issues (.5)                       0.50      1075.00          $537.50

 04/02/2023    JNP    CG        Participate on Board call.                                   1.00      1595.00         $1,595.00

 04/02/2023    JNP    CG        Email regarding Board call Agenda.                           0.10      1595.00          $159.50

 04/02/2023    JNP    CG        Conference with G. Richards regarding information            0.20      1595.00          $319.00
                                protocol for sale process.
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                                                                                      Hours           Rate     Amount

 04/02/2023    PJJ    CG        Attend Board meeting.                                  1.00        545.00       $545.00

 04/02/2023    PJJ    CG        Draft Board minutes.                                   0.50        545.00       $272.50

 04/02/2023    JWD    CG        Attend board call                                      1.00      1295.00       $1,295.00

 04/02/2023    JWD    CG        Work on board agenda and comments re same              0.40      1295.00        $518.00

 04/02/2023    SWG    CG        Participate in Board meeting                           1.00        895.00       $895.00

 04/02/2023    BLW    CG        Draft Board minutes.                                   0.90        895.00       $805.50

 04/02/2023    BLW    CG        Attend Board Call.                                     1.10        895.00       $984.50

 04/03/2023    JWD    CG        Review and revise board minutes                        0.30      1295.00        $388.50

 04/03/2023    JWD    CG        Review and revise board minutes                        0.40      1295.00        $518.00

 04/03/2023    JWD    CG        Review March 18 board minutes and emails               0.20      1295.00        $259.00
                                regarding same; Review marketing board minutes
                                and emails regarding same.

 04/04/2023    JNP    CG        Review and comment on Board minutes.                   0.10      1595.00        $159.50

 04/04/2023    JWD    CG        Review and revise board minutes                        0.80      1295.00       $1,036.00

 04/06/2023    BLW    CG        Correspond with Ms. Newmark re: ID retention.          0.10        895.00        $89.50

 04/07/2023    JNP    CG        Prepare proposed protocol for communication of         0.20      1595.00        $319.00
                                sale information during process.

 04/07/2023    JNP    CG        Review and revise April 3, 2023 Board minutes.         0.30      1595.00        $478.50

 04/07/2023    PJJ    CG        Revise April 2 Board minutes.                          0.20        545.00       $109.00

 04/07/2023    JWD    CG        Work on various board minutes and compiling            1.00      1295.00       $1,295.00
                                materials for board meeting

 04/07/2023    BLW    CG        Call with Ms. Newmark re: Independent director         0.30        895.00       $268.50
                                retention Application.

 04/08/2023    JNP    CG        Review Board call agenda.                              0.10      1595.00        $159.50

 04/08/2023    PJJ    CG        Draft resolutions of special transaction committee.    0.50        545.00       $272.50

 04/08/2023    JWD    CG        Work on agenda and attachments for board meeting       1.20      1295.00       $1,554.00

 04/08/2023    JWD    CG        Draft and revise Special Transaction Committee         0.70      1295.00        $906.50
                                resolution and meeting agenda

 04/08/2023    JWD    CG        Further work on board and STC meeting materials        1.10      1295.00       $1,424.50
                                and agenda

 04/08/2023    JWD    CG        Revise STC resolution                                  0.40      1295.00        $518.00
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 04/09/2023    JWD    CG        Finalize board and STC materials and emails re          0.40      1295.00        $518.00
                                agenda and meeting updates

 04/09/2023    BLW    CG        Call with Mr. Pomerantz and Mr. Dulberg re:             0.40        895.00       $358.00
                                Motion to appoint Independent directors.

 04/10/2023    JNP    CG        Participate on Board call.                              1.00      1595.00       $1,595.00

 04/10/2023    PJJ    CG        Attend Board meeting.                                   0.90        545.00       $490.50

 04/10/2023    PJJ    CG        Attend special transaction committee Board              0.30        545.00       $163.50
                                meeting.

 04/10/2023    JWD    CG        Attend company board call                               1.10      1295.00       $1,424.50

 04/10/2023    JWD    CG        Review and update new meeting minutes                   0.80      1295.00       $1,036.00

 04/10/2023    BLW    CG        Attend Board Meeting and follow-on special              1.10        895.00       $984.50
                                transactions meeting.

 04/11/2023    PJJ    CG        Draft Board minutes of April 10.                        0.30        545.00       $163.50

 04/11/2023    PJJ    CG        Draft special transaction Committee minutes of 4/10.    0.30        545.00       $163.50

 04/11/2023    JWD    CG        Review and revise 4/10 board minutes and STC            0.40      1295.00        $518.00
                                minutes

 04/11/2023    JWD    CG        Call with P Jeffries re board meeting minutes           0.10      1295.00        $129.50

 04/12/2023    PJJ    CG        Research Mountain Express drive to Imperial             1.00        545.00       $545.00
                                Agreements.

 04/13/2023    JWD    CG        Work on next board agenda and email to J                0.20      1295.00        $259.00
                                Pomerantz re minutes

 04/14/2023    JNP    CG        Review and revise Board minutes.                        0.10      1595.00        $159.50

 04/14/2023    JNP    CG        Review minutes.                                         0.10      1595.00        $159.50

 04/14/2023    JNP    CG        Review Agenda.                                          0.20      1595.00        $319.00

 04/14/2023    JWD    CG        Work on materials, minutes and agenda for Monday        0.30      1295.00        $388.50
                                board meeting

 04/14/2023    JWD    CG        Work on issues for board meeting                        0.30      1295.00        $388.50

 04/15/2023    JWD    CG        Emails re board and STC agenda                          0.20      1295.00        $259.00

 04/16/2023    JWD    CG        Prep for board meeting                                  0.20      1295.00        $259.00

 04/17/2023    PJJ    CG        Attend board meeting.                                   0.90        545.00       $490.50

 04/17/2023    PJJ    CG        Attend special transaction Committee meeting.           0.40        545.00       $218.00
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 04/17/2023    PJJ    CG        Draft board minutes (.3); STC minutes (.2).            0.50        545.00       $272.50

 04/17/2023    SWG    CG        Participate in weekly Board meeting.                   1.20        895.00      $1,074.00

 04/17/2023    JNP    CG        Participate in Board call and Special Transaction      1.20      1595.00       $1,914.00
                                Committee call.

 04/17/2023    JWD    CG        Attend board meeting and STC meeting                   1.20      1295.00       $1,554.00

 04/19/2023    BLW    CG        Correspond re: board minutes.                          0.20        895.00       $179.00

 04/19/2023    JWD    CG        Call with J Pomerantz re board call and emails with    0.20      1295.00        $259.00
                                board re same

 04/20/2023    PJJ    CG        Attend Board meeting (.5); draft minutes (.4).         0.90        545.00       $490.50

 04/20/2023    SWG    CG        Participate in emergency board meeting.                0.50        895.00       $447.50

 04/20/2023    BLW    CG        Attend Board Meeting.                                  0.60        895.00       $537.00

 04/20/2023    JNP    CG        Participate on Board call.                             0.60      1595.00        $957.00

 04/20/2023    JNP    CG        Conference with C. Barbarosh after Board call.         0.10      1595.00        $159.50

 04/20/2023    JWD    CG        Prep for emerg board call                              0.10      1295.00        $129.50

 04/20/2023    JWD    CG        Attend emergency board meeting                         0.60      1295.00        $777.00

 04/20/2023    JWD    CG        Work on board and STC minutes                          0.60      1295.00        $777.00

 04/20/2023    JWD    CG        Review and revise 4/20 minutes                         0.30      1295.00        $388.50

 04/21/2023    JWD    CG        Work on agenda, minutes for board                      0.30      1295.00        $388.50

 04/21/2023    JWD    CG        Work on board deliverables                             0.60      1295.00        $777.00

 04/22/2023    JNP    CG        Review Agenda for Board meeting and email with         0.10      1595.00        $159.50
                                Jeffrey W. Dulberg regarding same.

 04/23/2023    JWD    CG        Draft 4/20 emerg board minutes                         0.50      1295.00        $647.50

 04/23/2023    JWD    CG        Work on completing three sets of board and STC         0.60      1295.00        $777.00
                                minutes and work on emails to board and STC re
                                next meeting

 04/23/2023    JWD    CG        Work on various issues re board meetings, agenda       0.80      1295.00       $1,036.00
                                and materials

 04/24/2023    PJJ    CG        Attend board meeting.                                  0.80        545.00       $436.00

 04/24/2023    PJJ    CG        Attend STC board meeting.                              0.40        545.00       $218.00

 04/24/2023    SWG    CG        Participate in weekly Board meeting.                   1.00        895.00       $895.00
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 04/24/2023    BLW    CG        Attend Board Meeting and subsequent special             1.00         895.00        $895.00
                                transactions committee meeting.

 04/24/2023    JNP    CG        Participate in Board call.                              1.00       1595.00        $1,595.00

 04/24/2023    JWD    CG        Finalize materials and agenda for STC meeting           0.20       1295.00         $259.00

 04/24/2023    JWD    CG        Attend board and STC meetings                           1.00       1295.00        $1,295.00

 04/24/2023    JWD    CG        Work with RJ and FTI team re completion of sale         0.40       1295.00         $518.00
                                process update and Adelphi presentation for STC

 04/25/2023    PJJ    CG        Draft minutes of April 24 board meeting.                0.50         545.00        $272.50

 04/25/2023    PJJ    CG        Draft minutes of April 24 special board meeting.        0.30         545.00        $163.50

 04/25/2023    JWD    CG        Work on two sets on board meeting minutes               0.80       1295.00        $1,036.00

 04/26/2023    JWD    CG        Work on board meeting minutes                           0.30       1295.00         $388.50

 04/26/2023    JWD    CG        Draft notes re agenda for next STC meeting              0.10       1295.00         $129.50

 04/27/2023    JWD    CG        Work on next sets of board and STC meeting agenda       0.40       1295.00         $518.00
                                and review past minutes

 04/27/2023    JWD    CG        Email to Board re AR Global                             0.10       1295.00         $129.50

 04/28/2023    JWD    CG        Emails re board agenda                                  0.10       1295.00         $129.50

 04/28/2023    JWD    CG        Work on board agenda and minutes                        0.60       1295.00         $777.00

 04/30/2023    JWD    CG        Work on prep for agenda and materials for board and     0.60       1295.00         $777.00
                                STC meetings

 04/30/2023    JWD    CG        Further work on agenda and minutes per J                0.30       1295.00         $388.50
                                Pomerantz comments

                                                                                        48.20                    $53,194.00

  Claims Admin/Objections[B310]
 04/08/2023    BLW    CO        Revise draft bar date motion.                           0.80         895.00        $716.00

 04/09/2023    BLW    CO        Continue to revise Bar Date Motion.                     2.70         895.00       $2,416.50

 04/10/2023    JWD    CO        Respond to company requests re responding to            0.20       1295.00         $259.00
                                claimants

 04/10/2023    BLW    CO        Correspond re: Bar Date.                                0.10         895.00         $89.50

 04/11/2023    KLL    CO        Prepare bar date notice.                                1.40         545.00        $763.00

 04/12/2023    KLL    CO        Continue preparation of exhibits to bar date motion.    0.60         545.00        $327.00
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 04/13/2023    PJJ    CO        Research service of notice of commencement on AL         0.30         545.00       $163.50
                                Dept. of Revenue (.2); email S. Golden re same (.1).

 04/19/2023    SWG    CO        Receive and respond to email re: claim to be filed by    0.30         895.00       $268.50
                                US Fuels

 04/19/2023    SWG    CO        Call with client re: alleged claim from SASS             0.30         895.00       $268.50
                                Petroleum

 04/19/2023    SWG    CO        Call with client and J. Pomerantz re: claim dispute      0.50         895.00       $447.50

 04/20/2023    JNP    CO        Emails regarding calculation of claims amounts.          0.10       1595.00        $159.50

 04/20/2023    SWG    CO        Call with client re: settlement with dealer              0.30         895.00       $268.50

 04/20/2023    SWG    CO        Call with counsel to Pilot re: claims issues             0.40         895.00       $358.00

 04/28/2023    JWD    CO        Review claims report                                     0.10       1295.00        $129.50

 04/28/2023    JWD    CO        Review claims summary                                    0.10       1295.00        $129.50

                                                                                          8.20                    $6,764.00

  Compensation Prof. [B160]
 04/03/2023    PJJ    CP        Draft interim compensation motion.                       1.00         545.00       $545.00

 04/05/2023    HCK    CP        Memos to / from A. Spirito and J. Dulberg re             0.30       1550.00        $465.00
                                professional fee carve-out funding.

 04/05/2023    JNP    CP        Conference with PSZJ team regarding review and           1.00       1595.00       $1,595.00
                                analysis of operational transactions.

 04/05/2023    PJJ    CP        Emails regarding professional fee budget (.2);           0.40         545.00       $218.00
                                update tracking regarding same (.2).

 04/05/2023    PJJ    CP        Email accounting regarding filing fee                    0.20         545.00       $109.00
                                reconciliations.

 04/05/2023    PJJ    CP        Reconcile filing fees.                                   0.50         545.00       $272.50

 04/07/2023    JNP    CP        Emails with Jeffrey W. Dulberg regarding fees.           0.10       1595.00        $159.50

 04/07/2023    JWD    CP        Work on initial bill review                              0.20       1295.00        $259.00

 04/10/2023    JWD    CP        Review draft of interim comp motion and email re         0.20       1295.00        $259.00
                                updates

 04/10/2023    BLW    CP        Revise Interim Compensation Motion.                      0.50         895.00       $447.50

 04/11/2023    JWD    CP        Continue bill review                                     0.30       1295.00        $388.50

 04/11/2023    JWD    CP        Review interim comp motion                               0.10       1295.00        $129.50
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 04/11/2023    JWD    CP        Begin initial bill review                                0.70       1295.00         $906.50

 04/11/2023    BLW    CP        Revise Interim Comp Procedures Motion.                   0.10         895.00         $89.50

 04/12/2023    PJJ    CP        Update professional fee reserve.                         0.20         545.00        $109.00

 04/12/2023    JWD    CP        Review bill and issues for first monthly                 0.20       1295.00         $259.00

 04/19/2023    MSP    CP        Email exchange with G. Demo, et al. regarding            0.10       1295.00         $129.50
                                contingency fee issue.

 04/19/2023    JWD    CP        Emails re prof fee reserve                               0.10       1295.00         $129.50

 04/20/2023    MSP    CP        Review contingency ordinary course professional          0.90       1295.00        $1,165.50
                                issue (.80); email exchange with G. Demo, J.
                                Dulberg, et al. regarding same (.10).

 04/20/2023    JWD    CP        Work on bill review                                      0.30       1295.00         $388.50

 04/20/2023    JNP    CP        Review U.S. Trustee comments on employment               0.10       1595.00         $159.50
                                applications of Debtors' professionals.

 04/24/2023    MSP    CP        Attention to contingency ordinary course                 2.90       1295.00        $3,755.50
                                professional issue and legal research regarding same
                                (2.80); email exchange with J. Dulberg, L. Forrester,
                                et al. regarding same (.10).

 04/25/2023    MSP    CP        Attention to contingency ordinary course                 2.90       1295.00        $3,755.50
                                professional issue and legal research regarding same
                                (2.80); email exchange with L. Forrester, et al.
                                regarding same (.10).

 04/26/2023    MSP    CP        Email exchange with J. Dulberg, V. Newmark, et al.       0.10       1295.00         $129.50
                                regarding terms of OCP retention.

 04/27/2023    MSP    CP        Email exchange with J. Dulberg, V. Newmark, et al.       0.10       1295.00         $129.50
                                regarding terms of OCP retention.

 04/28/2023    MSP    CP        Email exchange with J. Dulberg, V. Newmark, et al.       0.10       1295.00         $129.50
                                regarding terms of OCP retention.

                                                                                         13.60                    $16,083.50

  Employee Benefit/Pension-B220
 04/03/2023    HCK    EB        Research re KERP / KEIP standards and review             0.30       1550.00         $465.00
                                SDTX precedents.

 04/03/2023    HCK    EB        Memos to / from S. Golden et al. re KERP                 0.40       1550.00         $620.00
                                development and review draft motion templates.

 04/03/2023    HCK    EB        Review / edit KERP approval motion.                      0.30       1550.00         $465.00
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 04/03/2023    HCK    EB        Draft / revise motion to approve non-insider KERP       2.20      1550.00       $3,410.00
                                and review precedents.

 04/03/2023    JWD    EB        Review email from client regarding employee issues      0.10      1295.00        $129.50
                                and email with team regarding same

 04/03/2023    SWG    EB        Call with client re: KERP                               0.20        895.00       $179.00

 04/03/2023    KLL    EB        Review and revise draft of KERP motion.                 0.60        545.00       $327.00

 04/04/2023    HCK    EB        Continue to draft / revise motion to approve KERP       1.80      1550.00       $2,790.00
                                and review additional precedents and circulate to
                                FTI team.

 04/04/2023    HCK    EB        Memos to / from J. Davis and S. Golden re KERP          0.20      1550.00        $310.00
                                plan formulation.

 04/04/2023    HCK    EB        Further proof / edit draft of KERP motion.              0.30      1550.00        $465.00

 04/04/2023    JNP    EB        Emails with FTI regarding KERP and review same.         0.20      1595.00        $319.00

 04/04/2023    DLM    EB        Draft and revise KERP motion.                           1.20        395.00       $474.00

 04/05/2023    HCK    EB        Review KERP proposal from M. Kuan and memos             0.40      1550.00        $620.00
                                to / from M. Healy, et al. re same.

 04/05/2023    HCK    EB        Various follow-up with M. Healy et al. re KERP          0.30      1550.00        $465.00
                                terms.

 04/05/2023    HCK    EB        Conference call with J. Davis, M. Kuan, C. Cheng et     0.50      1550.00        $775.00
                                al. re KERP structure.

 04/05/2023    HCK    EB        Continue to draft / revise KERP approval motion         1.30      1550.00       $2,015.00
                                based on draft plan.

 04/05/2023    HCK    EB        Conference call with S. Golden, J. Pomerantz, M.        0.50      1550.00        $775.00
                                Healy, et al. re KERP structure.

 04/05/2023    HCK    EB        Review revised KERP program from M. Healy.              0.20      1550.00        $310.00

 04/05/2023    JNP    EB        Conference with FTI and Henry C. Kevane                 0.50      1595.00        $797.50
                                regarding KERP Plan.

 04/05/2023    JNP    EB        Emails regarding KERP.                                  0.10      1595.00        $159.50

 04/05/2023    JWD    EB        Attend call re KERP update                              0.40      1295.00        $518.00

 04/05/2023    SWG    EB        Call re: KERP with PSZJ and FTI.                        0.60        895.00       $537.00

 04/06/2023    HCK    EB        Memos to / from M. Healy et al. re further changes /    0.50      1550.00        $775.00
                                edits to KERP program.

 04/06/2023    HCK    EB        Further draft / revise motion for approval of KERP      1.40      1550.00       $2,170.00
                                program and circulate to FTI team for review.
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 04/06/2023    HCK    EB        Draft Healy declaration in support of KERP motion.        0.20      1550.00        $310.00

 04/06/2023    HCK    EB        Memos to from J. Pomerantz et al. re KERP hearing.        0.10      1550.00        $155.00

 04/06/2023    JNP    EB        Emails regarding KERP motion.                             0.10      1595.00        $159.50

 04/06/2023    JWD    EB        Review issues re KERP motion and timing                   0.20      1295.00        $259.00

 04/06/2023    KLL    EB        Prepare draft of M. Healy declaration in support of       0.60        545.00       $327.00
                                KERP motion.

 04/07/2023    HCK    EB        Further draft / revise Healy declaration in support of    1.00      1550.00       $1,550.00
                                KERP motion.

 04/07/2023    HCK    EB        Further proof / finalize KERP motion.                     0.20      1550.00        $310.00

 04/07/2023    HCK    EB        Memos to / from J. Dulberg et al. re KERP motion          0.20      1550.00        $310.00
                                filing and open issues.

 04/07/2023    HCK    EB        Further revise / edit KERP motion and Healy               0.40      1550.00        $620.00
                                declaration based on comments from J. Pomerantz.

 04/07/2023    HCK    EB        Review M. Healy comments to KERP motion and               0.50      1550.00        $775.00
                                further revise / edit same and Healy declaration.

 04/07/2023    HCK    EB        Memos to / from M. Healy re further changes /             0.30      1550.00        $465.00
                                revisions to KERP pleadings.

 04/07/2023    JNP    EB        Emails with M. Healy regarding KERP.                      0.10      1595.00        $159.50

 04/07/2023    JNP    EB        Review KERP motion and emails regarding same.             0.10      1595.00        $159.50

 04/10/2023    HCK    EB        Memos to / from M. Healy re KERP benchmark                0.40      1550.00        $620.00
                                analysis and comments to motion.

 04/10/2023    HCK    EB        Revise / edit KERP motion and Healy declaration           1.20      1550.00       $1,860.00
                                based on FTI benchmark analysis.

 04/10/2023    HCK    EB        Memos to / from M. Healy re KERP redlines and             0.30      1550.00        $465.00
                                final sign-off.

 04/10/2023    HCK    EB        Numerous memos to / from J. Dulberg, J. Pomerantz         0.80      1550.00       $1,240.00
                                and B. Wellen re KERP motion for filing.

 04/10/2023    HCK    EB        Review J. Dulberg memos to Committee / DIP                0.10      1550.00        $155.00
                                lenders re draft KERP motion.

 04/10/2023    JNP    EB        Review emails regarding KERP.                             0.10      1595.00        $159.50

 04/10/2023    JNP    EB        Conference with Jeffrey W. Dulberg regarding              0.10      1595.00        $159.50
                                KERP.

 04/10/2023    PJJ    EB        Review/revise KEPP motion and circulate.                  0.20        545.00       $109.00
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                                                                                      Hours           Rate     Amount

 04/10/2023    JWD    EB        Work on various aspects of finalizing KERP filing      0.70      1295.00       $906.50
                                including various emails with team, emails with
                                Committee counsel and email with Lender counsel
                                re same

 04/10/2023    BLW    EB        Numerous correspondences re: KERP Motion(.2),          0.90        895.00      $805.50
                                revise and comment on same (.7).

 04/11/2023    HCK    EB        Memos to / from B. Wallen et al. re KERP motion        0.50      1550.00       $775.00
                                filing and redacted KERP program chart.

 04/11/2023    HCK    EB        Memos to / from M. Kuan and M. Healy re redacted       0.20      1550.00       $310.00
                                KERP program.

 04/11/2023    HCK    EB        Review filed copy of KERP motion.                      0.10      1550.00       $155.00

 04/11/2023    HCK    EB        Follow-up with M. Healy et al. re DIP lender review    0.30      1550.00       $465.00
                                of KERP program and benchmark analysis.

 04/11/2023    HCK    EB        Memos to / from B. Wallen and J. Ruff (OUST) re        0.50      1550.00       $775.00
                                KERP program diligence and follow-up re same
                                with J. Dulberg and FTI.

 04/11/2023    HCK    EB        Memos to / from B. Wallen re OUST information          0.40      1550.00       $620.00
                                requests for KERP motion and follow-up re program
                                details.

 04/11/2023    JNP    EB        Review KERP comps.                                     0.10      1595.00       $159.50

 04/11/2023    JWD    EB        Emails re KERP filing prep                             0.10      1295.00       $129.50

 04/11/2023    JWD    EB        Emails with FTI re KERP support and UST inquiry        0.20      1295.00       $259.00
                                (.1); review and revise B Wallen draft response to
                                UST (.1)

 04/11/2023    JWD    EB        Review UST questions and draft responses for team      0.20      1295.00       $259.00

 04/11/2023    BLW    EB        Correspond re: KERP Motion.                            0.30        895.00      $268.50

 04/11/2023    BLW    EB        Correspond with U.S. Trustee re: KERP.                 0.10        895.00       $89.50

 04/11/2023    BLW    EB        Obtain responsive informamation to UST KERP            0.60        895.00      $537.00
                                information requests and correspond re: same.

 04/11/2023    DLM    EB        Review and file Debtors' Emergency Motion re           0.40        395.00      $158.00
                                KERP.

 04/12/2023    HCK    EB        Follow-up with J. Ruff (OUST) and B. Wallen re         0.40      1550.00       $620.00
                                KERP information requests and review memos.

 04/12/2023    JWD    EB        Work on KERP hearing notice                            0.10      1295.00       $129.50

 04/12/2023    JWD    EB        Review P Singerman comments to ID App and              0.40      1295.00       $518.00
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                                                                                        Hours           Rate      Amount
                                emails re same with J Pomerantz and P Jeffries (.2);
                                call with P Jeffries re same and review mark up (.1);
                                email to independent directors re same (.1)

 04/13/2023    HCK    EB        Memos to / from M. Kuan and B. Wallen re KERP            0.20      1550.00        $310.00
                                detail and follow-up with Mr. Ruff.

 04/13/2023    HCK    EB        Review M. Healy spreadsheet re 2021-22 incentive         0.10      1550.00        $155.00
                                payments for OUST.

 04/13/2023    JWD    EB        Review materials from FTI re past retention              0.10      1295.00        $129.50
                                payments and email to B Wallen re same

 04/13/2023    BLW    EB        Correspond re: UST KERP Information request.             0.30        895.00       $268.50

 04/14/2023    HCK    EB        Further review KERP data for OUST from M. Healy          0.20      1550.00        $310.00
                                and follow-up with J. Dulberg.

 04/14/2023    JWD    EB        Emails re handling KERP hearing                          0.10      1295.00        $129.50

 04/17/2023    HCK    EB        Memos to / from J. Dulberg re KERP hearing.              0.10      1550.00        $155.00

 04/17/2023    BLW    EB        Correspond re: KERP Motion.                              0.10        895.00        $89.50

 04/18/2023    HCK    EB        Follow-up with Committee re KERP questions.              0.10      1550.00        $155.00

 04/18/2023    HCK    EB        Memos to / from B. Wallen et al. re KERP hearing         0.10      1550.00        $155.00
                                continuance.

 04/19/2023    HCK    EB        Follow-up with B. Wallen and J. Dulberg re OUST          0.20      1550.00        $310.00
                                requests re KERP motion.

 04/19/2023    JWD    EB        Numerous emails with team and client re issues for       0.40      1295.00        $518.00
                                KERP and UST requests

 04/19/2023    BLW    EB        Correspond and review analysis re: UST KERP              1.10        895.00       $984.50
                                information requests.

 04/19/2023    BLW    EB        Call with the UST re: KERP and retention                 0.10        895.00        $89.50
                                applications.

 04/20/2023    HCK    EB        Review B. Wallen memos to J. Ruff re additional          0.10      1550.00        $155.00
                                KERP background.

 04/20/2023    JNP    EB        Emails with Steven W. Golden regarding ordinary          0.10      1595.00        $159.50
                                course employee compensation increases.

 04/20/2023    BLW    EB        Correspond re: KERP issues.                              0.20        895.00       $179.00

 04/24/2023    HCK    EB        Follow-up re OUST KERP sign-off.                         0.10      1550.00        $155.00

 04/24/2023    BLW    EB        Prepare for KERP motion hearing.                         1.30        895.00      $1,163.50

 04/25/2023    HCK    EB        Memos to / from B. Wallen et al. re entry of KERP        0.10      1550.00        $155.00
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                                                                                      Hours            Rate       Amount
                                order and FTI implementation.
 04/25/2023    BLW    EB        Correspond with FTI re: KERP.                          0.10         895.00         $89.50

 04/27/2023    JNP    EB        Conference with M. Healy regarding employment          0.10       1595.00         $159.50
                                issues.

 04/27/2023    JWD    EB        Emails re potential labor counsel and need for same    0.30       1295.00         $388.50

                                                                                       33.80                    $44,501.00

  Executory Contracts [B185]
 04/01/2023    VAN    EC        Draft omnibus emergency motion to reject executory     2.80       1175.00        $3,290.00
                                contracts and unexpired leases.

 04/01/2023    SWG    EC        Review and organize executory contracts and            5.20         895.00       $4,654.00
                                unexpired leases

 04/02/2023    SWG    EC        Review and organize executory contracts and            2.80         895.00       $2,506.00
                                unexpired leases

 04/03/2023    JNP    EC        Conference with Steven W. Golden regarding             0.20       1595.00         $319.00
                                equipment lease issues.

 04/03/2023    SWG    EC        Continue assembling and reviewing executory            2.20         895.00       $1,969.00
                                contracts and unexpired leases

 04/04/2023    JNP    EC        Conference with FTI, RJ and PSZJ regarding AR          0.50       1595.00         $797.50
                                Global restructuring.

 04/04/2023    JWD    EC        Call with professionals regarding AR global issues     0.40       1295.00         $518.00

 04/04/2023    SWG    EC        Call with client re: equipment lease issues            0.30         895.00        $268.50

 04/04/2023    SWG    EC        Participate in real estate/environmental call.         1.00         895.00        $895.00

 04/05/2023    JNP    EC        Conference with K. Burrell and Jeffrey W. Dulberg      0.20       1595.00         $319.00
                                regarding AR Global portfolio.

 04/05/2023    JNP    EC        Conference with M. Healy regarding call with AR        0.10       1595.00         $159.50
                                Global counsel.

 04/05/2023    JWD    EC        Emails re AR Global response                           0.10       1295.00         $129.50

 04/05/2023    JWD    EC        Call with AR Global counsel                            0.20       1295.00         $259.00

 04/05/2023    JWD    EC        Analyze rejection issue and email with J Pomerantz     0.10       1295.00         $129.50
                                re same

 04/06/2023    HCK    EC        Memos to / from R. Saunders re sandwich lease          0.20       1550.00         $310.00
                                research.

 04/06/2023    JNP    EC        Conference with Robert M. Saunders regarding           0.10       1595.00         $159.50
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                                                                                      Hours           Rate     Amount
                                research regarding rejection of master lease.
 04/06/2023    JWD    EC        Review site level analysis re AR Global                0.30      1295.00        $388.50

 04/06/2023    RMS    EC        Telephone conference with Jeffrey N Pomerantz          0.20      1095.00        $219.00
                                regarding lease-related legal research

 04/06/2023    SWG    EC        Call with PSZJ, FTI, and client re: real estate        0.20        895.00       $179.00
                                environmental matters.

 04/06/2023    SWG    EC        Continue reviewing and organizing oil company          3.70        895.00      $3,311.50
                                agreements

 04/06/2023    GVD    EC        Conference with FTI and client group re information    0.60      1250.00        $750.00
                                requests for cure issues

 04/07/2023    HCK    EC        Memos to / from S. Golden, et al. re oil company       0.30      1550.00        $465.00
                                agreements.

 04/07/2023    HCK    EC        Further research re effect of rejection of master      0.70      1550.00       $1,085.00
                                lease / sublease and follow-up with R. Saunders.

 04/07/2023    JNP    EC        Emails with Gregory V. Demo regarding status of        0.10      1595.00        $159.50
                                cure review.

 04/07/2023    JNP    EC        Conference with FTI and J. Wainwright regarding        0.40      1595.00        $638.00
                                AR Global issues and strategy.

 04/07/2023    JNP    EC        Conference with Jeffrey W. Dulberg after call with     0.10      1595.00        $159.50
                                FTI regarding AR Global.

 04/07/2023    JWD    EC        Call with FTI team re AR Global                        0.50      1295.00        $647.50

 04/07/2023    RMS    EC        Email exchange with Henry Kevane regarding             0.20      1095.00        $219.00
                                lease-related research

 04/07/2023    SWG    EC        Continue reviewing and cataloging oil company          3.40        895.00      $3,043.00
                                agreements

 04/07/2023    GVD    EC        Correspondence with J. Pomerantz re status of cure     0.20      1250.00        $250.00
                                review and next steps

 04/08/2023    JNP    EC        Emails with counsel for AR Global regarding call.      0.10      1595.00        $159.50

 04/09/2023    JNP    EC        Emails with Jeffrey W. Dulberg regarding Spirit        0.10      1595.00        $159.50
                                leases.

 04/10/2023    JNP    EC        Conference with Jeffrey W. Dulberg regarding AR        0.10      1595.00        $159.50
                                Global rent issues.

 04/10/2023    JNP    EC        Conference with A. Spirito regarding AR Global         0.10      1595.00        $159.50
                                proposal analysis.

 04/10/2023    JNP    EC        Conference with Arent Fox regarding AR Global          0.30      1595.00        $478.50
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                                                                                       Hours           Rate     Amount
                                negotiations.
 04/10/2023    JWD    EC        Review AR Global update slides                          0.20      1295.00        $259.00

 04/10/2023    JWD    EC        Review issues re TIS update                             0.10      1295.00        $129.50

 04/10/2023    RMS    EC        Work on lease-related legal research project            1.50      1095.00       $1,642.50

 04/11/2023    JNP    EC        Conference with Robert M. Saunders regarding            0.10      1595.00        $159.50
                                sandwich lease research.

 04/11/2023    MSP    EC        Email exchange with S. Golden regarding lease           0.10      1295.00        $129.50
                                payments.

 04/11/2023    RMS    EC        Email exchange with Leslie Forrester regarding          0.10      1095.00        $109.50
                                lease research

 04/11/2023    SWG    EC        Call with FTI regarding contract assembly               0.50        895.00       $447.50

 04/11/2023    SWG    EC        Call with L. Waldrop regarding 4Court Leasing           0.20        895.00       $179.00

 04/11/2023    SWG    EC        Continue assembling oil company agreements              0.70        895.00       $626.50

 04/11/2023    GVD    EC        Conference with FTI and MEX re status of cure           0.90      1250.00       $1,125.00
                                information requests and next steps

 04/11/2023    GVD    EC        Conference with M. Waldon re status of cure             0.30      1250.00        $375.00
                                research and next steps

 04/12/2023    HCK    EC        Brief research re Pilot option exercise.                0.60      1550.00        $930.00

 04/12/2023    HCK    EC        Further review / analyze Oak Street lease               1.20      1550.00       $1,860.00
                                documents.

 04/12/2023    HCK    EC        Memos to / from S. Golden and M. Litvak re Pilot        0.20      1550.00        $310.00
                                research.

 04/12/2023    JNP    EC        Emails regarding provision of information to Spirit.    0.10      1595.00        $159.50

 04/12/2023    JNP    EC        Review case law regarding lease rejection;              0.30      1595.00        $478.50
                                Conference with Robert M. Saunders regarding
                                same.

 04/12/2023    MSP    EC        Meeting with J. Davis, S. Golden, et al. regarding      0.50      1295.00        $647.50
                                4Court leases.

 04/12/2023    JWD    EC        Call with S Golden re Spirit and other issues           0.20      1295.00        $259.00

 04/12/2023    JWD    EC        Work on set up with team re lease rejection motion      0.10      1295.00        $129.50

 04/12/2023    JWD    EC        Work on NDA for lessor and email re same                0.30      1295.00        $388.50

 04/12/2023    JWD    EC        Review and revise NDA for Spirit                        0.20      1295.00        $259.00

 04/12/2023    JWD    EC        Emails with counsel for Spirit re need for NDA          0.20      1295.00        $259.00
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                                                                                        Hours           Rate      Amount

 04/12/2023    JWD    EC        Review cases re 365h                                     0.30      1295.00        $388.50

 04/12/2023    JWD    EC        Review email from equipment finance party and            0.20      1295.00        $259.00
                                respond re same

 04/12/2023    RMS    EC        Work on lease-related research project                   2.20      1095.00       $2,409.00

 04/12/2023    LAF    EC        Legal research re: Subtenants and section 365(h).        0.80        595.00       $476.00

 04/12/2023    SWG    EC        Call with equipment lease counterparty                   0.50        895.00       $447.50

 04/12/2023    GVD    EC        Stand up conference with client re status of             0.20      1250.00        $250.00
                                cure/default analysis

 04/12/2023    GVD    EC        Correspondence with Raymond James and S.                 0.10      1250.00        $125.00
                                Golden re contract rejection issues

 04/13/2023    HCK    EC        Telephone call with J. Pomerantz re AR Global            0.40      1550.00        $620.00
                                situation and research.

 04/13/2023    HCK    EC        Numerous memos to / from D. Martin, S. Golden, et        0.50      1550.00        $775.00
                                al. re AR Global research and document requests.

 04/13/2023    HCK    EC        Telephone call with S. Golden re AR Global leases        0.40      1550.00        $620.00
                                and rejection analysis.

 04/13/2023    HCK    EC        Telephone call with A. Spirito re AR Global analysis     0.10      1550.00        $155.00
                                and documents.

 04/13/2023    HCK    EC        Telephone call with S. Golden re Pilot travel centers    0.10      1550.00        $155.00
                                analysis.

 04/13/2023    HCK    EC        Review / analyze Pilot product sales and diesel          1.40      1550.00       $2,170.00
                                equipment lease agreements.

 04/13/2023    HCK    EC        Further consider AR Global rejection issues and          0.60      1550.00        $930.00
                                memos to / from V. Newmark re same.

 04/13/2023    HCK    EC        Follow-up with A. Spirito et al. re AR Global lease      0.30      1550.00        $465.00
                                and rejection analysis.

 04/13/2023    JNP    EC        Conference with Jeffrey W. Dulberg regarding right       0.10      1595.00        $159.50
                                of first refusal.

 04/13/2023    JNP    EC        Emails regarding AR Global lease situation.              0.10      1595.00        $159.50

 04/13/2023    JNP    EC        Review emails regarding equipment purchase               0.10      1595.00        $159.50
                                obligations.

 04/13/2023    JNP    EC        Consider issues regarding Spirit request for             0.10      1595.00        $159.50
                                information.

 04/13/2023    JNP    EC        Consider issues regarding provision of information       0.10      1595.00        $159.50
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                                                                                       Hours           Rate     Amount
                                to landlords.
 04/13/2023    JNP    EC        Conference with K. Aurezeda regarding provision of      0.10      1595.00        $159.50
                                information.

 04/13/2023    JNP    EC        Conference with Jeffrey W. Dulberg regarding call       0.10      1595.00        $159.50
                                with K. Aurezeda regarding provision of
                                information.

 04/13/2023    JWD    EC        Review and comment to lease rejection draft motion      0.20      1295.00        $259.00

 04/13/2023    RMS    EC        Research and review of research results regarding       1.10      1095.00       $1,204.50
                                leases

 04/13/2023    VAN    EC        Draft/revise motion to rejection AR Global portfolio    1.80      1175.00       $2,115.00
                                leases and subleases.

 04/13/2023    SWG    EC        Call with H. Kevane regarding admin issues              0.50        895.00       $447.50

 04/13/2023    SWG    EC        Call with H. Kevane regarding AR Global lease           0.50        895.00       $447.50
                                issues

 04/13/2023    SWG    EC        Continue assembly/review at OCAs                        2.00        895.00      $1,790.00

 04/13/2023    GVD    EC        Correspondence with FTI re cure issues and notices      0.40      1250.00        $500.00
                                (0.2); conference with B. Wallen re same (0.2)

 04/14/2023    HCK    EC        Memos to / from T. Newmark and A. Cooke (FTI) re        0.50      1550.00        $775.00
                                AR Global rejection motion and lease schedules.

 04/14/2023    HCK    EC        Further research / analyze AR Global locations and      1.30      1550.00       $2,015.00
                                applicable oil company arrangments.

 04/14/2023    HCK    EC        Memos to / from J. Pomerantz and S. Golden re AR        0.60      1550.00        $930.00
                                Global fuel analysis.

 04/14/2023    HCK    EC        Telephone call with D. Martin re AR Global and          0.30      1550.00        $465.00
                                XOM branded sites.

 04/14/2023    HCK    EC        Conference call with D. Martin and T. Wadud re AR       0.40      1550.00        $620.00
                                Global rejection analysis.

 04/14/2023    HCK    EC        Review Chevron / Motiva fuel agreements re AR           0.70      1550.00       $1,085.00
                                Global locations.

 04/14/2023    HCK    EC        Analyze legal issues for AR Global rejection.           0.20      1550.00        $310.00

 04/14/2023    HCK    EC        Memos to / from J. Pomerantz, V. Newmark et al. re      0.30      1550.00        $465.00
                                AR Global rejection motion.

 04/14/2023    HCK    EC        Memo to / from J. Pomerantz et al. re AR Global         0.10      1550.00        $155.00
                                strategy call.

 04/14/2023    JNP    EC        Email to FTI regarding call to discuss AR Global.       0.10      1595.00        $159.50
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 04/14/2023    JNP    EC        Conference with Jeffrey W. Dulberg regarding            0.10      1595.00        $159.50
                                motion to reject AR leases.

 04/14/2023    JNP    EC        Email to team regarding call to discuss AR Global;      0.20      1595.00        $319.00
                                Review emails regarding same.

 04/14/2023    PJJ    EC        Research regarding AR Global lease information          0.60        545.00       $327.00
                                (.2); multiple emails regarding same (.4).

 04/14/2023    JWD    EC        Emails re DIP reporting                                 0.10      1295.00        $129.50

 04/14/2023    JWD    EC        Review filing re motion to compel and emails with       0.20      1295.00        $259.00
                                team re same

 04/14/2023    JWD    EC        Review email from Committee re Samnosh motion           0.10      1295.00        $129.50
                                and email with team re same

 04/14/2023    JWD    EC        Review emails re lease rejection motion update          0.10      1295.00        $129.50

 04/14/2023    JWD    EC        Review lease rejection research                         0.40      1295.00        $518.00

 04/14/2023    JWD    EC        Emails with V Newmark and review status of              0.10      1295.00        $129.50
                                rejection motion

 04/14/2023    JWD    EC        Emails re rejection motion                              0.10      1295.00        $129.50

 04/14/2023    JWD    EC        Review and revise rejection motion                      0.30      1295.00        $388.50

 04/14/2023    VAN    EC        Draft/revise motion to rejection AR Global portfolio    1.40      1175.00       $1,645.00
                                leases and subleases.

 04/14/2023    VAN    EC        Analysis regarding current dealer conversions;          0.30      1175.00        $352.50
                                revise summary chart regarding same.

 04/14/2023    GVD    EC        Correspondence with FTI re cure analysis                0.20      1250.00        $250.00

 04/14/2023    GVD    EC        Review Samnosh motion to compel rejection (0.1);        0.50      1250.00        $625.00
                                conference with N. Lansing and J. Dulberg re same
                                (0.2); conference with J. Pomerantz re same (0.2)

 04/14/2023    BLW    EC        Correspondence re: motion to compel rejection.          0.40        895.00       $358.00

 04/15/2023    HCK    EC        Prepare for conference call re AR Global branding /     0.40      1550.00        $620.00
                                volume commitments.

 04/15/2023    HCK    EC        Conference call with J. Pomerantz, J. Dulberg, J.       0.80      1550.00       $1,240.00
                                Davis, A. Spirito and M. Healy re AR Global lease
                                rejection and strategy.

 04/15/2023    HCK    EC        Review A. Spirito memo with Board deck re AR            0.30      1550.00        $465.00
                                Global.

 04/15/2023    HCK    EC        Memos to / from A. Spirito re unamortized brand         0.20      1550.00        $310.00
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                                                                                       Hours           Rate      Amount
                                obligations for Board deck.
 04/15/2023    HCK    EC        Numerous memos to / from V. Newmark and A.              0.30      1550.00        $465.00
                                Spirito / A. Cooke re AR Global rejection motion
                                and schedules for rejection exhibit.

 04/15/2023    JNP    EC        FTI and PSZJ call regarding AR Global and strategy      0.80      1595.00       $1,276.00
                                relating thereto.

 04/15/2023    JWD    EC        Attend call with FTI re AR Global                       0.90      1295.00       $1,165.50

 04/15/2023    JWD    EC        Review and reivse rejection motion                      0.50      1295.00        $647.50

 04/15/2023    JWD    EC        Call with A Spirito re motion                           0.10      1295.00        $129.50

 04/15/2023    JWD    EC        Work on various aspects of rejection motion             1.50      1295.00       $1,942.50

 04/15/2023    VAN    EC        Analysis regarding AR Global rejection motion,          0.50      1175.00        $587.50
                                including email correspondence with Jeffrey
                                Dulberg and FTI regarding same.

 04/16/2023    HCK    EC        Memos to / from A. Spirito and J. Pomerantz re AR       0.30      1550.00        $465.00
                                Global open items.

 04/16/2023    HCK    EC        Conference call with M. Healy, A. Spirito, J.           0.50      1550.00        $775.00
                                Pomerantz, J. Dulberg et al. re AR Global strategy
                                and various follow-up items.

 04/16/2023    HCK    EC        Various follow-up with J. Dulberg, A. Spirito et al.    0.40      1550.00        $620.00
                                re AR Global draft rejection motion corrections and
                                updates.

 04/16/2023    HCK    EC        Further review A. Spirito / A. Cooke memos with         0.20      1550.00        $310.00
                                AR Global attachements.

 04/16/2023    JNP    EC        Conference with FTI and PSZJ regarding AR Global        0.50      1595.00        $797.50
                                strategy.

 04/16/2023    JNP    EC        Review and comment on AR Global rejection               0.50      1595.00        $797.50
                                motion; Conference with Jeffrey W. Dulberg
                                regarding same.

 04/16/2023    JNP    EC        Draft email to AR Global regarding rejection and        0.20      1595.00        $319.00
                                emails regarding same.

 04/16/2023    JWD    EC        Work on issues re rejection motion                      0.60      1295.00        $777.00

 04/16/2023    JWD    EC        Attend call with FTI team re AR Global (.5); work       0.90      1295.00       $1,165.50
                                on motion (.4)

 04/16/2023    JWD    EC        Review and revise rejection motion                      1.20      1295.00       $1,554.00

 04/16/2023    JWD    EC        Review excel and materials from FTI re AR Global        0.80      1295.00       $1,036.00
                                and work on new version of motion
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                                                                                        Hours           Rate      Amount

 04/17/2023    HCK    EC        Review A. Spirito draft of AR Global board               0.50      1550.00        $775.00
                                materials and circulate revised inserts re branding /
                                volume commitments.

 04/17/2023    HCK    EC        Memos to / from J. Pomerantz and M. Healy re             0.20      1550.00        $310.00
                                proposed email to AR Global.

 04/17/2023    HCK    EC        Follow-up with A. Spirito re AR Global board deck        0.40      1550.00        $620.00
                                and further revise / edit same (review FSAs).

 04/17/2023    HCK    EC        Review / edit J. Dulberg final draft of AR Global        0.20      1550.00        $310.00
                                rejection motion.

 04/17/2023    HCK    EC        Draft and update motion to reject AR Global              1.10      1550.00       $1,705.00
                                premises and review / incorporate A. Spirito
                                comments and circulate redline.

 04/17/2023    HCK    EC        Quick call with A. Spirito, J. Dulberg, J. Pomerantz     0.40      1550.00        $620.00
                                and B. Wallen re AR Global rejection schedule.

 04/17/2023    HCK    EC        Further revise / edit AR Global motion and circulate     0.50      1550.00        $775.00
                                updated markup.

 04/17/2023    HCK    EC        Further follow-up with B. Wallen et al. re AR Global     0.20      1550.00        $310.00
                                rejection schedule.

 04/17/2023    HCK    EC        Memos to / from B. Wallen and J. Dulberg re ARG          0.10      1550.00        $155.00
                                lease / sublease exhibit.

 04/17/2023    HCK    EC        Review J. Pomerantz memo to AR Global counsel re         0.10      1550.00        $155.00
                                rejection motion.

 04/17/2023    HCK    EC        Follow-up with B. Wallen and J. Dulberg re AR            0.20      1550.00        $310.00
                                Global lease rejection exhibit.

 04/17/2023    JNP    EC        Emails regarding AR Global motion and review             0.10      1595.00        $159.50
                                same.

 04/17/2023    JNP    EC        Conference with A. Spirito, Henry C. Kevane, Ben         0.50      1595.00        $797.50
                                L. Wallen and Jeffrey W. Dulberg regarding AR
                                Global.

 04/17/2023    JNP    EC        Finalize motion to reject and email to Arent Fox         0.20      1595.00        $319.00
                                regarding same.

 04/17/2023    JNP    EC        Email to B. Brownstein regarding rejection motion        0.10      1595.00        $159.50
                                and information requested.

 04/17/2023    JWD    EC        Work on rejection motion, order and exhibit issues       1.20      1295.00       $1,554.00

 04/17/2023    JWD    EC        Review client and G Demo emails re status of             0.10      1295.00        $129.50
                                Imperial negotiation
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                                                                                      Hours           Rate     Amount

 04/17/2023    JWD    EC        Work on exhibit to rejection motion                    0.70      1295.00        $906.50

 04/17/2023    JWD    EC        Attend call re AR Global rejection motion with PSZJ    0.90      1295.00       $1,165.50
                                and A Spirito (.4); review and revise motion draft
                                and work on various emails re same (.5)

 04/17/2023    JWD    EC        Call with M Healy regarding rejection motion           0.10      1295.00        $129.50

 04/17/2023    JWD    EC        Call with Ben Wallen and work on rejection motion      0.40      1295.00        $518.00

 04/17/2023    VAN    EC        Analysis regarding AR Global rejection motion;         3.30      1175.00       $3,877.50
                                draft/revise same and related exhibit.

 04/17/2023    SWG    EC        Call with M. Walden and J. Davis re: lease and         0.30        895.00       $268.50
                                sublease tracking

 04/17/2023    SWG    EC        Call with G. Demo and P. Keane re: Samnosh             0.80        895.00       $716.00
                                rejection motion

 04/17/2023    BLW    EC        Correspond re: motion to compel                        0.10        895.00        $89.50
                                assumption/rejection.

 04/17/2023    BLW    EC        Revise AR Global Motion to Reject.                     0.40        895.00       $358.00

 04/17/2023    BLW    EC        Research and draft exhibit to AR Global Rejection      7.30        895.00      $6,533.50
                                Motion (6.4); calls (3x) with FTI re: same (.9).

 04/18/2023    HCK    EC        Numerous memos to / from FTI, J. Dulberg and B.        0.30      1550.00        $465.00
                                Wallen re AR Global rejection schedule.

 04/18/2023    HCK    EC        Memos to / from B. Brownstein re AR Global and         0.50      1550.00        $775.00
                                review draft DIP objection and conform rejection
                                motion.

 04/18/2023    HCK    EC        Memos to / from J. Dulberg and B. Wallen re ARG        0.20      1550.00        $310.00
                                DIP objection.

 04/18/2023    HCK    EC        Review / edit exhibit to AR Global lease rejection     0.60      1550.00        $930.00
                                motion and circulate comments to B. Wallen and J.
                                Dulberg.

 04/18/2023    HCK    EC        Telephone call with B. Wallen re AR Global lease       0.40      1550.00        $620.00
                                rejection exhibit.

 04/18/2023    HCK    EC        Memos to / from B. Wallen re AR Global equipment       0.30      1550.00        $465.00
                                lease and related agreements issues.

 04/18/2023    HCK    EC        Telephone call with B. Wallen re AR Global motion      0.10      1550.00        $155.00
                                for filing.

 04/18/2023    HCK    EC        Memos to / from B. Wallen and J. Dulberg re final      0.20      1550.00        $310.00
                                changes to AR Global rejection motion.
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                                                                                        Hours           Rate     Amount

 04/18/2023    HCK    EC        Review further memos re AR Global rejection              0.10      1550.00        $155.00
                                motion to file.

 04/18/2023    MSP    EC        Email exchange with M. Healy, S. Golden, et al.          0.10      1295.00        $129.50
                                regarding 4Court lease.

 04/18/2023    PJJ    EC        Review/revise AR Global rejection motion (.4) and        0.70        545.00       $381.50
                                related emails regarding changes to exhibit (.3).

 04/18/2023    PJJ    EC        Telephone conference with Ben L. Wallen regarding        0.10        545.00        $54.50
                                AR Global motion.

 04/18/2023    PJJ    EC        Prepare and file AP Global rejection motion.             0.30        545.00       $163.50

 04/18/2023    JWD    EC        Work on managing completion of rejection motion          0.60      1295.00        $777.00

 04/18/2023    SWG    EC        Continue assembling list of oil company agreements       0.70        895.00       $626.50

 04/18/2023    SWG    EC        Receive and respond to email from lease                  0.10        895.00        $89.50
                                counterparty

 04/18/2023    SWG    EC        Receive and respond to client re: proposed               0.40        895.00       $358.00
                                postpetition amendments to contracts.

 04/18/2023    SWG    EC        Review and comment on comprehensive lease chart          3.50        895.00      $3,132.50

 04/18/2023    SWG    EC        Continue review of contracts and updating Schedule       3.00        895.00      $2,685.00
                                G and related charts

 04/18/2023    GVD    EC        Conference with FTI re real estate cure issues and       0.90      1250.00       $1,125.00
                                review materials re same

 04/18/2023    BLW    EC        Revise AR Global Motion and Exhibit thereto.             3.60        895.00      $3,222.00

 04/18/2023    BLW    EC        Calls and correspondence with FTI re: AR Global          0.90        895.00       $805.50
                                rejection motion and exhibits.

 04/18/2023    BLW    EC        Calls (2x) with Mr. Kevane re: AR Global Rejection       0.50        895.00       $447.50
                                Motion issues.

 04/18/2023    BLW    EC        Numerous correspondences re: Motion to compel            0.20        895.00       $179.00
                                assumption/rejection.

 04/19/2023    HCK    EC        Review filed version of AR Global rejection motion       0.50      1550.00        $775.00
                                and organize files / review other agreements and
                                equipment leases.

 04/19/2023    JWD    EC        Emails re party with interest in AR Global lease         0.20      1295.00        $259.00

 04/19/2023    SWG    EC        Call with FTI team re: lease and fuel supply tracking    0.70        895.00       $626.50
                                chart

 04/19/2023    SWG    EC        Continue review and organization of executory            1.00        895.00       $895.00
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                                                                                        Hours           Rate     Amount
                                contracts and unexpired leases
 04/19/2023    SWG    EC        Review and respond to email re: settlement with          0.20        895.00       $179.00
                                contract counterparty

 04/19/2023    SWG    EC        Continue review of contracts and updating Schedule       2.10        895.00      $1,879.50
                                G and related charts

 04/19/2023    GVD    EC        Conference with Noah (FTI) re cure issues and            0.70      1250.00        $875.00
                                revisions to chart (0.2); review FTI cure chart (0.5)

 04/19/2023    BLW    EC        Correspond re: motion to compel.                         0.10        895.00        $89.50

 04/19/2023    BLW    EC        Call with subtenant re: rejection motion (.2) and        0.30        895.00       $268.50
                                follow up correspondence re: same (.1).

 04/20/2023    HCK    EC        Memos to / from AR Global counsel re NDA for             0.20      1550.00        $310.00
                                information requests and rent payment.

 04/20/2023    JNP    EC        Review lease information schedule; Conference            0.40      1595.00        $638.00
                                with Steven W. Golden and Jeffrey W. Dulberg
                                regarding same.

 04/20/2023    JNP    EC        Emails regarding payment of AR Global rent for           0.10      1595.00        $159.50
                                unrejected locations.

 04/20/2023    JNP    EC        Emails regarding AR Global rent.                         0.10      1595.00        $159.50

 04/20/2023    JNP    EC        Email to Arent Fox regarding AR Global rent              0.10      1595.00        $159.50
                                payment.

 04/20/2023    JWD    EC        Review rejection damages spreadsheet                     0.10      1295.00        $129.50

 04/20/2023    JWD    EC        Emails with G Demo re Oak Street cure issue              0.10      1295.00        $129.50

 04/20/2023    JWD    EC        Review emails from B Brownstein and J Pomerantz          0.20      1295.00        $259.00
                                re AR Global demands and call with J Pomerantz re
                                same

 04/20/2023    SWG    EC        Call with client, FTI, and RJ teams re: oil company      1.00        895.00       $895.00
                                agreements

 04/20/2023    SWG    EC        Call with J. Pomerantz re: lease/fuel supply matrix      0.20        895.00       $179.00

 04/20/2023    SWG    EC        Continue review of contracts and updating Schedule       4.70        895.00      $4,206.50
                                G and related charts

 04/20/2023    SWG    EC        Call with M. Walden re: fuel company agreement           0.20        895.00       $179.00
                                workstream

 04/21/2023    HCK    EC        Follow-up with J. Pomerantz re AR Global rejection       0.20      1550.00        $310.00
                                and review papers.

 04/21/2023    JNP    EC        Conference with Turjo Wadud, N. Lansing, Jeffrey         0.40      1595.00        $638.00
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                                W. Dulberg and Steven W. Golden regarding
                                Consolidated Express and DIP.
 04/21/2023    JWD    EC        Review A Silfen email re rent etc and call with J          0.20      1295.00        $259.00
                                Pomerantz re same

 04/21/2023    RMS    EC        Research regarding leases                                  0.30      1095.00        $328.50

 04/21/2023    SWG    EC        Email with L. Waldrop re: 4CL payments                     0.20        895.00       $179.00

 04/21/2023    SWG    EC        Call with client re: lease payments                        0.30        895.00       $268.50

 04/21/2023    SWG    EC        Call with client re: lease dispute (.4); follow up with    0.50        895.00       $447.50
                                J. Pomerantz and J. Dulberg (.1)

 04/21/2023    SWG    EC        Participate in call re: Imperial contract violations       0.50        895.00       $447.50

 04/21/2023    SWG    EC        Draft summary of Oil Company Agreements                    2.70        895.00      $2,416.50

 04/21/2023    GVD    EC        Conference with client re leasing issues                   0.30      1250.00        $375.00

 04/22/2023    MBL    EC        Review revised AR Global NDA; emails with team             0.10      1445.00        $144.50
                                re same.

 04/22/2023    JNP    EC        Review emails regarding NDA to AR Global;                  0.20      1595.00        $319.00
                                Conference with and emails with Jeffrey W. Dulberg
                                regarding same.

 04/22/2023    JWD    EC        Draft NDA for use by AR Global and emails to PSZJ          0.80      1295.00       $1,036.00
                                team and counsel re same

 04/22/2023    JWD    EC        Emails with J Pomerantz re NDA questions                   0.10      1295.00        $129.50

 04/22/2023    JWD    EC        Email with N Lansing re casualty loss issue                0.10      1295.00        $129.50

 04/23/2023    JNP    EC        Review AR Global response to emergency rejection           0.20      1595.00        $319.00
                                motion.

 04/23/2023    JWD    EC        Review AR Global / Necessity response to rej               0.50      1295.00        $647.50
                                motion (.2); call with J Pomerantz re same (.1); call
                                with R Saunders re same (.1); email with team (.1)

 04/23/2023    RMS    EC        Additional research regarding leases                       0.30      1095.00        $328.50

 04/23/2023    RMS    EC        Telephone conference with Jeffrey W. Dulberg               0.10      1095.00        $109.50
                                regarding leases research

 04/24/2023    JNP    EC        Conference with Arent Fox, Jeffrey W. Dulberg and          0.40      1595.00        $638.00
                                Henry C. Kevane regarding resolution of motion to
                                reject.

 04/24/2023    HCK    EC        Memos to / from J. Dulberg et al. re AR Global             0.20      1550.00        $310.00
                                casualty loss.
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 04/24/2023    HCK    EC        Review AR Global objection to rejection motion and       0.40      1550.00        $620.00
                                brief research re master lease.

 04/24/2023    HCK    EC        Draft reply to AR Global lease rejection opposition      3.40      1550.00       $5,270.00
                                and research / revise same.

 04/24/2023    HCK    EC        Memos to / from M. Healy and A. Spirito re AR            0.20      1550.00        $310.00
                                Global rent scenarios.

 04/24/2023    HCK    EC        Follow-up with J. Dulberg and J. Pomerantz re AR         0.30      1550.00        $465.00
                                Global reply and factual issues.

 04/24/2023    HCK    EC        Memos to / from B. Wallen and S. Tran re AR              0.20      1550.00        $310.00
                                Global sublease.

 04/24/2023    HCK    EC        Conference call with J. Pomerantz, J. Dulberg and        0.30      1550.00        $465.00
                                AR Global counsel re lease rejection settlement.

 04/24/2023    JNP    EC        Emails regarding casualty proceeds.                      0.10      1595.00        $159.50

 04/24/2023    MSP    EC        Email exchange with S. Golden, et al. regarding          0.10      1295.00        $129.50
                                lease payment issue.

 04/24/2023    PJJ    EC        Draft Notice of Hearing regarding AR Global and          0.50        545.00       $272.50
                                file.

 04/24/2023    JWD    EC        Review emails re AR Global rent                          0.10      1295.00        $129.50

 04/24/2023    JWD    EC        Review corr and emails with team re subtenant            0.10      1295.00        $129.50
                                objection to rejection

 04/24/2023    JWD    EC        Email with R Saunders re AR Global reply                 0.10      1295.00        $129.50

 04/24/2023    JWD    EC        Emails with B Wallen re subtenant issues                 0.20      1295.00        $259.00

 04/24/2023    JWD    EC        Call with counsel to subtenant at Huntsville location    0.30      1295.00        $388.50
                                and review follow up emails re same

 04/24/2023    JWD    EC        Email to H Kevane re AR Global reply                     0.10      1295.00        $129.50

 04/24/2023    JWD    EC        Emails with N Lansing re casualty loss on AR             0.20      1295.00        $259.00
                                Global site, email to counsel re same

 04/24/2023    JWD    EC        Further emails with N Lansing re AR Global site          0.10      1295.00        $129.50

 04/24/2023    JWD    EC        Review issues re AR Global info demand and issues        0.20      1295.00        $259.00
                                re reply

 04/24/2023    JWD    EC        Call with counsel to AR Global                           0.30      1295.00        $388.50

 04/24/2023    JWD    EC        Review detailed AR Global analysis                       0.20      1295.00        $259.00

 04/24/2023    MBL    EC        Review AF Global objection re rejection motion.          0.20      1445.00        $289.00
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 04/24/2023    RMS    EC        Drafting write-up of research results for Reply to       6.60      1095.00       $7,227.00
                                Necessity Landlord's objection to Debtor's lease
                                rejection motion, including concurrent research and
                                review of research results

 04/24/2023    VAN    EC        Draft omnibus motion to reject real property             1.10      1175.00       $1,292.50
                                agreements.

 04/24/2023    SWG    EC        Comprehensive review of leases with                      4.50        895.00      $4,027.50
                                Debtor-affiliated entities.

 04/24/2023    SWG    EC        Continue comprehensive review of oil company             5.30        895.00      $4,743.50
                                agreements and related contracts.

 04/24/2023    GVD    EC        Correspondence with FTI re status of cure issues         0.10      1250.00        $125.00

 04/24/2023    GVD    EC        Multiple correspondence with P. Keane re Section         0.20      1250.00        $250.00
                                365 research and open issues

 04/24/2023    BLW    EC        Correspond re: hearing on AR Global Rejection            0.20        895.00       $179.00
                                Motion.

 04/24/2023    BLW    EC        Correspond with Mr. Demo re: executory contract          0.10        895.00        $89.50
                                issues.

 04/24/2023    BLW    EC        Review AR Global Objection to rejection.                 0.40        895.00       $358.00

 04/24/2023    BLW    EC        Correspond with sublessor counsel re: motion to          0.10        895.00        $89.50
                                reject

 04/24/2023    BLW    EC        Call with sublessor counsel re: motion to reject (.3)    0.40        895.00       $358.00
                                and follow up call with Mr. Dulberg re: same (.1).

 04/24/2023    BLW    EC        Call with FTI re: AR Global issues.                      0.10        895.00        $89.50

 04/24/2023    ECO    EC        E-mails with Peter Keane re research issues/option       0.30        725.00       $217.50
                                contract and treatment of executory contracts in
                                bankruptcy.

 04/25/2023    HCK    EC        Review R. Saunders research and insert for AR            0.20      1550.00        $310.00
                                Global lease rejection reply.

 04/25/2023    HCK    EC        Review A. Silfen memo re AR Global settlement            0.10      1550.00        $155.00
                                proposal.

 04/25/2023    HCK    EC        Continue to draft, revise and edit reply to AR Global    3.30      1550.00       $5,115.00
                                objection to rejection motion.

 04/25/2023    HCK    EC        Memos to / from K. Sulkowski re AR Global lease.         0.10      1550.00        $155.00

 04/25/2023    HCK    EC        Follow-up with J. Pomerantz et al. re AR Global          0.10      1550.00        $155.00
                                document request.
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 04/25/2023    HCK    EC        Circulate draft of AR Global reply memo to FTI et        0.10      1550.00       $155.00
                                al. for review.

 04/25/2023    HCK    EC        Memos to / from N. Lansing re AR Global casualty         0.20      1550.00       $310.00
                                loss payments and follow-up with J. Dulberg.

 04/25/2023    HCK    EC        Further proof reply to AR Global objections based        0.30      1550.00       $465.00
                                on additional comments.

 04/25/2023    HCK    EC        Memos to / from S. Golden et al. re fuel branding        0.30      1550.00       $465.00
                                agreements at AR Global sites.

 04/25/2023    HCK    EC        Memos to / from J. Pomerantz et al. re A. Silfen AR      0.30      1550.00       $465.00
                                Global settlement proposal.

 04/25/2023    JNP    EC        Email to and from R. Gold regarding contracts.           0.10      1595.00       $159.50

 04/25/2023    JNP    EC        Review of Necessity settlement proposal and emails       0.10      1595.00       $159.50
                                regarding same.

 04/25/2023    JNP    EC        Review spreadsheet regarding Oak Street defaults.        0.10      1595.00       $159.50

 04/25/2023    JNP    EC        Review reply to opposition to motion to reject and       0.20      1595.00       $319.00
                                emails regarding same.

 04/25/2023    JWD    EC        Call with Khaled Tarazi, ll counsel re update and tax    0.20      1295.00       $259.00
                                payment

 04/25/2023    JWD    EC        Review entered KERP order and emails re same             0.10      1295.00       $129.50

 04/25/2023    JWD    EC        Call with B Wallen re subtenant update                   0.10      1295.00       $129.50

 04/25/2023    JWD    EC        Respond to B Brownstein re NDA                           0.10      1295.00       $129.50

 04/25/2023    JWD    EC        Review and revise reply to AR Global / Necessity         0.40      1295.00       $518.00
                                objection to rejection mtn

 04/25/2023    JWD    EC        Review corr from A Silfen re compromise proposal         0.10      1295.00       $129.50

 04/25/2023    JWD    EC        Review R Saunders research and insert re AR Global       0.20      1295.00       $259.00
                                reply and emails re same

 04/25/2023    JWD    EC        Review issues re Oak Street cures and emails re          0.20      1295.00       $259.00
                                same

 04/25/2023    JWD    EC        Review documentation re casualty loss at AR Global       0.50      1295.00       $647.50
                                location and emails with client re same

 04/25/2023    JWD    EC        Review B Wallen comments re AR Global reply              0.10      1295.00       $129.50

 04/25/2023    JWD    EC        Work on issues for AR Global reply                       0.60      1295.00       $777.00

 04/25/2023    JWD    EC        Analyze issues re 365h and case law                      0.20      1295.00       $259.00
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                                                                                        Hours           Rate     Amount

 04/25/2023    JWD    EC        Review detailed AR Global settlement terms               0.20      1295.00        $259.00

 04/25/2023    RMS    EC        Drafting insert for reply to objection to lease          2.20      1095.00       $2,409.00
                                rejection motion (Necessity Landlords), and
                                concurrent review of research

 04/25/2023    LAF    EC        Citecheck & edit rejection motion.                       0.80        595.00       $476.00

 04/25/2023    SWG    EC        Continue comprehensive review and categorization         5.60        895.00      $5,012.00
                                of oil company agreements and other contracts

 04/25/2023    SWG    EC        Receive and respond to email from J. Pomerantz re:       0.90        895.00       $805.50
                                AR Global-related documents

 04/25/2023    SWG    EC        Call with FTI team re: 4Court Leasing equipment          0.30        895.00       $268.50
                                lease terms

 04/25/2023    SWG    EC        Call with counsel to 4Court re: equipment leases         0.20        895.00       $179.00

 04/25/2023    GVD    EC        Conference with client and FTI re real estate cure       0.30      1250.00        $375.00
                                issues

 04/25/2023    GVD    EC        Correspondence with J. Pomerantz re status of cure       0.10      1250.00        $125.00
                                review

 04/25/2023    BLW    EC        Correspond re: hearing on AR Global Motion.              0.10        895.00        $89.50

 04/25/2023    BLW    EC        Review and comment on reply in support of AR             0.70        895.00       $626.50
                                Global rejection motion.

 04/25/2023    BLW    EC        Call with counsel for sublessor re: rejection motion.    0.10        895.00        $89.50

 04/25/2023    BLW    EC        Call with Mr. Dulberg re: AR Global Rejection            0.10        895.00        $89.50
                                Motion.

 04/26/2023    HCK    EC        Memos to / from A. Spirito re AR Global reply.           0.30      1550.00        $465.00

 04/26/2023    HCK    EC        Memos to / from S. Golden et al. re AR Global            0.20      1550.00        $310.00
                                document request and fuel agreements.

 04/26/2023    HCK    EC        Memos to / from J. Dulberg re AR Global casualty         0.50      1550.00        $775.00
                                loss and store locations.

 04/26/2023    HCK    EC        Follow-up with B. Wallen and J. Dulberg re further       0.40      1550.00        $620.00
                                comments to draft AR Global reply.

 04/26/2023    JNP    EC        Conference with Arent Fox, Jeffrey W. Dulberg and        0.60      1595.00        $957.00
                                Henry C. Kevane regarding settlement exploration
                                and document requests.

 04/26/2023    JNP    EC        Conference with Steven W. Golden regarding               0.20      1595.00        $319.00
                                Connect Express.
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 04/26/2023    JNP    EC        Conference with Ben L. Wallen regarding hearing          0.10      1595.00        $159.50
                                date for AR Global rejection motion.

 04/26/2023    PJJ    EC        Prepare notice of continued hearing on AR Global.        0.50        545.00       $272.50

 04/26/2023    JWD    EC        Attend call with AR Global counsel re doc request        0.50      1295.00        $647.50

 04/26/2023    JWD    EC        Review and respond to S Golden email re AR Global        0.20      1295.00        $259.00
                                issues and follow up review of insurance issues re
                                same

 04/26/2023    JWD    EC        Attend call re Oak cure issues                           0.80      1295.00       $1,036.00

 04/26/2023    JWD    EC        Review AR Global proposal (.2); call with J              0.40      1295.00        $518.00
                                Pomerantz re same (.1); prep email to client re same
                                (.1)

 04/26/2023    JWD    EC        Call with S Golden re Vina, AL casualty loss and         0.20      1295.00        $259.00
                                issues for same (.1); review and reply to S Golden
                                email to client re same (.1)

 04/26/2023    JWD    EC        Work on issues re insurance outcome re casualty loss     0.20      1295.00        $259.00
                                and respond to H Kevane email re same

 04/26/2023    JWD    EC        Call with B Wallen re AR Global reply (.1); review       0.20      1295.00        $259.00
                                issues re same and draft email to team re corrections
                                for same (.1)

 04/26/2023    JWD    EC        Review M Walden email re updated cure schedule           0.20      1295.00        $259.00

 04/26/2023    JWD    EC        Review S Golden email re rejections and email to J       0.10      1295.00        $129.50
                                Pomerantz re same

 04/26/2023    VAN    EC        Phone conference regarding motion to reject real         0.50      1175.00        $587.50
                                property agreements.

 04/26/2023    SWG    EC        Assemble documents for production to AR Global           3.10        895.00      $2,774.50
                                and related follow-ups with client.

 04/26/2023    SWG    EC        Participate in call with 4Court Leasing                  0.60        895.00       $537.00

 04/26/2023    SWG    EC        Participate in call re: Oak Street lease and cure        0.80        895.00       $716.00
                                matters

 04/26/2023    SWG    EC        Call with client (.5) re: Imperial lease issues and      0.70        895.00       $626.50
                                follow up re: same (.2)

 04/26/2023    SWG    EC        Call with M. Healy and J. Davis re: Connect              0.30        895.00       $268.50
                                Express.

 04/26/2023    SWG    EC        Call with FTI contracts team                             1.30        895.00      $1,163.50

 04/26/2023    SWG    EC        Call with FTI team re: potential lease rejections        0.50        895.00       $447.50
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 04/26/2023    GVD    EC        Prepare for call with FTI re cure issues (0.1);         1.70      1250.00       $2,125.00
                                conference with FTI re preparation for presentation
                                on cure issues (0.6); prepare for conference with J.
                                Pomerantz re cure issues (0.2); conference with J.
                                Pomerantz and FTI re real estate cure issues (0.8)

 04/26/2023    BLW    EC        Address continued AR Global hearing (.3); call with     0.50        895.00       $447.50
                                counsel for AR Global re: same (.1); review, revise,
                                and coordinate filing of notice re: same (.1).

 04/26/2023    BLW    EC        Call with FTI re: second rejection motion.              0.50        895.00       $447.50

 04/27/2023    HCK    EC        Memos to / from J. Pomerantz and J. Dulberg re AR       0.80      1550.00       $1,240.00
                                Global research and review master lease.

 04/27/2023    HCK    EC        Review AR Global discovery requests and follow-up       0.40      1550.00        $620.00
                                with S. Golden.

 04/27/2023    HCK    EC        Further research re AR Global environmental issues.     0.60      1550.00        $930.00

 04/27/2023    HCK    EC        Further review oil company agreements re AR             0.20      1550.00        $310.00
                                Global discovery.

 04/27/2023    JNP    EC        Email to Kirkland regarding information requests        0.10      1595.00        $159.50
                                on lease.

 04/27/2023    JNP    EC        Conference with Steven W. Golden regarding Oak          0.20      1595.00        $319.00
                                street information requests and Connect Express.

 04/27/2023    JNP    EC        Conference with Jeffrey W. Dulberg regarding Oak        0.30      1595.00        $478.50
                                Street information, Connect Express and
                                employment issues.

 04/27/2023    JWD    EC        Review emails re tanks from H Kevane and review         0.60      1295.00        $777.00
                                discovery request

 04/27/2023    JWD    EC        Work on new rejection motion                            0.70      1295.00        $906.50

 04/27/2023    JWD    EC        Review emails re environmental issues and rejected      0.10      1295.00        $129.50
                                leases

 04/27/2023    JWD    EC        Review email re Oak Street actions and email with S     0.20      1295.00        $259.00
                                Golden re same and call with J Pomerantz re same

 04/27/2023    JWD    EC        Respond to FTI and PSZJ team emails re next             0.10      1295.00        $129.50
                                rejection motion

 04/27/2023    JWD    EC        Review N Lansing email casualty loss                    0.10      1295.00        $129.50

 04/27/2023    JWD    EC        Prepare summary of materials re casualty loss           0.20      1295.00        $259.00
                                location

 04/27/2023    JWD    EC        Review B Brownstein requests                            0.20      1295.00        $259.00
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 04/27/2023    JWD    EC        Emails with team re discovery / settlement counter       0.20      1295.00        $259.00
                                issues and call for same

 04/27/2023    JWD    EC        Review discovery requests and emails re same             0.20      1295.00        $259.00

 04/27/2023    MBL    EC        Emails with team re necessity landlords’ discovery       0.50      1445.00        $722.50
                                (0.1); review same (0.4).

 04/27/2023    MBL    EC        Review draft reply to necessity landlord objection to    0.40      1445.00        $578.00
                                rejection motion.

 04/27/2023    VAN    EC        Draft/revise motion to reject real property              0.90      1175.00       $1,057.50
                                agreements.

 04/27/2023    SWG    EC        Draft motion to reject Connect Express agreements        0.90        895.00       $805.50

 04/27/2023    SWG    EC        Call with Debtors and professionals re: oil company      1.00        895.00       $895.00
                                agreements (.4); follow up with professionals re:
                                same (.6)

 04/27/2023    SWG    EC        Call with FTI re: 4Court Leasing equipment leases        0.50        895.00       $447.50
                                (.3) and send follow up to 4Court re: same (.2)

 04/27/2023    SWG    EC        Comprehensive contract review and analysis for           5.80        895.00      $5,191.00
                                Schedules, SOFAs, and cure schedules

 04/27/2023    GVD    EC        Conference with FTI and client re status of Oak          0.90      1250.00       $1,125.00
                                Street cure review

 04/28/2023    HCK    EC        Telephone call with S. Golden and M. Litvak re AR        0.50      1550.00        $775.00
                                Global discovery and leases / research and follow-up
                                with group.

 04/28/2023    HCK    EC        Follow-up re AR Global discovery.                        0.10      1550.00        $155.00

 04/28/2023    JNP    EC        Conference with FTI, Jeffrey W. Dulberg and Steven       0.70      1595.00       $1,116.50
                                W. Golden regarding AR Global strategy.

 04/28/2023    JNP    EC        Conference with Arent Fox, Jeffrey W. Dulberg and        0.40      1595.00        $638.00
                                Steven W. Golden regarding discovery and related
                                regarding disputes with AR Global.

 04/28/2023    JWD    EC        Call with S Golden re discovery call                     0.10      1295.00        $129.50

 04/28/2023    JWD    EC        Work on AR Global issues (.4); Attend call re same       1.30      1295.00       $1,683.50
                                with AR Global counsel (.7); email to team re
                                casualty loss property (.2)

 04/28/2023    JWD    EC        Attend call with FTI and PSZJ team re AR Global          0.70      1295.00        $906.50

 04/28/2023    MBL    EC        Call with FTI and team re lease rejection issues.        0.70      1445.00       $1,011.50

 04/28/2023    MBL    EC        Review FTI summary of AR Global lease costs.             0.10      1445.00        $144.50
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 04/28/2023    MBL    EC        Review rejection motion and objection re AR Global     0.20      1445.00        $289.00
                                contracts.

 04/28/2023    MBL    EC        Meet and confer call with AR Global counsel and        0.70      1445.00       $1,011.50
                                team re pending discovery.

 04/28/2023    MBL    EC        Further call with S. Golden and H. Kevane re lease     0.30      1445.00        $433.50
                                rejection issues.

 04/28/2023    SWG    EC        Call with Connect Express re: treatment of lease       0.40        895.00       $358.00

 04/28/2023    SWG    EC        Participate in call with contracts team re: data       0.80        895.00       $716.00
                                organization

 04/28/2023    SWG    EC        Call with H. Kevane and M. Litvak re: AR Global        0.30        895.00       $268.50
                                rejection motion

 04/28/2023    SWG    EC        Continue review of leases and contracts                2.80        895.00      $2,506.00

 04/30/2023    JNP    EC        Review presentation regarding Connect Express and      0.20      1595.00        $319.00
                                emails regarding same.

 04/30/2023    JNP    EC        Conference with Jeffrey W. Dulberg and Steven W.       0.60      1595.00        $957.00
                                Golden regarding diligence information relating to
                                executory contracts.

 04/30/2023    JWD    EC        Call with S Golden re lease and AR Global issues       0.30      1295.00        $388.50

 04/30/2023    JWD    EC        Calls with S Golden and J Pomerantz (.6); Call with    1.00      1295.00       $1,295.00
                                S Golden (.2) and joined by B Wallen (.2) all re AR
                                Global discovery and motion

 04/30/2023    JWD    EC        Work on response to AR Global                          0.50      1295.00        $647.50

 04/30/2023    JWD    EC        Review cases and work on AR Global settlement          0.80      1295.00       $1,036.00
                                response

 04/30/2023    JWD    EC        Review cases and work on response                      0.60      1295.00        $777.00

 04/30/2023    RMS    EC        Email exchange with Jeffrey W. Dulberg regarding       0.10      1095.00        $109.50
                                my research regarding leases

 04/30/2023    RMS    EC        Additional research regarding leases                   1.70      1095.00       $1,861.50

 04/30/2023    SWG    EC        Calls with J. Dulberg (.3) and G. Demo (0.7) re: AR    1.00        895.00       $895.00
                                Global Lease Rejection Motion

 04/30/2023    SWG    EC        Comprehensive document review and preparation          9.80        895.00      $8,771.00
                                for production of documents to AR Global

 04/30/2023    GVD    EC        Multiple conferences with S. Golden re status of AR    1.00      1250.00       $1,250.00
                                Global lease rejection
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 04/30/2023    GVD    EC        Review research from P. Keane re contract rejection     0.20      1250.00          $250.00
                                issues and correspondence re same

 04/30/2023    BLW    EC        Calls (2x) with Mr. Dulberg and Mr. Golden re:          1.30        895.00        $1,163.50
                                Amended AR rejection schedule (.5); multiple
                                correspondences with FTI re: same (.3); begin
                                lease/contact review re; same (.5).

                                                                                      242.70                    $274,244.00

  Financial Filings [B110]
 04/01/2023    BLW    FF        Review IDI information requests from UST and            1.10        895.00         $984.50
                                correspond with UST re: same. Coordinate with FTI
                                and Mr. Golden re: gathering information in
                                response to same.

 04/02/2023    BLW    FF        Correspondences with FTI re: MOR and IDI.               0.40        895.00         $358.00

 04/02/2023    BLW    FF        Call with Mr. Golden re: data collection.               0.10        895.00          $89.50

 04/03/2023    BLW    FF        Correspond re: IDI and MORs (.3) and assemble IDI       1.00        895.00         $895.00
                                materials (.7).

 04/03/2023    BLW    FF        Call with Mr. Golden re: Insurance information for      0.10        895.00          $89.50
                                IDI.

 04/04/2023    SWG    FF        Begin preparing schedule G re: Oil Company              2.70        895.00        $2,416.50
                                Agreements

 04/04/2023    BLW    FF        Call with FTI re: MORs.                                 0.40        895.00         $358.00

 04/05/2023    SWG    FF        Continue reviewing and organizing oil company           2.70        895.00        $2,416.50
                                agreements

 04/05/2023    JWD    FF        Emails re SOFA / SOAL prep                              0.10      1295.00          $129.50

 04/05/2023    JWD    FF        Work on SOFA / SOAL issue                               0.10      1295.00          $129.50

 04/05/2023    BLW    FF        Call with FTI re: schedules and statements.             0.20        895.00         $179.00

 04/05/2023    BLW    FF        Call with UST re: MOR reporting (.5); follow up         1.80        895.00        $1,611.00
                                call with FTI re; same (.1); draft email to UST re:
                                same (1.2).

 04/06/2023    BLW    FF        Calls with FTI re: MOR (2x).                            0.30        895.00         $268.50

 04/06/2023    BLW    FF        Revise MOR request email.                               0.80        895.00         $716.00

 04/07/2023    JWD    FF        Review corr with UST re MOR                             0.10      1295.00          $129.50

 04/10/2023    PJJ    FF        Prepare IDI documents for service to UST.               0.30        545.00         $163.50
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 04/10/2023    JWD    FF        Review and respond to B Wallen re UST response re        0.10      1295.00        $129.50
                                IDI materials

 04/11/2023    JWD    FF        Review issues for IDI prep                               0.20      1295.00        $259.00

 04/12/2023    JWD    FF        Review B Wallen email re UST request re MOR and          0.10      1295.00        $129.50
                                email to FTI re same

 04/12/2023    BLW    FF        Correspond re: MORs.                                     0.10        895.00        $89.50

 04/13/2023    PJJ    FF        Email from/to FTI re schedules and statements.           0.20        545.00       $109.00

 04/13/2023    BLW    FF        Prep calls (2x) with CRO re: IDI (.3); IDI (.2); and     0.70        895.00       $626.50
                                follow up correspondences re: IDI (.2).

 04/13/2023    BLW    FF        Draft revised MOR Proposal.                              0.20        895.00       $179.00

 04/18/2023    PJJ    FF        Attend call with FTI/PSZJ regarding Schedules and        1.40        545.00       $763.00
                                Statements..

 04/18/2023    SWG    FF        Call with PSZJ and FTI teams re: Schedules/SOFAs         1.40        895.00      $1,253.00

 04/18/2023    BLW    FF        Call with FTI (partial) re: schedules and statements.    1.10        895.00       $984.50

 04/19/2023    PJJ    FF        Telephone conference with Steven W. Golden               0.50        545.00       $272.50
                                regarding Schedules and Statements.

 04/19/2023    SWG    FF        Call with P. Jeffries re: schedules/statements           0.30        895.00       $268.50

 04/19/2023    SWG    FF        Call with FTI team re: related parties                   0.50        895.00       $447.50

 04/19/2023    SWG    FF        Draft and send email to J. Pomerantz re:                 0.20        895.00       $179.00
                                insider/affiliates reporting matters

 04/19/2023    BLW    FF        Correspond re: schedules.                                0.10        895.00        $89.50

 04/20/2023    JWD    FF        Work on agreement review re schedules                    0.40      1295.00        $518.00

 04/21/2023    PJJ    FF        Telephone conference with Steven W. Golden,              0.50        545.00       $272.50
                                Jerome and David regarding Schedules and
                                Statements.

 04/21/2023    JWD    FF        Review analysis re insider terms                         0.20      1295.00        $259.00

 04/21/2023    SWG    FF        Call with PSZJ and FTI team re: Schedules/SOFAs          0.60        895.00       $537.00

 04/23/2023    PJJ    FF        Draft Notice of filing final DIP Order.                  0.40        545.00       $218.00

 04/24/2023    JWD    FF        Review and respond to emails re insurance coverage       0.10      1295.00        $129.50
                                and UST

 04/24/2023    BLW    FF        Review FTI response re: UST Insurance information        0.40        895.00       $358.00
                                requests and correspond re: same.
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 04/25/2023    JWD    FF        Review and revise draft email to client re insider      0.40       1295.00         $518.00
                                disclosures

 04/25/2023    JWD    FF        Further email with S Golden re prepetition transfers    0.10       1295.00         $129.50

 04/26/2023    PJJ    FF        Telephone conference with FTI and Steven W.             0.50         545.00        $272.50
                                Golden regarding Schedules and Statements.

 04/26/2023    PJJ    FF        Prepare for and file notice of hearing re AR Global     0.30         545.00        $163.50
                                motion.

 04/26/2023    JWD    FF        Call with K Massey re insurance / UST issue and         0.30       1295.00         $388.50
                                follow up email to her re same

 04/26/2023    JWD    FF        Emails with B Wallen re UST requirements and            0.20       1295.00         $259.00
                                insurance

 04/26/2023    JWD    FF        Review and respond to S Golden email re affiliates      0.10       1295.00         $129.50

 04/26/2023    JWD    FF        Review A Cooke email re schedules and respond to        0.20       1295.00         $259.00
                                same

 04/26/2023    SWG    FF        Draft and send email to client re: 2013.5 report        0.30         895.00        $268.50
                                information

 04/26/2023    SWG    FF        Call re: schedules and statements filing.               0.50         895.00        $447.50

 04/26/2023    BLW    FF        Correspond re: schedules deadline.                      0.20         895.00        $179.00

 04/26/2023    BLW    FF        Correspond with UST re: schedules extension and         0.20         895.00        $179.00
                                insurance information.

 04/26/2023    BLW    FF        Correspond re: Insurance certificates (.1) and call     0.20         895.00        $179.00
                                with Mr. Dulberg re: same (.1).

 04/27/2023    JWD    FF        Email with B Wallen re UST questions re OCP             0.10       1295.00         $129.50

 04/27/2023    BLW    FF        Correspond re: extension of schedules and               0.20         895.00        $179.00
                                statements deadline.

 04/28/2023    PJJ    FF        Attend Schedules and Statements review call with        0.30         545.00        $163.50
                                Steven W. Golden and FTI.

                                                                                        26.00                    $22,850.00

  Financing [B230]
 04/03/2023    HCK    FN        Memos to / from Andrew Spirito re DIP loan              0.20       1550.00         $310.00
                                interest.

 04/03/2023    HCK    FN        Review DIP reporting package from M. Healy.             0.10       1550.00         $155.00

 04/03/2023    HCK    FN        Memos to / from M. Litvak and J. Elrod re supply        0.10       1550.00         $155.00
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                                                                                       Hours           Rate     Amount
                                contract valuation.
 04/03/2023    MBL    FN        Review weekly variance reporting for lenders.           0.10      1445.00       $144.50

 04/03/2023    SWG    FN        Call with counsel to DIP Lender (.5) and follow up      0.60        895.00      $537.00
                                with A. Spirito re: same (.1)

 04/03/2023    BLW    FN        Comment on Cameron Motion.                              0.10        895.00       $89.50

 04/04/2023    HCK    FN        Memos to / from C. Langenhorst (FTI) et al. re          0.10      1550.00       $155.00
                                covenant compliance.

 04/04/2023    HCK    FN        Memos to / from M. Litvak et al. re DIP loan            0.10      1550.00       $155.00
                                signature.

 04/04/2023    MBL    FN        Emails with FTI re variance reporting certification     0.20      1445.00       $289.00
                                and lender inquiry; review DIP documents.

 04/05/2023    HCK    FN        Memos to / from FTI team re borrowing request #2        0.60      1550.00       $930.00
                                submitted today and follow-up with J. Pomerantz.

 04/05/2023    HCK    FN        Memos to / from J. Pomerantz re final DIP terms.        0.10      1550.00       $155.00

 04/05/2023    JWD    FN        Review email re fee reserve transfer from debtor and    0.10      1295.00       $129.50
                                emails with staff re same

 04/05/2023    JWD    FN        Call with A Spirito re fee reserve                      0.10      1295.00       $129.50

 04/05/2023    BLW    FN        Correspond re: evidentiary issues re; DIP Hearing.      0.20        895.00      $179.00

 04/06/2023    HCK    FN        Review TX taxing authorities DIP objection and          0.20      1550.00       $310.00
                                follow-up with M. Litvak.

 04/06/2023    JWD    FN        Review objection to DIP                                 0.10      1295.00       $129.50

 04/06/2023    SWG    FN        Call with H. Kevane re: questions from DIP Lender       0.50        895.00      $447.50

 04/06/2023    BLW    FN        Correspond re: Regions Bank Inquiry.                    0.20        895.00      $179.00

 04/07/2023    HCK    FN        Review draft of DIP loan variance report from A.        0.30      1550.00       $465.00
                                Spirito and review comments / revisions.

 04/07/2023    HCK    FN        Memos to / from M. Litvak re final DIP order.           0.10      1550.00       $155.00

 04/07/2023    HCK    FN        Memos to / from J. Pomerantz et al. re fuel contract    0.20      1550.00       $310.00
                                valuation.

 04/07/2023    HCK    FN        Review M. Litvak redline to final DIP order.            0.20      1550.00       $310.00

 04/07/2023    HCK    FN        Follow-up with M. Healy and M. Litvak re DIP            0.30      1550.00       $465.00
                                reporting package and review final report.

 04/07/2023    JNP    FN        Review DIP reporting package and email regarding        0.10      1595.00       $159.50
                                same.
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                                                                                      Hours           Rate     Amount

 04/07/2023    JNP    FN        Emails to and from Maxim B. Litvak regarding DIP       0.10      1595.00        $159.50
                                valuation covenant.

 04/07/2023    JNP    FN        Emails to and from Maxim B. Litvak regarding DIP       0.10      1595.00        $159.50
                                valuation covenant.

 04/07/2023    JWD    FN        Emails with team re Committee and DIP motion           0.10      1295.00        $129.50

 04/07/2023    JWD    FN        Call with M Helt re DIP hearing and related issues     0.20      1295.00        $259.00

 04/07/2023    MBL    FN        Draft final DIP order (1.8); coordinate same with      1.90      1445.00       $2,745.50
                                team and FTI (0.1).

 04/07/2023    MBL    FN        Emails with team re Pilot lien issues.                 0.30      1445.00        $433.50

 04/07/2023    MBL    FN        Emails with team and FTI re financial reporting and    0.20      1445.00        $289.00
                                DIP covenant issues.

 04/08/2023    JWD    FN        Review DIP reporting package                           0.10      1295.00        $129.50

 04/09/2023    JNP    FN        Review proposed final DIP order.                       0.20      1595.00        $319.00

 04/10/2023    HCK    FN        Memos to / from M. Litvak et al. re draft final DIP    0.40      1550.00        $620.00
                                order / final draw request and review redline).

 04/10/2023    HCK    FN        Memos to / from J. Elrod et al. re final DIP order.    0.10      1550.00        $155.00

 04/10/2023    HCK    FN        Memos to / from GT team re UCC financing               0.20      1550.00        $310.00
                                statements and corrections.

 04/10/2023    HCK    FN        Review J. Elrod markup to form of final DIP order      0.40      1550.00        $620.00
                                and memos to / from M. Litvak re same.

 04/10/2023    HCK    FN        Follow-up with J. Pomerantz and M. Litvak re final     0.60      1550.00        $930.00
                                DIP order markup and memo to J. Elrod re same.

 04/10/2023    JNP    FN        Emails with Jeffrey W. Dulberg and Ben L. Wallen       0.10      1595.00        $159.50
                                regarding DIP final hearing.

 04/10/2023    JNP    FN        Emails with J. Elrod regarding DIP final hearing.      0.10      1595.00        $159.50

 04/10/2023    JNP    FN        Emails with M. Helt regarding final DIP order.         0.10      1595.00        $159.50

 04/10/2023    PJJ    FN        Review UCC-1's by Horizon.                             0.60        545.00       $327.00

 04/10/2023    JWD    FN        Review DIP order draft                                 0.10      1295.00        $129.50

 04/10/2023    JWD    FN        Review various emails re DIP status and hearing        0.10      1295.00        $129.50

 04/10/2023    JWD    FN        Review DIP order comments                              0.10      1295.00        $129.50

 04/10/2023    MBL    FN        Emails with lender counsel and team re final DIP       0.50      1445.00        $722.50
                                order and financing filings; review same.
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                                                                                       Hours           Rate     Amount

 04/10/2023    MBL    FN        Revise final DIP order from lenders; emails with        1.30      1445.00       $1,878.50
                                team, FTI, and lender counsel re same.

 04/10/2023    BLW    FN        Correspond with DIP Lender re: Final DIP Hearing.       0.10        895.00        $89.50

 04/11/2023    HCK    FN        Memos to / from group re 4/14 hearing witness and       0.20      1550.00        $310.00
                                exhibit lists.

 04/11/2023    HCK    FN        Memos to / from J. Dulberg et al. re DIP lender fuel    0.10      1550.00        $155.00
                                valuation.

 04/11/2023    JNP    FN        Conference with M. Healy regarding budget.              0.10      1595.00        $159.50

 04/11/2023    JNP    FN        Email with McDermott regarding DIP issues.              0.10      1595.00        $159.50

 04/11/2023    JNP    FN        Review Committee DIP issues.                            0.10      1595.00        $159.50

 04/11/2023    JNP    FN        Conference with G. Richards regarding DIP issues.       0.30      1595.00        $478.50

 04/11/2023    JNP    FN        Conference with M. Healy regarding DIP.                 0.20      1595.00        $319.00

 04/11/2023    JNP    FN        Conference with McDermott Will & Emery                  0.70      1595.00       $1,116.50
                                regarding DIP issues.

 04/11/2023    JWD    FN        Emails re coordinating DIP hrg prep                     0.10      1295.00        $129.50

 04/11/2023    JWD    FN        Review DIP comments from Commitee                       0.40      1295.00        $518.00

 04/11/2023    JWD    FN        Attend call re DIP motion with Committee                0.50      1295.00        $647.50

 04/11/2023    BLW    FN        Correspond re: final DIP Hearing.                       0.20        895.00       $179.00

 04/12/2023    PJJ    FN        Prepare notice of continued DIP hearing.                0.50        545.00       $272.50

 04/12/2023    HCK    FN        Memos to / from team re 4/14 W/E list for filing        0.20      1550.00        $310.00
                                today.

 04/12/2023    HCK    FN        Memos to / from M. Litvak and M. Quejada re final       0.30      1550.00        $465.00
                                DIP order.

 04/12/2023    HCK    FN        Memos to / from M. Litvak and A. Spirito re final       0.30      1550.00        $465.00
                                DIP loan borrowing request.

 04/12/2023    HCK    FN        Memos to / from B. Wallen and J. Dulberg, et al. re     0.40      1550.00        $620.00
                                final DIP hearing continuance and review draft
                                notice.

 04/12/2023    HCK    FN        Memos to / from B. Wallen re edits to hearing           0.10      1550.00        $155.00
                                notice.

 04/12/2023    JNP    FN        Emails with Committee counsel regarding DIP             0.10      1595.00        $159.50
                                discussions.

 04/12/2023    JNP    FN        Conference with N. Healy regarding DIP financing        0.20      1595.00        $319.00
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                                                                                      Hours           Rate     Amount
                                and sale call with lenders professionals.
 04/12/2023    JWD    FN        Review emails re weekly fee reserve transfer and       0.10      1295.00        $129.50
                                email with team re same

 04/12/2023    JWD    FN        Call with J Pomerantz re DIP hearing notice            0.10      1295.00        $129.50

 04/12/2023    JWD    FN        Work on issue re DIP hearing                           0.10      1295.00        $129.50

 04/12/2023    JWD    FN        Work on DIP continuance                                0.20      1295.00        $259.00

 04/12/2023    MBL    FN        Emails with team re DIP-related witness and exhibit    0.20      1445.00        $289.00
                                lists and status.

 04/12/2023    MBL    FN        Review DIP issues list; emails with team re DIP        0.20      1445.00        $289.00
                                scheduling.

 04/12/2023    MBL    FN        Draft second borrowing request; emails with FTI re     0.20      1445.00        $289.00
                                same.

 04/12/2023    BLW    FN        Numerous correspondences re: Final DIP Hearing         0.60        895.00       $537.00
                                W/E List and coordinate filing re: same.

 04/12/2023    BLW    FN        Revise Final DIP Hearing notice.                       0.40        895.00       $358.00

 04/13/2023    HCK    FN        Review final DIP loan borrowing request.               0.10      1550.00        $155.00

 04/13/2023    JNP    FN        Email to and from Committee counsel regarding DIP      0.10      1595.00        $159.50
                                negotiations.

 04/13/2023    JWD    FN        Review Committee email re obj deadline to DIP and      0.10      1295.00        $129.50
                                email to J Pomerantz re same

 04/13/2023    MBL    FN        Attention to second borrowing request; emails with     0.10      1445.00        $144.50
                                FTI re same.

 04/14/2023    HCK    FN        Review A. Spirito drafts of updated DIP budget and     0.30      1550.00        $465.00
                                follow-up with J. Pomerantz / M. Litvak re same.

 04/14/2023    HCK    FN        Review A. Spirito DIP loan variance report.            0.10      1550.00        $155.00

 04/14/2023    HCK    FN        Review DIP loan variance reporting to DIP lenders /    0.10      1550.00        $155.00
                                Committee from A. Spirito.

 04/14/2023    JNP    FN        Conference with M. Healy regarding financing and       0.70      1595.00       $1,116.50
                                other issues.

 04/14/2023    JNP    FN        Conference with Michael D. Warner regarding            0.60      1595.00        $957.00
                                strategic issues regarding DIP hearing.

 04/14/2023    JNP    FN        Email to Committee counsel regarding status of DIP     0.10      1595.00        $159.50
                                negotiations.

 04/14/2023    JNP    FN        Emails with Maxim B. Litvak regarding DIP              0.10      1595.00        $159.50
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                                                                                      Hours           Rate     Amount
                                financing hearing.
 04/14/2023    JNP    FN        Conference with G. Richards regarding DIP hearing.     0.20      1595.00        $319.00

 04/14/2023    JWD    FN        Review draft amended budget and issues re same         0.20      1295.00        $259.00

 04/14/2023    JWD    FN        Attend call with lenders re budget, GT issues          0.80      1295.00       $1,036.00

 04/14/2023    MBL    FN        Review updated DIP budget presentation from FTI;       0.30      1445.00        $433.50
                                emails with team re same.

 04/14/2023    MBL    FN        Review further revised budget to lenders and weekly    0.30      1445.00        $433.50
                                reporting.

 04/14/2023    MBL    FN        Call with lender team and debtor advisors re budget    0.70      1445.00       $1,011.50
                                and timing issues.

 04/14/2023    MBL    FN        Emails with team re DIP hearing and pending issues.    0.20      1445.00        $289.00

 04/14/2023    BLW    FN        Call with Mr. Pomerantz re: DIP Issues.                0.10        895.00        $89.50

 04/14/2023    BLW    FN        Call with CRO re: retention and DIP issues.            0.20        895.00       $179.00

 04/16/2023    HCK    FN        Memos to / from M. Litvak and J. Pomerantz re          0.20      1550.00        $310.00
                                markups to DIP final order and review J. Elrod
                                memo.

 04/16/2023    HCK    FN        Memos to / from A. Spirito and J. Tibus / M. Healy     0.20      1550.00        $310.00
                                re updated DIP budget.

 04/16/2023    JNP    FN        Review Committee comments to financing order and       0.50      1595.00        $797.50
                                emails regarding same.

 04/16/2023    JWD    FN        Review various emails re DIP negotiation               0.20      1295.00        $259.00

 04/16/2023    MBL    FN        Review committee comments to final DIP order and       0.70      1445.00       $1,011.50
                                compare to PSZJ revisions; emails with team and
                                opposing counsel re same.

 04/16/2023    MBL    FN        Revise committee version of final DIP order (0.8);     0.90      1445.00       $1,300.50
                                coordinate same with team (0.1).

 04/17/2023    HCK    FN        Review M. Litvak memo with Debtors' comments to        0.20      1550.00        $310.00
                                final DIP order and review markup.

 04/17/2023    HCK    FN        Memos to / from J. Pomerantz and J. Elrod re           0.20      1550.00        $310.00
                                Thursday final DIP hearing.

 04/17/2023    HCK    FN        Conference call with J. Pomerantz, J. Dulberg and      0.50      1550.00        $775.00
                                M. Litvak re final DIP hearing and Committee
                                continuance.

 04/17/2023    JNP    FN        Conference with J. Tibus, J. Elrod, FTI, Raymond       1.00      1595.00       $1,595.00
                                James, Jeffrey W. Dulberg and Steven W. Golden
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                                                                                       Hours           Rate      Amount
                                regarding financing budget reports and upcoming
                                hearing.
 04/17/2023    JNP    FN        Conference with McDermott regarding DIP                 0.40      1595.00        $638.00
                                financing hearing.

 04/17/2023    JNP    FN        Conference with M. Healy regarding status of DIP        0.20      1595.00        $319.00
                                financing discussions and next steps.

 04/17/2023    JNP    FN        Emails to and from J. Elrod regarding DIP financing.    0.20      1595.00        $319.00

 04/17/2023    JNP    FN        Conference with M. Helt regarding status of DIP         0.20      1595.00        $319.00
                                financing discussions and next steps.

 04/17/2023    JNP    FN        Conference with M. Helt regarding status of             0.30      1595.00        $478.50
                                financing.

 04/17/2023    JNP    FN        Conference with Maxim B. Litvak, Jeffrey W.             0.50      1595.00        $797.50
                                Dulberg and Henry C. Kevane regarding contested
                                DIP financing hearing.

 04/17/2023    JNP    FN        Conference with Michael D. Warner regarding             0.20      1595.00        $319.00
                                financing hearing strategy.

 04/17/2023    JNP    FN        Review AR Global opposition to DIP financing.           0.10      1595.00        $159.50

 04/17/2023    JNP    FN        Email to Board regarding DIP financing.                 0.20      1595.00        $319.00

 04/17/2023    JWD    FN        Attend weekly lender update call                        1.00      1295.00       $1,295.00

 04/17/2023    JWD    FN        Call with PSZJ team re DIP issues                       0.50      1295.00        $647.50

 04/17/2023    MBL    FN        Review AFS comments to final DIP order.                 0.20      1445.00        $289.00

 04/17/2023    MBL    FN        Confer with H. Kevane re DIP order issues; emails       0.10      1445.00        $144.50
                                with team re status.

 04/17/2023    MBL    FN        Call with team re DIP status and litigation issues      0.60      1445.00        $867.00
                                (0.5); emails with team and opposing counsel re
                                same (0.1).

 04/17/2023    BLW    FN        Correspondence from Mr. Pomerantz re: DIP.              0.10        895.00        $89.50

 04/17/2023    MDW    FN        Strategy discussion with attorney J. Pomerantz re       0.50      1495.00        $747.50
                                committee raised issues.

 04/18/2023    HCK    FN        Memos to / from J. Pomerantz re DIP update to           0.10      1550.00        $155.00
                                Board.

 04/18/2023    HCK    FN        Follow-up with G. Richards et al. re solicit DIP        0.20      1550.00        $310.00
                                priming proposals and extended budget.

 04/18/2023    HCK    FN        Review memos to / from J. Pomerantz and J. Elrod        0.20      1550.00        $310.00
                                re DIP hearing continuance and default.
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                                                                                         Hours           Rate     Amount

 04/18/2023    HCK    FN        Confer with M. Litvak re priming DIP and interim          0.20      1550.00        $310.00
                                order and follow-up re same.

 04/18/2023    HCK    FN        Conference call with RJ / FTI teams and J.                0.70      1550.00       $1,085.00
                                Pomerantz / J. Dulberg et al. re DIP options.

 04/18/2023    HCK    FN        Memos to / from J. Pomerantz re DIP loan                  0.10      1550.00        $155.00
                                discussions with Committee.

 04/18/2023    JNP    FN        Conference with M. Helt regarding DIP financing           0.10      1595.00        $159.50
                                hearing and related matters.

 04/18/2023    JNP    FN        Conference with G. Richards regarding DIP                 0.20      1595.00        $319.00
                                financing and alternatives.

 04/18/2023    JNP    FN        Conference with J. Elrod regarding DIP financing          0.10      1595.00        $159.50
                                motion.

 04/18/2023    JNP    FN        Conference with M. Healy regarding DIP financing          0.20      1595.00        $319.00
                                motion potential resolution.

 04/18/2023    JNP    FN        Conference with M. Helt regarding case status.            0.20      1595.00        $319.00

 04/18/2023    JNP    FN        Email to J. Elrod regarding call to discuss financing.    0.10      1595.00        $159.50

 04/18/2023    JNP    FN        Email to Committee regarding financing.                   0.10      1595.00        $159.50

 04/18/2023    JNP    FN        Emails to and from J. Elrod regarding DIP financing       0.20      1595.00        $319.00
                                motion.

 04/18/2023    JWD    FN        Review DIP Lender and Committee emails re DIP             0.20      1295.00        $259.00
                                (.1); review B Wallen email re hearing and call with
                                J Pomerantz re same (.1);

 04/18/2023    JWD    FN        Review AR Global obj to DIP and email with team           0.20      1295.00        $259.00
                                re same

 04/18/2023    JWD    FN        All profs call re financing issues                        0.60      1295.00        $777.00

 04/18/2023    MBL    FN        Emails with team, committee advisors, and opposing        0.50      1445.00        $722.50
                                counsel re DIP financing issues and continuance
                                (0.4); confer with H. Kevane re same (0.1).

 04/18/2023    MBL    FN        Review draft DIP hearing notice continuance.              0.10      1445.00        $144.50

 04/18/2023    MBL    FN        Review AR Global DIP objection.                           0.20      1445.00        $289.00

 04/18/2023    MBL    FN        Emails with team and Raymond James re alternative         0.40      1445.00        $578.00
                                DIP issues and status; review DIP documents.

 04/18/2023    BLW    FN        Review and correspond re: AR Global DIP                   0.40        895.00       $358.00
                                Objection.
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                                                                                        Hours           Rate     Amount

 04/18/2023    BLW    FN        Review multiple updates re: DIP Issues.                  0.20        895.00       $179.00

 04/19/2023    JNP    FN        Conference with Committee advisors and Debtors           1.00      1595.00       $1,595.00
                                professionals regarding DIP financing status.

 04/19/2023    HCK    FN        Memos to /from J. Dulberg et al. re priming DIP          0.30      1550.00        $465.00
                                expense reimbursement and other DIP costs.

 04/19/2023    HCK    FN        Memos to / from G. Richards et al. re priming DIP        0.40      1550.00        $620.00
                                loan term sheet.

 04/19/2023    HCK    FN        Confer with M. Litvak re terms of priming DIP loan.      0.20      1550.00        $310.00

 04/19/2023    HCK    FN        Memos to / from J. Pomerantz re DIP loan term            0.20      1550.00        $310.00
                                sheet.

 04/19/2023    HCK    FN        Further review M. Healy extended budget.                 0.30      1550.00        $465.00

 04/19/2023    HCK    FN        Further analyze DIP priming loan requirements.           0.20      1550.00        $310.00

 04/19/2023    JNP    FN        Conference with Committee professionals, FTI, RJ         0.30      1595.00        $478.50
                                and PSZJ regarding call with lenders.

 04/19/2023    JNP    FN        Conference with J. Tibus, J. Elrod, FTI, Raymond         0.60      1595.00        $957.00
                                James, Jeffrey W. Dulberg and Steven W. Golden
                                regarding DIP financing status.

 04/19/2023    JNP    FN        Conference with M. Healy after call with lender          0.20      1595.00        $319.00
                                professionals regarding DIP financing status.

 04/19/2023    JNP    FN        Conference with Maxim B. Litvak regarding DIP            0.20      1595.00        $319.00
                                financing discussions and potential discovery.

 04/19/2023    JNP    FN        Conference with Jeffrey W. Dulberg regarding             0.10      1595.00        $159.50
                                motion for authority to pay fee for priming lender.

 04/19/2023    JNP    FN        Review emails regarding competing DIP proposal.          0.10      1595.00        $159.50

 04/19/2023    JNP    FN        Conference with M. Healy after call with Committee       0.20      1595.00        $319.00
                                regarding DIP status.

 04/19/2023    JNP    FN        Conference with G. Richards regarding DIP issues.        0.20      1595.00        $319.00

 04/19/2023    JNP    FN        Draft email to J. Elrod responding to email regarding    0.60      1595.00        $957.00
                                discovery.

 04/19/2023    JNP    FN        Email to Board regarding status of DIP financing.        0.10      1595.00        $159.50

 04/19/2023    JNP    FN        Emails regarding DIP priming tern sheet.                 0.10      1595.00        $159.50

 04/19/2023    JNP    FN        Emails with M. Helt regarding status.                    0.10      1595.00        $159.50

 04/19/2023    JWD    FN        Attend call with DIP lenders re financing issues         0.60      1295.00        $777.00
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 04/19/2023    JWD    FN        Attend follow up call with Committee re financing        0.20      1295.00        $259.00

 04/19/2023    JWD    FN        Review Elrod re letter re DIP (.1); review and revise    0.50      1295.00        $647.50
                                response for J Pomerantz

 04/19/2023    JWD    FN        Emails with J Pomerantz and V Newmark re                 0.10      1295.00        $129.50
                                expense motion

 04/19/2023    MBL    FN        Review and comment on witness and exhibit list;          0.20      1445.00        $289.00
                                emails with team re same.

 04/19/2023    MBL    FN        Confer with H. Kevane re DIP funding status.             0.20      1445.00        $289.00

 04/19/2023    MBL    FN        Call with J. Pomerantz re DIP status (0.2); emails       0.30      1445.00        $433.50
                                with team re expense reimbursement motion (0.1).

 04/19/2023    MBL    FN        Call with committee counsel and team re DIP status.      0.20      1445.00        $289.00

 04/19/2023    MBL    FN        Emails with lender counsel, team, and debtor             0.30      1445.00        $433.50
                                advisors re DIP issues and discovery.

 04/19/2023    SWG    FN        Participate in call with Committee re: DIP Financing     0.30        895.00       $268.50

 04/19/2023    BLW    FN        Review multiple detailed updates re: DIP                 0.20        895.00       $179.00
                                negotiations/issues.

 04/20/2023    HCK    FN        Memos to / from J. Pomerantz et al. re MEX               0.20      1550.00        $310.00
                                discovery to DIP lenders.

 04/20/2023    HCK    FN        Review memos to / from J. Pomerantz and J. Elrod         0.10      1550.00        $155.00
                                re additional DIP financing.

 04/20/2023    HCK    FN        Telephone call with M. Litvak re DIP priming             0.80      1550.00       $1,240.00
                                restrictions and review interim order / DIP credit
                                agreement.

 04/20/2023    HCK    FN        Memos to / from J. Pomerantz et al. re DIP               0.50      1550.00        $775.00
                                obligations under priming scenario and waivers.

 04/20/2023    HCK    FN        Memos to / from M. Litvak re cash collateral use         0.20      1550.00        $310.00
                                and DIP defaults.

 04/20/2023    HCK    FN        Review / edit M. Litvak markup to DIP loan priming       0.70      1550.00       $1,085.00
                                term sheet and circulate markup.

 04/20/2023    HCK    FN        Review draft pleading re financing and memos to /        0.60      1550.00        $930.00
                                from J. Pomerantz and J. Dulberg re comments.

 04/20/2023    HCK    FN        Memos to / from M. Litvak re new DIP loan term           0.10      1550.00        $155.00
                                sheet revision.

 04/20/2023    HCK    FN        Memos to / from G. Richards re new priming loan          0.20      1550.00        $310.00
                                term sheet.
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 04/20/2023    HCK    FN        Review M. Litvak cumulative markup to new DIP         0.30      1550.00       $465.00
                                term sheet.

 04/20/2023    HCK    FN        Briefly review draft motion for expense               0.20      1550.00       $310.00
                                reimbursement and memos to / from J. Pomerantz
                                and M. Litvak.

 04/20/2023    JNP    FN        Conference with Maxim B. Litvak regarding credit      0.20      1595.00       $319.00
                                agreement.

 04/20/2023    JNP    FN        Conference with J. Elrod regarding discovery          0.10      1595.00       $159.50
                                schedule.

 04/20/2023    JNP    FN        Conference with Maxim B. Litvak regarding DIP         0.60      1595.00       $957.00
                                financing and contested hearing strategy.

 04/20/2023    JNP    FN        Conference with M. Healy regarding DIP financing      0.30      1595.00       $478.50
                                and contested hearing strategy.

 04/20/2023    JNP    FN        Review of interim DIP order.                          0.20      1595.00       $319.00

 04/20/2023    JNP    FN        Conference with G.. Richards regarding DIP            0.20      1595.00       $319.00
                                financing and contested hearing strategy.

 04/20/2023    JNP    FN        Conference with McDermott Will and Emery,             0.50      1595.00       $797.50
                                Jeffrey W. Dulberg and Maxim B. Litvak regarding
                                DIP financing hearing.

 04/20/2023    JNP    FN        Draft email regarding proposed schedule for           0.10      1595.00       $159.50
                                depositions.

 04/20/2023    JNP    FN        Review excerpts of DIP credit agreement.              0.20      1595.00       $319.00

 04/20/2023    JNP    FN        Email to J Elrod regarding discovery.                 0.10      1595.00       $159.50

 04/20/2023    JNP    FN        Brief review of priming term sheet.                   0.10      1595.00       $159.50

 04/20/2023    JNP    FN        Review pleadings regarding financing motion.          0.50      1595.00       $797.50

 04/20/2023    JNP    FN        Conference with J. Elrod regarding DIP financing      0.30      1595.00       $478.50
                                hearing and discussions regarding alternatives.

 04/20/2023    JNP    FN        Conference with M . Healy regarding call with J.      0.10      1595.00       $159.50
                                Elrod and Lenders current position.

 04/20/2023    JNP    FN        Conference with Maxim B. Litvak regarding latest      0.20      1595.00       $319.00
                                on DIP financing.

 04/20/2023    JNP    FN        Conference with G. Richards regarding call with J.    0.20      1595.00       $319.00
                                Elrod and status.

 04/20/2023    JNP    FN        Conference with G. Richards regarding alternative     0.10      1595.00       $159.50
                                DIP financing.
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                                                                                        Hours           Rate      Amount

 04/20/2023    JNP    FN        Conference with Jeffrey W. Dulberg regarding             0.20      1595.00        $319.00
                                status.

 04/20/2023    JNP    FN        Conference with M. Helt regarding call with J. Elrod     0.30      1595.00        $478.50
                                and status.

 04/20/2023    JNP    FN        Conference with Michael D. Warner regarding              0.10      1595.00        $159.50
                                sealing documents.

 04/20/2023    JWD    FN        Work on issues re DIP expense motion                     0.10      1295.00        $129.50

 04/20/2023    JWD    FN        Attend Committee update call and follow up emails        0.50      1295.00        $647.50
                                re same

 04/20/2023    JWD    FN        Review and comment to priming term sheet                 0.20      1295.00        $259.00

 04/20/2023    JWD    FN        Review and comment to pleadings re financing             0.30      1295.00        $388.50

 04/20/2023    JWD    FN        Review early draft of expense reimbursement mtn          0.20      1295.00        $259.00

 04/20/2023    JWD    FN        Review and manage weekly fee reserve transfer            0.10      1295.00        $129.50

 04/20/2023    JWD    FN        Review comments to priming term sheet                    0.20      1295.00        $259.00

 04/20/2023    JWD    FN        Emails with team re DIP expense motion                   0.10      1295.00        $129.50

 04/20/2023    MBL    FN        Call with J. Pomerantz and H. Kevane re DIP loan         0.90      1445.00       $1,300.50
                                and cash collateral issues; follow-up emails re same.

 04/20/2023    MBL    FN        Draft excerpts of relevant DIP provisions.               0.50      1445.00        $722.50

 04/20/2023    MBL    FN        Call with committee counsel re DIP loan status and       0.40      1445.00        $578.00
                                discovery issues.

 04/20/2023    MBL    FN        Call with J. Pomerantz re alternative DIP term sheet.    0.20      1445.00        $289.00

 04/20/2023    MBL    FN        Revise alternative DIP term sheet and revise with        1.50      1445.00       $2,167.50
                                comments from team.

 04/20/2023    MBL    FN        Review revised witness and exhibit list for DIP          0.10      1445.00        $144.50
                                hearing.

 04/20/2023    MBL    FN        Review and revise motion for expense                     1.50      1445.00       $2,167.50
                                reimbursement re alternative DIP.

 04/20/2023    MBL    FN        Update call with J. Pomerantz re DIP status.             0.20      1445.00        $289.00

 04/20/2023    BLW    FN        Correspondence re: DIP Negotiations.                     0.10        895.00        $89.50

 04/20/2023    BLW    FN        Correspond re: UST Account designations.                 0.10        895.00        $89.50

 04/21/2023    HCK    FN        Memos to / from G. Richards and J. Pomerantz re          0.20      1550.00        $310.00
                                priming DIP loan term sheet.
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 04/21/2023    HCK    FN        Memos to / from J. Pomerantz and J. Elrod re             0.20      1550.00        $310.00
                                alternative DIP Financing proposals.

 04/21/2023    HCK    FN        Revise / edit expense reimbursement motion from          0.90      1550.00       $1,395.00
                                M. Litvak and circulate markup.

 04/21/2023    HCK    FN        Memos to / from J. Dulberg and M. Litvak re further      0.20      1550.00        $310.00
                                edits to expense reimbursement motion.

 04/21/2023    HCK    FN        Follow-up with J. Dulberg and B. Wallen re filing        0.30      1550.00        $465.00
                                expense reimbursement motion.

 04/21/2023    HCK    FN        Review GPM counsel markup to proposed                    0.40      1550.00        $620.00
                                alternative DIP financing term sheet and follow-up
                                with M. Litvak and J. Pomerantz re edits.

 04/21/2023    HCK    FN        Memos to / from group re updated budget and 4/14         0.30      1550.00        $465.00
                                variance report.

 04/21/2023    HCK    FN        Review further markup to GPM alternative DIP term        0.10      1550.00        $155.00
                                sheet from M. Litvak.

 04/21/2023    HCK    FN        Memos to / from M. Litvak and J. Pomerantz re DIP        0.30      1550.00        $465.00
                                loan discussions / open issues.

 04/21/2023    HCK    FN        Follow-up with J. Pomerantz et al. re DIP loan           0.10      1550.00        $155.00
                                resolution.

 04/21/2023    JNP    FN        Emails to and from J. Elrod and circulate alternative    0.30      1595.00        $478.50
                                DIP term sheet.

 04/21/2023    JNP    FN        Conference with G. Richards regarding status of          0.20      1595.00        $319.00
                                alternative DIP.

 04/21/2023    JNP    FN        Conference with T. Howley regarding alternative          0.20      1595.00        $319.00
                                DIP.

 04/21/2023    JNP    FN        Conference with Raymond James, FTI, and Jeffrey          0.50      1595.00        $797.50
                                W. Dulberg regarding status of DIP discussions.

 04/21/2023    JNP    FN        Conference with Michael D. Warner regarding              0.20      1595.00        $319.00
                                financing hearing and strategy.

 04/21/2023    JNP    FN        Review revisions to alternative DIP term sheet.          0.20      1595.00        $319.00

 04/21/2023    JNP    FN        Conference with G Richards regarding alternative         0.10      1595.00        $159.50
                                DIP term sheet.

 04/21/2023    JNP    FN        Conference with Maxim B. Litvak regarding                0.10      1595.00        $159.50
                                alternative DIP term sheet.

 04/21/2023    JNP    FN        Conference with FTI, Raymond James, Jeffrey W.           0.40      1595.00        $638.00
                                Dulberg and Maxim B. Litvak regarding latest on
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                                                                                       Hours           Rate      Amount
                                DIP discussions.
 04/21/2023    JNP    FN        Conference with C. Gibbs regarding status of            0.30      1595.00        $478.50
                                financing discussions.

 04/21/2023    JNP    FN        Conference with M. Healy regarding response to          0.10      1595.00        $159.50
                                latest DIP proposal.

 04/21/2023    JNP    FN        Email responses to J. Elrod DIP proposal.               0.20      1595.00        $319.00

 04/21/2023    JNP    FN        Conference with J. Elrod regarding DIP                  0.30      1595.00        $478.50
                                negotiations.

 04/21/2023    JNP    FN        Review of motion for DIP expense fee.                   0.20      1595.00        $319.00

 04/21/2023    JNP    FN        Conference with Maxim B. Litvak regarding motion        0.10      1595.00        $159.50
                                for DIP expense fee.

 04/21/2023    JNP    FN        Review Committee opposition to DIP financing.           0.20      1595.00        $319.00

 04/21/2023    JNP    FN        Emails with T. Howley regarding alternative DIP.        0.10      1595.00        $159.50

 04/21/2023    JNP    FN        Review latest turn of alternative DIP term sheet.       0.10      1595.00        $159.50

 04/21/2023    JWD    FN        Review Committee's filed version of the recon           0.20      1295.00        $259.00
                                motion and emails with Committee counsel and M
                                Litvak re same

 04/21/2023    JWD    FN        Review and revise expense reimbursement motion          0.50      1295.00        $647.50
                                (.2) respond to various emails re same (.2) and work
                                on issues for late filing (.1)

 04/21/2023    JWD    FN        Call with J Pomerantz re financing and review and       0.20      1295.00        $259.00
                                respond to FTI emails re same

 04/21/2023    JWD    FN        Call with Healy, Richards, Pomerantz re financing       0.30      1295.00        $388.50
                                update

 04/21/2023    JWD    FN        Call with FTI, RJ and J Pomerantz and M Litvak re       0.40      1295.00        $518.00
                                financing

 04/21/2023    JWD    FN        Calls with J Pomerantz re expense motion and DIP        0.20      1295.00        $259.00
                                update

 04/21/2023    JWD    FN        Review final version of expense motion                  0.20      1295.00        $259.00

 04/21/2023    JWD    FN        Oversee filing of expense motion                        0.30      1295.00        $388.50

 04/21/2023    JWD    FN        Work on various issues re expense motion and            0.70      1295.00        $906.50
                                working with team re same

 04/21/2023    MBL    FN        Revise motion for expense reimbursement re              1.20      1445.00       $1,734.00
                                alternative DIP with comments from team (1.0);
                                emails with team and confer with H. Kevane re same
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                                (0.2).
 04/21/2023    MBL    FN        Review committee motion for relief from interim         0.20      1445.00        $289.00
                                DIP order.

 04/21/2023    MBL    FN        Emails with team re DIP loan status.                    0.20      1445.00        $289.00

 04/21/2023    MBL    FN        Prep depo outline re DIP issues.                        0.50      1445.00        $722.50

 04/21/2023    MBL    FN        Review revised DIP term sheet from alternative          0.40      1445.00        $578.00
                                lender; emails with team re same.

 04/21/2023    MBL    FN        Call with J. Pomerantz re DIP loan status and           0.10      1445.00        $144.50
                                comments to revised DIP term sheet.

 04/21/2023    MBL    FN        Revise DIP term sheet from alternative lender.          0.50      1445.00        $722.50

 04/21/2023    MBL    FN        Call with debtor advisors and team re status of DIP     0.30      1445.00        $433.50
                                discussions with lenders.

 04/21/2023    MBL    FN        Further revisions and updates to expense                0.60      1445.00        $867.00
                                reimbursement motion; finalize for filing.

 04/21/2023    MBL    FN        Call with J. Pomerantz re comments to expense           0.10      1445.00        $144.50
                                reimbursement motion.

 04/21/2023    MBL    FN        Emails with team and client re DIP settlement           0.20      1445.00        $289.00
                                discussions.

 04/21/2023    BLW    FN        Multiple calls (3x) re: Expense reimbursement.          0.30        895.00       $268.50

 04/21/2023    MDW    FN        Multiple DIP Strategy calls with attorney J.            0.90      1495.00       $1,345.50
                                Pomerantz.

 04/22/2023    HCK    FN        Memos to / from J. Pomerantz, et al. re Committee       0.10      1550.00        $155.00
                                open issues re DIP loan resolution.

 04/22/2023    HCK    FN        Memos to / from M. Litvak et al. re DIP loan            0.30      1550.00        $465.00
                                revision and supplement to motion.

 04/22/2023    HCK    FN        Memos to / from J. Pomerantz and M. Litvak re final     0.20      1550.00        $310.00
                                order revisions and expense reimbursement.

 04/22/2023    HCK    FN        Memos to / from M. Litvak re DIP loan reply.            0.10      1550.00        $155.00

 04/22/2023    HCK    FN        Review redline to final DIP order from J. Elrod and     0.60      1550.00        $930.00
                                memos to / from M. Litvak re further comments.

 04/22/2023    HCK    FN        Follow-up with M. Litvak re further changes to final    0.20      1550.00        $310.00
                                DIP order.

 04/22/2023    HCK    FN        Briefly review markup to DIP credit agreement from      0.20      1550.00        $310.00
                                J. Elrod.
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 04/22/2023    JNP    FN        Conference with Maxim B. Litvak (2x) regarding         0.20      1595.00        $319.00
                                DIP financing order.

 04/22/2023    JNP    FN        Conference with FTI and Maxim B. Litvak                0.50      1595.00        $797.50
                                regarding new budget to support amended DIP.

 04/22/2023    JNP    FN        Review budget and emails to FTI regarding same.        0.20      1595.00        $319.00

 04/22/2023    JNP    FN        Conference with A. Spirito and J. Davis regarding      0.10      1595.00        $159.50
                                reporting and covenants.

 04/22/2023    JNP    FN        Review revised DIP order.                              0.20      1595.00        $319.00

 04/22/2023    JNP    FN        Conference with J. Elrod regarding status.             0.10      1595.00        $159.50

 04/22/2023    JNP    FN        Emails with C. Gibbs regarding DIP order.              0.10      1595.00        $159.50

 04/22/2023    JNP    FN        Review revised alternative financing term sheet        0.10      1595.00        $159.50
                                from T. Howley and email regarding same.

 04/22/2023    JNP    FN        Emails with J. Elrod regarding DIP and brief review    0.20      1595.00        $319.00
                                of first amendment.

 04/22/2023    JWD    FN        Call with J Pomerantz re financing update and          0.20      1295.00        $259.00
                                emails with team re same

 04/22/2023    JWD    FN        Review status of financing                             0.30      1295.00        $388.50

 04/22/2023    MBL    FN        Emails with team and opposing counsel re DIP           0.30      1445.00        $433.50
                                settlement discussions and status.

 04/22/2023    MBL    FN        Draft insert for final DIP order re expense            0.20      1445.00        $289.00
                                reimbursement.

 04/22/2023    MBL    FN        Review draft committee DIP objection; emails with      0.50      1445.00        $722.50
                                team re same.

 04/22/2023    MBL    FN        Review revised DIP term sheet from alternative         0.10      1445.00        $144.50
                                lender.

 04/22/2023    MBL    FN        Review and comment on revised budget; emails with      0.40      1445.00        $578.00
                                team re same.

 04/22/2023    MBL    FN        Review revisions to final DIP order from lenders;      0.50      1445.00        $722.50
                                emails with team and lender counsel re same.

 04/22/2023    MBL    FN        Call with team and FTI re revised budget.              0.50      1445.00        $722.50

 04/23/2023    JNP    FN        Conference with RJ, FTI, PSZJ, Lender and              0.70      1595.00       $1,116.50
                                Committee professionals regarding DIP status and
                                negotiations.l

 04/23/2023    JNP    FN        Conference with Jeffrey W. Dulberg after all hands     0.10      1595.00        $159.50
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                                call regarding DIP status and negotiations.
 04/23/2023    JNP    FN        Various calls with M. Helt regarding DIP status and     0.80      1595.00       $1,276.00
                                negotiations.

 04/23/2023    JNP    FN        Conference with M. Healy regarding DIP                  0.10      1595.00        $159.50
                                negotiations and covenants.

 04/23/2023    JNP    FN        Conference with Maxim B. Litvak regarding DIP           0.20      1595.00        $319.00
                                credit agreement amendment.

 04/23/2023    JNP    FN        Debtors, Committee and Lenders lawyer call              0.30      1595.00        $478.50
                                regarding DIP Order.

 04/23/2023    JNP    FN        Emails to and from T. Howley regarding status of        0.10      1595.00        $159.50
                                financing.

 04/23/2023    JNP    FN        Review latest version of DIP budget and emails          0.30      1595.00        $478.50
                                regarding same.

 04/23/2023    JWD    FN        Review and respond to emails re DIP update              0.20      1295.00        $259.00

 04/23/2023    JWD    FN        Attend call with lenders re update                      0.70      1295.00        $906.50

 04/23/2023    MBL    FN        Review and revise amended DIP credit agreement          1.50      1445.00       $2,167.50
                                and first amendment.

 04/23/2023    MBL    FN        Calls with J. Pomerantz and M. Healy re DIP and         0.60      1445.00        $867.00
                                budget issues; amended DIP agreement.

 04/23/2023    MBL    FN        Emails with team, FTI, RJ, and lender counsel re        0.50      1445.00        $722.50
                                DIP loan and budget issues.

 04/23/2023    MBL    FN        Draft revisions to variance testing provisions.         0.20      1445.00        $289.00

 04/23/2023    MBL    FN        Calls with J. Pomerantz re DIP status issues (0.2);     0.40      1445.00        $578.00
                                follow-up emails with committee counsel and FTI re
                                same (0.2).

 04/23/2023    MBL    FN        Call with committee and lender counsel and J.           0.30      1445.00        $433.50
                                Pomerantz re open DIP issues.

 04/23/2023    SWG    FN        Participate in call with Debtors' professionals, DIP    0.70        895.00       $626.50
                                Lender professionals, and UCC professionals re:
                                DIP

 04/23/2023    BLW    FN        Review and revise notice of Final DIP Order.            0.20        895.00       $179.00

 04/24/2023    HCK    FN        Memos to / from M. Litvak and B. Wallen re notice       0.10      1550.00        $155.00
                                of final DIP order.

 04/24/2023    HCK    FN        Memos to / from J. Pomerantz re updated DIP             0.10      1550.00        $155.00
                                budget.
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 04/24/2023    HCK    FN        Review accumulated memos re J. Elrod draft              0.50      1550.00        $775.00
                                amendment to DIP credit agreement and review M.
                                Litvak markups.

 04/24/2023    HCK    FN        Review DIP filings for tomorrow's hearing.              0.10      1550.00        $155.00

 04/24/2023    JNP    FN        Conference with J. Elrod, McDermott, and M.             0.50      1595.00        $797.50
                                Healy regarding DIP financing negotiations.

 04/24/2023    JNP    FN        Conference with M. Healy regarding DIP financing        0.30      1595.00        $478.50
                                negotiations.

 04/24/2023    JNP    FN        Email to Committee and Lenders regarding status of      0.10      1595.00        $159.50
                                DIP discussions.

 04/24/2023    JNP    FN        Conference with J. Elrod regarding status of DIP.       0.10      1595.00        $159.50

 04/24/2023    JNP    FN        Conference with M. Helt regarding status of DIP         0.40      1595.00        $638.00
                                (multiple).

 04/24/2023    JNP    FN        Conference with Jeffrey W. Dulberg regarding status     0.10      1595.00        $159.50
                                of DIP.

 04/24/2023    JNP    FN        Conference with Maxim B. Litvak regarding status        0.10      1595.00        $159.50
                                of DIP.

 04/24/2023    JNP    FN        Review revised DIP documents.                           0.20      1595.00        $319.00

 04/24/2023    JNP    FN        Calls, emails and review of final documents             1.50      1595.00       $2,392.50
                                regarding DIP financing.

 04/24/2023    JWD    FN        Review J Wainwright comments to order and emails        0.10      1295.00        $129.50
                                re same

 04/24/2023    JWD    FN        Call with J Pomerantz re financing                      0.10      1295.00        $129.50

 04/24/2023    JWD    FN        Oversee completion of DIP financing filings             0.70      1295.00        $906.50

 04/24/2023    JWD    FN        Work on issues re finalizing DIP, possible motion to    0.50      1295.00        $647.50
                                seal re expense motion

 04/24/2023    MBL    FN        Review revised budget; emails with team, FTI, and       0.30      1445.00        $433.50
                                opposing counsel re DIP and budget status.

 04/24/2023    MBL    FN        Review and revise lender versions of DIP order and      1.40      1445.00       $2,023.00
                                credit agreement (1.0); calls with J. Pomerantz and
                                emails with team re same (0.4).

 04/24/2023    MBL    FN        Calls with FTI re DIP budget issues.                    0.20      1445.00        $289.00

 04/24/2023    MBL    FN        Review AF Global comments to DIP order and              0.30      1445.00        $433.50
                                supplemental objection.
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 04/24/2023    MBL    FN        Call with J. Pomerantz and M. Helt re DIP issues       0.60      1445.00        $867.00
                                (0.4); review further revisions to credit agreement
                                and emails with lender counsel re same (0.2).

 04/24/2023    MBL    FN        Final revisions to final DIP order; emails with        1.00      1445.00       $1,445.00
                                opposing counsel re same and coordinate filing.

 04/24/2023    SWG    FN        Draft and send email to UST re: cash management        0.10        895.00        $89.50

 04/24/2023    BLW    FN        Calls (2x) with Ms. Jeffries re: upcoming DIP Order    0.20        895.00       $179.00
                                and related filings.

 04/24/2023    BLW    FN        Call with Mr. Litvak re: Final DIP Order.              0.20        895.00       $179.00

 04/24/2023    BLW    FN        Finalize DIP Order Notice, agenda, and amended         1.70        895.00      $1,521.50
                                W/E list and coordinate filing of same (including
                                Final DIP Order).

 04/24/2023    MDW    FN        Address issues internally re final DIP Order and       1.20      1495.00       $1,794.00
                                suggested changes.

 04/25/2023    JWD    FN        Attend DIP/KERP hearing                                1.80      1295.00       $2,331.00

 04/25/2023    HCK    FN        Confer with M. Litvak re final DIP open issues and     0.10      1550.00        $155.00
                                review J. Elrod memos.

 04/25/2023    HCK    FN        Confer with M. Litvak re outcome of today's final      0.10      1550.00        $155.00
                                DIP hearing.

 04/25/2023    JNP    FN        Participate in financing hearing.                      3.30      1595.00       $5,263.50

 04/25/2023    JNP    FN        Calls and emails regarding final financing order.      0.30      1595.00        $478.50

 04/25/2023    JNP    FN        Prepare for financing hearing and emails and calls     1.50      1595.00       $2,392.50
                                relating thereto.

 04/25/2023    PJJ    FN        Prepare final DIP order for submission (.4); upload    0.60        545.00       $327.00
                                same (.2).

 04/25/2023    JWD    FN        Call with J Pomerantz re DIP hearing                   0.10      1295.00        $129.50

 04/25/2023    JWD    FN        Emails re status of weekly fee reserve transfer        0.10      1295.00        $129.50

 04/25/2023    JWD    FN        Review email from new TX school district counsel       0.30      1295.00        $388.50
                                and emails with M Litvak re same (.2); email to
                                counsel (.1)

 04/25/2023    JWD    FN        Review entered DIP order                               0.10      1295.00        $129.50

 04/25/2023    MBL    FN        Review committee comments to final DIP order;          0.30      1445.00        $433.50
                                emails with opposing counsel and team re same.

 04/25/2023    MBL    FN        Call with M. Healy re hearing prep.                    0.10      1445.00        $144.50
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 04/25/2023    MBL    FN        Review and comment on M. Healy proffer re DIP           0.30      1445.00        $433.50
                                hearing.

 04/25/2023    MBL    FN        Attend final DIP hearing.                               2.00      1445.00       $2,890.00

 04/25/2023    MBL    FN        Revisions to final DIP order following hearing;         0.50      1445.00        $722.50
                                coordinate filing.

 04/25/2023    MBL    FN        Calls with lender and committee counsel re final DIP    0.30      1445.00        $433.50
                                order revisions; update J. Pomerantz re same.

 04/25/2023    BLW    FN        Prepare for and attend Final DIP Hearing and KERP       5.10        895.00      $4,564.50
                                Motion.

 04/25/2023    BLW    FN        Call with Mr. Pomerantz re: Final DIP Hearing.          0.10        895.00        $89.50

 04/25/2023    BLW    FN        Call with Mr. Litvak re: final DIP Order.               0.10        895.00        $89.50

 04/25/2023    BLW    FN        Alert court to filing of final DIP Order.               0.10        895.00        $89.50

 04/26/2023    JWD    FN        Review email from TX district counsel re lien           0.10      1295.00        $129.50
                                priority and draft response re same

 04/26/2023    JWD    FN        Review DIP counsel fee invoice and email with team      0.20      1295.00        $259.00
                                re handling

 04/26/2023    JWD    FN        Call with J Pomerantz re DIP expense                    0.20      1295.00        $259.00
                                reimbursement and emails with counsel to recipient
                                re same

 04/26/2023    MBL    FN        Emails with lender counsel and FTI re final DIP         0.30      1445.00        $433.50
                                order; execution of DIP amendment.

 04/27/2023    JNP    FN        Emails regarding next draw on DIP.                      0.10      1595.00        $159.50

 04/27/2023    MBL    FN        Review and comment on amended loan documents            0.60      1445.00        $867.00
                                for execution (0.4); emails with lender counsel and
                                client re same (0.2).

 04/27/2023    MBL    FN        Call with M. Healy re execution of amended loan         0.10      1445.00        $144.50
                                documents.

 04/27/2023    MBL    FN        Emails with team re DIP milestones and timelines.       0.20      1445.00        $289.00

 04/28/2023    HCK    FN        Memos to / from J. Dulberg and M. Litvak re DIP         0.10      1550.00        $155.00
                                loan charges.

 04/28/2023    JNP    FN        Emails with J. Elrod and others regarding budget        0.10      1595.00        $159.50
                                line item expense for reimbursement of expenses.

 04/28/2023    JWD    FN        Review email from J Elrod re expense                    0.20      1295.00        $259.00
                                reimbursement and email with counsel for same
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 04/28/2023    JWD    FN        Emails with J Pomerantz and J Elrod re expense           0.20      1295.00          $259.00
                                award (.1); call with J Pomerantz re same (.1)

 04/28/2023    JWD    FN        Review DIP reporting                                     0.10      1295.00          $129.50

 04/28/2023    MBL    FN        Emails with team re expense reimbursement to DIP         0.10      1445.00          $144.50
                                lender.

 04/28/2023    MBL    FN        Review weekly financial reporting to lenders; emails     0.20      1445.00          $289.00
                                with FTI re same.

 04/28/2023    MBL    FN        Final review of DIP amendment documents;                 0.40      1445.00          $578.00
                                coordinate closing with lender counsel and update
                                client.

 04/30/2023    JWD    FN        Review and comment to FTI presentation for lenders       0.50      1295.00          $647.50

                                                                                       128.30                    $181,096.50

  General Creditors Comm. [B150]
 04/04/2023    JNP    GC        Emails regarding committee formation.                    0.10      1595.00          $159.50

 04/04/2023    JWD    GC        Review committee appointment and emails                  0.10      1295.00          $129.50
                                regarding same

 04/06/2023    HCK    GC        Memos to / from J. Dulberg et al. re Committee           0.10      1550.00          $155.00
                                hearing extension.

 04/06/2023    JNP    GC        Email to and from C. Gibbs regarding Committee           0.10      1595.00          $159.50
                                retention.

 04/06/2023    JNP    GC        Conference with McDermott and Jeffrey W. Dulberg         0.70      1595.00         $1,116.50
                                regarding case background and pending issues.

 04/06/2023    JWD    GC        Attend Committee intro call                              0.60      1295.00          $777.00

 04/07/2023    JNP    GC        Participate on call with MWE and Jeffrey W.              0.40      1595.00          $638.00
                                Dulberg regarding case issues.

 04/07/2023    JNP    GC        Follow-up with Jeffrey W. Dulberg after call with        0.10      1595.00          $159.50
                                MWE.

 04/07/2023    JNP    GC        Email to and from C. Gibbs regarding Committee           0.10      1595.00          $159.50
                                requests regarding hearings and other issues.

 04/07/2023    JNP    GC        Emails with Jeffrey W. Dulberg regarding                 0.10      1595.00          $159.50
                                Committee extension request.

 04/07/2023    JNP    GC        Emails with M. Healy regarding DIP negotiations          0.10      1595.00          $159.50
                                with Committee.

 04/07/2023    JWD    GC        Review Committee agenda for call                         0.10      1295.00          $129.50
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 04/07/2023    JWD    GC        Attend meeting with Committee counsel (.4); draft        0.60      1295.00        $777.00
                                notes re same (.2)

 04/07/2023    JWD    GC        Call with J Pomerantz re Committee counsel email         0.10      1295.00        $129.50

 04/08/2023    JNP    GC        Emails with M. Healy regarding summary of call           0.10      1595.00        $159.50
                                with Committee counsel.

 04/08/2023    JNP    GC        Conference with Jeffrey W. Dulberg regarding             0.10      1595.00        $159.50
                                Committee Bylaws and confidentiality.

 04/08/2023    JNP    GC        Review of confidentiality provisions of Bylaws and       0.40      1595.00        $638.00
                                emails with C. Gibbs regarding same.

 04/08/2023    JWD    GC        Review MWE confi terms and response from J               0.20      1295.00        $259.00
                                Pomerantz re same

 04/08/2023    JWD    GC        Review emails and respond re Committee requests          0.10      1295.00        $129.50

 04/10/2023    HCK    GC        Memos to / from J. Dulberg et al. re Committee DIP       0.20      1550.00        $310.00
                                loan issues.

 04/10/2023    HCK    GC        Memos to / from group re Province / Committee            0.30      1550.00        $465.00
                                information requests.

 04/10/2023    HCK    GC        Memos to / from M. Helt et al. re Committee              0.10      1550.00        $155.00
                                comments to final DIP order.

 04/10/2023    JWD    GC        Review comments to DCM order from Committee              0.70      1295.00        $906.50
                                (.1); call with J Pomerantz re same (.3); call with A
                                Spirito re same (.1); review notice re Committee
                                question on hearing and respond to same (.2)

 04/10/2023    JWD    GC        Respond to Committee requests re pending motions         0.10      1295.00        $129.50

 04/11/2023    HCK    GC        Follow-up with J. Pomerantz et al. re Committee          0.40      1550.00        $620.00
                                issues list for final DIP hearing and review same.

 04/11/2023    HCK    GC        Review Committee DIP loan issues list and markups        0.60      1550.00        $930.00
                                to final DIP order and prepare for today's Committee
                                conference call.

 04/11/2023    HCK    GC        Committee conference call with M. Helt, J.               0.70      1550.00       $1,085.00
                                Pomerantz, J. Dulberg, M. Kandestin and C.
                                Crowden re DIP loan, other matters for 4/14 hearing.

 04/11/2023    HCK    GC        Memos to / from J. Dulberg et al. re Province            0.20      1550.00        $310.00
                                diligence requests.

 04/11/2023    JNP    GC        Email with McDermott regarding Bylaws.                   0.10      1595.00        $159.50

 04/11/2023    JWD    GC        Call with Committee profs re dealer and cameron          0.60      1295.00        $777.00
                                issues
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 04/12/2023    JNP    GC        Emails with Committee counsel regarding Bylaws         0.10      1595.00        $159.50
                                and review latest draft.

 04/12/2023    JWD    GC        Call with Committee counsel                            0.50      1295.00        $647.50

 04/13/2023    HCK    GC        Memos to / from C. Cowden et al. re Committee DIP      0.20      1550.00        $310.00
                                loan objection and updated order.

 04/13/2023    JWD    GC        Review Committee counsel email re signed confi         0.10      1295.00        $129.50
                                terms

 04/13/2023    JWD    GC        Address Committee requests and call with S Golden      0.40      1295.00        $518.00
                                re same

 04/14/2023    JWD    GC        Emails with Committee counsel re weekly calls          0.10      1295.00        $129.50

 04/16/2023    HCK    GC        Review numerous memos to / from group re               0.50      1550.00        $775.00
                                Committee comments to DIP final order.

 04/17/2023    HCK    GC        Confer with M. Litvak re Committee comments to         0.10      1550.00        $155.00
                                final DIP order.

 04/17/2023    HCK    GC        Review C. Cowden markup and M. Helt markup to          0.30      1550.00        $465.00
                                final DIP order (Committee comments).

 04/17/2023    JWD    GC        Review email from Committee re admin issue and         0.10      1295.00        $129.50
                                email with team re same

 04/17/2023    JWD    GC        Emails re Committee requests                           0.10      1295.00        $129.50

 04/18/2023    HCK    GC        Memos to / from J. Pomerantz and M. Helt re            0.20      1550.00        $310.00
                                Committee request for DIP continuance.

 04/19/2023    JWD    GC        Attend committee weekly update call                    1.00      1295.00       $1,295.00

 04/19/2023    SWG    GC        Participate in (partial) weekly call with Committee    0.70        895.00       $626.50

 04/21/2023    HCK    GC        Review Committee DIP loan response and sealing         0.10      1550.00        $155.00
                                motion.

 04/21/2023    HCK    GC        Review Committee's motion to reconsider DIP            0.20      1550.00        $310.00
                                financing.

 04/21/2023    HCK    GC        Review final form of Committee DIP objection.          0.20      1550.00        $310.00

 04/26/2023    JNP    GC        Weekly meeting with McDermott Will & Emery,            0.60      1595.00        $957.00
                                Jeffrey W. Dulberg and Steven W. Golden.

 04/26/2023    JNP    GC        Email to and from J. Elrod regarding provision of      0.10      1595.00        $159.50
                                information to Committee.

 04/26/2023    JWD    GC        Attend Committee call                                  0.60      1295.00        $777.00
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 04/26/2023    SWG    GC        Participate in weekly call with Committee counsel      0.70         895.00        $626.50

 04/27/2023    JWD    GC        Emails with B Wallen re Committee requests             0.10       1295.00         $129.50

 04/27/2023    JWD    GC        Emails with B Wallen re OCP retention and              0.20       1295.00         $259.00
                                Committee requests

 04/27/2023    JWD    GC        Review FTI email re Committee production protocol      0.10       1295.00         $129.50

 04/27/2023    JWD    GC        Respond to emails re concerns with sharing DIP         0.20       1295.00         $259.00
                                term sheets

 04/27/2023    JWD    GC        Emails with Committee counsel re weekly call           0.10       1295.00         $129.50

                                                                                       15.80                    $21,983.00

  Insurance Coverage
 04/04/2023    JWD    IC        Review D&O tail update                                 0.10       1295.00         $129.50

 04/05/2023    IAWN IC          Exchange emails with Jeff Dulberg re issue             0.10       1395.00         $139.50

 04/05/2023    JWD    IC        Review email from insurance broker re tail and         0.10       1295.00         $129.50
                                emails re same with I Nasatir

 04/10/2023    IAWN IC          Review and comment on warranty language                0.20       1395.00         $279.00

 04/10/2023    JWD    IC        Review email from broker and I Nasatir and follow      0.20       1295.00         $259.00
                                up with M Flaharty and C Barbarosh re same

 04/11/2023    JWD    IC        Email with broker re next steps for tail               0.10       1295.00         $129.50

 04/11/2023    JWD    IC        Emails with M Flaharty re tail                         0.10       1295.00         $129.50

 04/11/2023    JWD    IC        Emails with C Barbarosh re tail update                 0.10       1295.00         $129.50

 04/16/2023    JWD    IC        Email with insurance broker re tail update             0.10       1295.00         $129.50

 04/17/2023    IAWN IC          Review emails with broker re insurance                 0.30       1395.00         $418.50

 04/17/2023    JWD    IC        Emails with K Massey re update; emails with C          0.20       1295.00         $259.00
                                Barbarosh re same

 04/25/2023    JWD    IC        Review broker email and work on finalizing             0.20       1295.00         $259.00
                                warranty letter and emails with broker and C
                                Barbarosh re same

 04/27/2023    IAWN IC          Review emails with broker re warranty                  0.20       1395.00         $279.00

 04/27/2023    JWD    IC        Review executed warranty letter for tail policy and    0.20       1295.00         $259.00
                                email to K Massey re same

 04/27/2023    JWD    IC        Review email from K Massey re tail status and email    0.10       1295.00         $129.50
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                                to C Barbarosh re same

                                                                                            2.30                    $3,058.50

  Litigation (Non-Bankruptcy)
 04/01/2023    BLW    LN        Review prepetition litigation tracker, revise notice of    0.70         895.00       $626.50
                                bankruptcy, and chordate with Ms. Jeffries re:
                                revisions to same and next steps.

 04/02/2023    PJJ    LN        Update litigation tracker.                                 0.80         545.00       $436.00

 04/03/2023    PJJ    LN        Continue work on litigation chart.                         0.50         545.00       $272.50

 04/05/2023    JWD    LN        Review emails re termination and potential lit (.2);       0.30       1295.00        $388.50
                                call with G Demo re same (.1)

 04/05/2023    JWD    LN        Work on mgmt of litigation team                            0.30       1295.00        $388.50

 04/05/2023    BLW    LN        Review information and correspond with GC re:              0.40         895.00       $358.00
                                Suggestions of bankruptcy.

 04/06/2023    SWG    LN        Calls with G. Demo, J. Pomerantz, et al. re: various       0.50         895.00       $447.50
                                outside litigation issues

 04/06/2023    GVD    LN        Multiple correspondence with PSZJ re litigation            0.20       1250.00        $250.00
                                issues

 04/06/2023    GVD    LN        Conference with D. Turcot re potential additional          1.20       1250.00       $1,500.00
                                litigation and next steps

 04/06/2023    GVD    LN        Conference with PSZJ working group re litigation           0.50       1250.00        $625.00
                                issues (0.3); conference with PSZJ and N. Lansing
                                re litigation Issues (0.2)

 04/06/2023    BLW    LN        Call with GC re: suggestions of bankruptcy.                0.10         895.00        $89.50

 04/07/2023    GVD    LN        Review open litigation issues and correspondence re        0.20       1250.00        $250.00
                                same

 04/08/2023    GVD    LN        Conference with D. Turcot about status of litigation       0.30       1250.00        $375.00
                                and next steps

 04/10/2023    PJJ    LN        Telephone conference with Ben L. Wallen regarding          0.40         545.00       $218.00
                                litigation stay notices (.2); email Neil copy of
                                dismissal order (.2).

 04/10/2023    JWD    LN        Review issues re Stewartsville                             0.20       1295.00        $259.00

 04/10/2023    GVD    LN        Review open issues re potential Imperial litigation        0.70       1250.00        $875.00
                                and conference with J. Pomerantz re same

 04/10/2023    BLW    LN        Correspond re: suggestions of bankruptcy.                  0.40         895.00       $358.00
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 04/11/2023    JNP    LN        Conference with team regarding various outstanding        0.50      1595.00        $797.50
                                litigation matters being handled by outside counsel.

 04/11/2023    PJJ    LN        Update litigation tracker.                                0.80        545.00       $436.00

 04/11/2023    JWD    LN        Draft email to N Lansing and review response              0.20      1295.00        $259.00

 04/11/2023    JWD    LN        Review responses from J Johnston and call with J          0.50      1295.00        $647.50
                                Johnston re litigation update

 04/11/2023    GVD    LN        Conferences with counsel to Imperial re potential         1.60      1250.00       $2,000.00
                                resolution and next steps (0.5); review open issues re
                                Imperial litigation and potential resolution of claims
                                (0.3); conference with client working group re
                                Imperial litigation and next steps (0.3); draft
                                Imperial settlement agreement (0.5)

 04/11/2023    GVD    LN        Conference with B. Wallen re J. Johnston litigation       0.20      1250.00        $250.00
                                matters and transition

 04/11/2023    GVD    LN        Conference with PSZJ working group re transition          0.50      1250.00        $625.00
                                of J. Johnston legal matters

 04/11/2023    BLW    LN        Call with Mr. Demo re: prepetition litigation.            0.20        895.00       $179.00

 04/11/2023    BLW    LN        Correspond re: notices of stay.                           0.10        895.00        $89.50

 04/11/2023    BLW    LN        Call re: dealer litigation (partial).                     0.30        895.00       $268.50

 04/12/2023    PJJ    LN        Update litigation tracker and circulate.                  0.30        545.00       $163.50

 04/12/2023    GVD    LN        Conference with J. Johnston re pending litigation         1.80      1250.00       $2,250.00
                                and follow up correspondence with PSZJ re same
                                (1.1); draft litigation strategy recommendations and
                                correspondence with M. Healey re same (0.7)

 04/12/2023    GVD    LN        Conference with N. Lansing and PSZJ working               0.40      1250.00        $500.00
                                group re status of litigation and next steps

 04/12/2023    GVD    LN        Correspondence with MEX counsel re status of              0.10      1250.00        $125.00
                                litigations and conferences re same

 04/14/2023    PJJ    LN        Update litigation tracker.                                0.40        545.00       $218.00

 04/14/2023    JWD    LN        Review and respond to N Lansing and G Demo                0.60      1295.00        $777.00
                                emails re various litigations and stay issues

 04/14/2023    JWD    LN        Review emails re status of Samnosh litigation             0.20      1295.00        $259.00

 04/14/2023    BLW    LN        Confer with Mr. Demo re: GA taking action.                0.50        895.00       $447.50

 04/17/2023    PJJ    LN        Update litigation trackers; send to Peter J. Keane.       0.20        545.00       $109.00
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 04/17/2023    BLW    LN        Correspond re: notice of bankruptcy.                      0.10         895.00         $89.50

 04/19/2023    BLW    LN        Correspond with litigation firm re: workers comp          0.20         895.00        $179.00
                                lawsuit.

 04/20/2023    GVD    LN        Review research re stay of termination of real estate     1.00       1250.00        $1,250.00
                                contracts (0.8); conference with P. Keane re same
                                (0.2)

 04/20/2023    GVD    LN        Correspondence with B. Wallen re non-suit and             0.10       1250.00         $125.00
                                potential litigation

 04/24/2023    BLW    LN        Call with litigation counsel re: dealer issues.           0.30         895.00        $268.50

 04/25/2023    JWD    LN        Review G Demo email re litigation protocols and           0.20       1295.00         $259.00
                                email re same

 04/26/2023    JWD    LN        Review and respond to G Demo email re litigation          0.10       1295.00         $129.50
                                protocol

 04/27/2023    BLW    LN        Calls with claimant re: prepetition litigation issue.     0.30         895.00        $268.50

 04/28/2023    PJJ    LN        Update litigation tracker (.2); prepare notice of stay    0.60         545.00        $327.00
                                (.4) for Brothers Petroleum LLC.

 04/28/2023    PJJ    LN        Prepare stay notice for WHRG.                             0.30         545.00        $163.50

 04/28/2023    JWD    LN        Review emails re Paradies/Brothers lit and call with      0.20       1295.00         $259.00
                                S Golden re same

 04/28/2023    JWD    LN        Review and revise letter to DiRosa re Brothers lit        0.30       1295.00         $388.50
                                (.2); calls with S Golden re same (.1)

 04/28/2023    JWD    LN        Review corr re Paradies lit and call with S Golden re     0.20       1295.00         $259.00
                                same

 04/28/2023    SWG    LN        Call with B. Wallen (.2) regarding nonbankruptcy          0.40         895.00        $358.00
                                litigation in Louisiana; follow up email re: same (.2)

 04/28/2023    SWG    LN        Call with counsel to Brothers re: ongoing litigation      0.20         895.00        $179.00

 04/28/2023    SWG    LN        Call with counsel to Paradies re: pending litigation      0.50         895.00        $447.50

 04/28/2023    SWG    LN        Call with R. Kuebel re: Brothers litigation               0.30         895.00        $268.50

 04/28/2023    BLW    LN        Call with Mr. Golden re: prepetition litigation.          0.20         895.00        $179.00

                                                                                          22.60                    $23,516.00

  Meeting of Creditors [B150]
 04/06/2023    JWD    MC        Email re IDI and 341a hearing prep                        0.10       1295.00         $129.50
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 04/26/2023    SWG    MC        Prepare for 341 meeting with CRO.                          0.50         895.00       $447.50

 04/26/2023    BLW    MC        Call with CRO re: 341(a) meetings.                         0.50         895.00       $447.50

 04/27/2023    JWD    MC        Emails with B Wallen re meeting                            0.10       1295.00        $129.50

 04/27/2023    SWG    MC        Participate in initial 341 meeting of creditors            0.30         895.00       $268.50

 04/27/2023    BLW    MC        Prepare for and attend initial 341(a) meeting (.5);        0.90         895.00       $805.50
                                draft internal update re: same (.2); follow up call
                                with CRO re: same and case issues (.2).

                                                                                            2.40                    $2,228.00

  Operations [B210]
 04/01/2023    BLW    OP        Correspond re: Verizon utility information request.        0.10         895.00        $89.50

 04/02/2023    JWD    OP        Call with S Golden re interested party issues              0.20       1295.00        $259.00

 04/02/2023    BLW    OP        Review utility order re: adequate assurance                0.10         895.00        $89.50
                                demands.

 04/03/2023    JWD    OP        Call with lenders counsel re dealer motions etc            0.50       1295.00        $647.50

 04/03/2023    SWG    OP        Call with company re: Subway franchises                    0.30         895.00       $268.50

 04/03/2023    SWG    OP        Call with FTI team re: operational matters                 0.60         895.00       $537.00

 04/03/2023    SWG    OP        Call with J. Pomerantz re: operational matters.            0.30         895.00       $268.50

 04/03/2023    SWG    OP        Begin drafting memorandum re: affiliated                   2.90         895.00      $2,595.50
                                operational counterparties

 04/03/2023    GVD    OP        Correspondence with client re potential proposal on        0.10       1250.00        $125.00
                                Imperial claim

 04/03/2023    BLW    OP        Call with Company re: vendor issues.                       0.10         895.00        $89.50

 04/03/2023    BLW    OP        Call with vendor re: supply of goods and correspond        0.30         895.00       $268.50
                                re: same.

 04/03/2023    BLW    OP        Resolve numerous Utility shut off notices (5x).            1.80         895.00      $1,611.00

 04/04/2023    PJJ    OP        Review utility order (.2); emails regarding adequate       0.70         545.00       $381.50
                                assurance requests from Verizon & Huntsville
                                utilities (.3); calendar deadlines regarding same (.2).

 04/04/2023    JWD    OP        Work on various operating and dealer transaction           0.60       1295.00        $777.00
                                issues

 04/04/2023    SWG    OP        Continue drafting memorandum re: affiliated                3.50         895.00      $3,132.50
                                operational counterparties
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 04/04/2023    SWG    OP        Review and annotate invoice re: potential critical          0.30        895.00       $268.50
                                vendor

 04/04/2023    GVD    OP        Conference with client group and FTI re review of           1.10      1250.00       $1,375.00
                                contracts re potential real estate default issues (0.8);
                                conference with S. Golden and FTI re next steps on
                                potential default issues (0.2); conference with FTI re
                                disclosure of deficiency letters (0.1)

 04/04/2023    BLW    OP        Call with Debtors (.1) and follow up correspondence         0.20        895.00       $179.00
                                (.1) re: critical vendor issues.

 04/04/2023    BLW    OP        Respond to Utility Notice.                                  0.20        895.00       $179.00

 04/04/2023    BLW    OP        Review utility order, respond to Verizon re; same,          0.50        895.00       $447.50
                                and coordinate addition on Utility Schedule.

 04/04/2023    BLW    OP        Correspond with city of covington re: utilities.            0.10        895.00        $89.50

 04/04/2023    BLW    OP        Address OK Lottery equipment collection demands             1.10        895.00       $984.50
                                (.2), call OK representative (.1), call with Debtor
                                manager re: Lottery issues (.3); Calls with Mr.
                                Golden (.1) and Mr. Dulberg (.1) re: same; draft and
                                send response to OK Lottery re: same (.5).

 04/05/2023    HCK    OP        Review S. Golden memo re non-closed MEX                     0.40      1550.00        $620.00
                                purchase commitments and follow-up with C.
                                Mackle.

 04/05/2023    PJJ    OP        Review numerous emails regarding operational                1.60        545.00       $872.00
                                issues and open items (.8); update WIP accordingly
                                and circulate (.8).

 04/05/2023    JNP    OP        Conference with L. Frady regarding operations.              0.10      1595.00        $159.50

 04/05/2023    JNP    OP        Conference with Jeffrey W. Dulberg regarding call           0.10      1595.00        $159.50
                                with L. Frady.

 04/05/2023    JNP    OP        Conference with PSZJ team regarding review and              1.00      1595.00       $1,595.00
                                analysis of operational transactions (second of the
                                day).

 04/05/2023    MSP    OP        Meeting with S. Golden re: additional operational           0.50      1295.00        $647.50
                                issues; email exchange with S. Golden, Jeffrey
                                Pomerantz, et al. re: same (.10).

 04/05/2023    MSP    OP        Meeting with Jeffrey Pomerantz, J. Dulberg, S.              1.00      1295.00       $1,295.00
                                Golden, P. Jeffries re: operational issues.

 04/05/2023    MSP    OP        Work on operations issues; email exchange with              0.80      1295.00       $1,036.00
                                Jeffrey Pomerantz, S. Golden, et al. re: same (.10).

 04/05/2023    PJJ    OP        Review utility shut-off notice for CONUSC and               0.20        545.00       $109.00
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                                update WIP & utility list.
 04/05/2023    PJJ    OP        Conference call with Malhar S. Pagay and Steven W.      1.00        545.00       $545.00
                                Golden regarding operation issues.

 04/05/2023    JWD    OP        Attend call re transaction update                       1.00      1295.00       $1,295.00

 04/05/2023    JWD    OP        Emails re Cameron transaction                           0.10      1295.00        $129.50

 04/05/2023    SWG    OP        Call with PSZJ and FTI re: related party operational    1.00        895.00       $895.00
                                matters.

 04/05/2023    SWG    OP        Discussion with PSZJ team re: review of operational     1.00        895.00       $895.00
                                transactions.

 04/05/2023    SWG    OP        Call with M. Pagay re: additional operational           0.40        895.00       $358.00
                                matters

 04/05/2023    GVD    OP        Conference with vendor re potential vendor contract     0.20      1250.00        $250.00
                                issues

 04/05/2023    GVD    OP        Conference with client re Imperial counteroffer and     0.60      1250.00        $750.00
                                proposed response (0.3); draft email to Imperial re
                                same (0.3)

 04/05/2023    GVD    OP        Conference with J. Dulberg re potential additional      0.20      1250.00        $250.00
                                vendor breach and litigation

 04/05/2023    BLW    OP        Call with Oklahoma Lottery (.2) follow up               1.20        895.00      $1,074.00
                                correspondence re: same (.8) call with FTI re: same
                                (.2).

 04/05/2023    BLW    OP        Resolve numerous utility notices.                       2.20        895.00      $1,969.00

 04/06/2023    HCK    OP        Review DIP loan re ability to close pending             0.30      1550.00        $465.00
                                purchases.

 04/06/2023    JNP    OP        Conference with Steven W. Golden regarding Sysco        0.30      1595.00        $478.50
                                and related issues (2x).

 04/06/2023    MSP    OP        Meeting with S. Golden re: operational issues.          0.50      1295.00        $647.50

 04/06/2023    MSP    OP        Work on operational entity issues (1.70); email         1.80      1295.00       $2,331.00
                                exchange with P. Jeffries, R. Corbitt, S. Golden, et
                                al. regarding same (.10).

 04/06/2023    PJJ    OP        Attend call with Steven W. Golden, Victoria A.          0.90        545.00       $490.50
                                Newmark, Jonathan J. Kim and Jeffrey W. Dulberg
                                regarding current and historical transaction review.

 04/06/2023    JWD    OP        Review email re crit vendor issue and response re       0.10      1295.00        $129.50
                                same

 04/06/2023    JWD    OP        Analyze question from client re ops issue and email     0.30      1295.00        $388.50
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                                re same
 04/06/2023    JWD    OP        Analyze G Demo email and review issues re                0.30      1295.00        $388.50
                                non-rent paying dealers

 04/06/2023    JWD    OP        Email re timing of Cameron hearing                       0.10      1295.00        $129.50

 04/06/2023    SWG    OP        Call with FTI and PSZJ teams re: operational issues.     0.50        895.00       $447.50

 04/06/2023    SWG    OP        Respond to email from counsel to potential critical      0.20        895.00       $179.00
                                vendor

 04/06/2023    BLW    OP        Resolve numerous utility notices.                        0.80        895.00       $716.00

 04/07/2023    JNP    OP        Conference with Gregory V. Demo, Jeffrey W.              0.50      1595.00        $797.50
                                Dulberg Steven W. Golden and Ben L. Wallen
                                regarding dealer issues and concerns and strategy.

 04/07/2023    MSP    OP        Email exchange with S. Golden, L. Forrester              0.10      1295.00        $129.50
                                regarding related entity information.

 04/07/2023    JWD    OP        Call with S Golden re dealer issues                      0.10      1295.00        $129.50

 04/07/2023    JWD    OP        Work on various workstreams re dealer disputes and       0.30      1295.00        $388.50
                                review emails re same

 04/07/2023    SWG    OP        Call with B. Wallen re: critical vendor matters          0.60        895.00       $537.00

 04/07/2023    BLW    OP        Call with Mr. Golden re; dealer and critical vendor      1.20        895.00      $1,074.00
                                issues.

 04/07/2023    BLW    OP        Numerous correspondences re: TIS Reconciliation.         0.20        895.00       $179.00

 04/07/2023    BLW    OP        Address utility notice.                                  0.20        895.00       $179.00

 04/08/2023    JWD    OP        Emails w B Wallen re TIS requests                        0.10      1295.00        $129.50

 04/08/2023    MSP    OP        Email exchange with P. Jeffries regarding related        0.10      1295.00        $129.50
                                entity information.

 04/08/2023    MSP    OP        Work on operational entity issues (2.60); email          2.80      1295.00       $3,626.00
                                exchanged with J. Dulberg, S. Golden, P. Jeffries, et
                                al. regarding same (.20).

 04/08/2023    BLW    OP        Correspond re: critical vendor reconciliation.           0.10        895.00        $89.50

 04/09/2023    MSP    OP        Email exchange with J. Dulberg regarding                 0.10      1295.00        $129.50
                                operational entity issues.

 04/09/2023    JWD    OP        Review emails re 4 Court                                 0.40      1295.00        $518.00

 04/10/2023    MSP    OP        Review of operations and related entities.               0.90      1295.00       $1,165.50

 04/10/2023    PJJ    OP        Email FTI regarding Spectrum account request.            0.20        545.00       $109.00
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 04/10/2023    JWD    OP        Attend call with Committee counsel re DCM and           0.40      1295.00       $518.00
                                Cameron

 04/10/2023    JWD    OP        Emails with team re revisions to DCM order (.2);        0.60      1295.00       $777.00
                                review new email from J Gerber and work on
                                response to same (.4)

 04/10/2023    JWD    OP        Review email re Sysco and note to team                  0.10      1295.00       $129.50

 04/10/2023    JWD    OP        Call with S Golden re Sunoco issue                      0.10      1295.00       $129.50

 04/10/2023    GVD    OP        Correspondence re Imperial counsel re potential         0.20      1250.00       $250.00
                                settlement conference

 04/10/2023    GVD    OP        Conference with dealer counsel re potential claim       0.20      1250.00       $250.00
                                resolution

 04/10/2023    GVD    OP        Conference with counsel to Sunoco re information        0.50      1250.00       $625.00
                                request and next steps

 04/10/2023    BLW    OP        Correspond with FTI re: permitting fees.                0.10        895.00       $89.50

 04/10/2023    BLW    OP        Multiple calls (2x) (.4) and correspondence re:         0.60        895.00      $537.00
                                Critical vendor issue (.2).

 04/10/2023    BLW    OP        Address Utility disconnection notices.                  0.60        895.00      $537.00

 04/10/2023    BLW    OP        Call with FTI (.1) and Mr. Golden (.1) re: franchise    0.40        895.00      $358.00
                                issue and correspond re: same (.2).

 04/10/2023    BLW    OP        Review and correspond with FTI re: Utility AAP          0.90        895.00      $805.50
                                Demands.

 04/11/2023    PJJ    OP        Address utility service issues.                         0.60        545.00      $327.00

 04/11/2023    JWD    OP        Work on changes to order for DCM                        0.20      1295.00       $259.00

 04/11/2023    JWD    OP        Work on new order for Dealer Conversions and            0.40      1295.00       $518.00
                                emails with MWE and GT re same

 04/11/2023    JWD    OP        Call with BK counsel to Cameron                         0.10      1295.00       $129.50

 04/11/2023    JWD    OP        Emails with Pilot counsel re Cameron update (.2);       0.40      1295.00       $518.00
                                emails with FTI re same (.2); emails with Committee
                                counsel re same

 04/11/2023    SWG    OP        Review/comment on historical transition summary.        0.20        895.00      $179.00

 04/11/2023    SWG    OP        Call with client and FTI ream regarding dealer          0.50        895.00      $447.50
                                reconciliations

 04/11/2023    BLW    OP        Correspond with FTI re: GA Taxing Authorities.          0.20        895.00      $179.00
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 04/11/2023    BLW    OP        Numerous calls (6x) (1.1) and correspondence with     1.60        895.00      $1,432.00
                                FTI and vendors re: critical vendor issues (.5).

 04/11/2023    BLW    OP        Resolve utility shut off notices.                     0.70        895.00       $626.50

 04/11/2023    BLW    OP        Review critical vendor reconciliation.                0.20        895.00       $179.00

 04/11/2023    BLW    OP        Correspond with FTI re: utility issues.               0.10        895.00        $89.50

 04/11/2023    BLW    OP        Call with Mr. Demo re: Imperial Stipulation and       0.20        895.00       $179.00
                                follow up correspondence re: same.

 04/12/2023    JWD    OP        Review Brothers email re DCM and emails with          0.40      1295.00        $518.00
                                client and team re same (.3); email with Brothers
                                counsel re same (.1)

 04/12/2023    JNP    OP        Emails regarding dealer negotiated deals;             0.20      1595.00        $319.00
                                Conference with Jeffrey W. Dulberg regarding same.

 04/12/2023    PJJ    OP        Email to Spectrum regarding accounts information.     0.20        545.00       $109.00

 04/12/2023    JWD    OP        Call with R Kuebel re Brothers sale re dealer         0.20      1295.00        $259.00
                                conversion motion

 04/12/2023    JWD    OP        Call with B Wallen re utilities disruption            0.10      1295.00        $129.50

 04/12/2023    JWD    OP        Attend to litigation and lease workstreams            0.30      1295.00        $388.50

 04/12/2023    SWG    OP        Draft hearing notes for J. Pomerantz regarding        1.80        895.00      $1,611.00
                                Comeron motion

 04/12/2023    GVD    OP        Conference with FTI/Raymond James working             0.30      1250.00        $375.00
                                group re status of case and next steps

 04/12/2023    BLW    OP        Review and comment on Imperial stipulation.           0.40        895.00       $358.00

 04/12/2023    BLW    OP        Correspond with FTI re: fuel taxes.                   0.10        895.00        $89.50

 04/12/2023    BLW    OP        Resolve numerous utility shut off notices.            2.70        895.00      $2,416.50

 04/12/2023    BLW    OP        Multiple correspondences re: KeyBank information.     0.30        895.00       $268.50

 04/12/2023    BLW    OP        Call (.6) and follow up correspondence (.2) re:       0.80        895.00       $716.00
                                critical vendor.

 04/12/2023    BLW    OP        Draft Proffer re: dealer conversion and cameron       1.30        895.00      $1,163.50
                                transaction.

 04/13/2023    HCK    OP        Memos to / from S. Golden and J. Pomerantz re         0.60      1550.00        $930.00
                                XOM incentive payments and rebates.

 04/13/2023    HCK    OP        Review numerous XOM agreements re wholesale /         1.30      1550.00       $2,015.00
                                retail fuel supply and upgrade incentives.
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 04/13/2023    HCK    OP        Telephone call with D. Turcot re XOM withhold of        0.50      1550.00        $775.00
                                site incentives and further review agreements.

 04/13/2023    JNP    OP        Conference with FTI, client and Jeffrey W. Dulberg      0.70      1595.00       $1,116.50
                                regarding various operational and leasing issues.

 04/13/2023    JNP    OP        Conference with M. Healy regarding variety of           0.20      1595.00        $319.00
                                operational issues.

 04/13/2023    JNP    OP        Conference with P. Singerman regarding operational      0.20      1595.00        $319.00
                                issues.

 04/13/2023    JNP    OP        Review of emails regarding Exxon agreement and          0.20      1595.00        $319.00
                                Conference with M. Healy regarding same.

 04/13/2023    JWD    OP        Respond to Committee counsel email re Cameron           0.10      1295.00        $129.50
                                transaction

 04/13/2023    JWD    OP        Respond to emails re lease rent issues                  0.10      1295.00        $129.50

 04/13/2023    JWD    OP        Attend call with client and FTI re lease rent and AR    0.90      1295.00       $1,165.50
                                Global issues (.7); follow up call with J Pomerantz
                                (.1); follow up call with V Newmark (.1)

 04/13/2023    JWD    OP        Emails with team re notices for Dealer transactions     0.10      1295.00        $129.50

 04/13/2023    JWD    OP        Emails with counsel to Pilot re Cameron hearing         0.20      1295.00        $259.00

 04/13/2023    JWD    OP        Email with client re surety issue                       0.20      1295.00        $259.00

 04/13/2023    JWD    OP        Review and respond to email from Brothers counsel       0.20      1295.00        $259.00
                                re DCM

 04/13/2023    JWD    OP        Emails re surety issues                                 0.10      1295.00        $129.50

 04/13/2023    JWD    OP        Emails and work on issues re Brothers response to       0.70      1295.00        $906.50
                                DCM

 04/13/2023    JWD    OP        Telephone conference with Jeffrey N. Pomerantz          0.10      1295.00        $129.50
                                regarding dealer transactions

 04/13/2023    JWD    OP        Review issues re XON and emails re same                 0.20      1295.00        $259.00

 04/13/2023    JWD    OP        Work on order for Dealer Conversion Procedures          0.30      1295.00        $388.50

 04/13/2023    JWD    OP        Emails with Brothers counsel re DCP order and           0.40      1295.00        $518.00
                                issues re same; emails with team re same

 04/13/2023    JWD    OP        Prepare for hearing, prepare proffer, study order       2.20      1295.00       $2,849.00
                                changes

 04/13/2023    JWD    OP        Emails with Committee re Brothers objections,           0.30      1295.00        $388.50
                                attempts to resolve`
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 04/13/2023    SWG    OP        Call with P. Batista regarding Subway franchises       0.20        895.00       $179.00

 04/13/2023    SWG    OP        Call with R. Kuebel and J. Dulberg regarding dealer    0.30        895.00       $268.50
                                conversion motion

 04/13/2023    GVD    OP        Conference with S. Golden re status of the case and    0.20      1250.00        $250.00
                                working list

 04/13/2023    BLW    OP        Call with counsel for critical vendor.                 0.20        895.00       $179.00

 04/13/2023    BLW    OP        Resolve multiple Utility Notices.                      1.30        895.00      $1,163.50

 04/13/2023    BLW    OP        Revise Cameron and Dealer Conversion Proffer.          0.20        895.00       $179.00

 04/13/2023    BLW    OP        Draft CV Agreement.                                    0.90        895.00       $805.50

 04/13/2023    BLW    OP        Call with Mr. Demo re: dealer issues.                  0.30        895.00       $268.50

 04/13/2023    BLW    OP        Call with critical vendor.                             0.10        895.00        $89.50

 04/14/2023    HCK    OP        Follow-up with D. Turcot re XOM suspended image        0.10      1550.00        $155.00
                                incentives.

 04/14/2023    BLW    OP        Calls (3x) with FTI re: Critical vendor.               0.40        895.00       $358.00

 04/14/2023    JNP    OP        Conference with Ben L. Wallen regarding Exxon,         0.10      1595.00        $159.50
                                rebates, affect on liquidity and operations.

 04/14/2023    JNP    OP        Emails regarding provision of information to           0.20      1595.00        $319.00
                                interested parties.

 04/14/2023    JNP    OP        Conference with J. Elrod, J. Tibus, RJ, Grant          0.80      1595.00       $1,276.00
                                Thornton, FTI, Jeffrey W. Dulberg and Maxim B.
                                Litvak regarding operations; DIP and professional
                                retentions.

 04/14/2023    JNP    OP        Conference with P. Singerman regarding case status     0.30      1595.00        $478.50
                                and operational issues.

 04/14/2023    JNP    OP        Conference with M. Healy regarding call with P.        0.20      1595.00        $319.00
                                Singerman regarding operational issues.

 04/14/2023    JNP    OP        Emails with Jeffrey W. Dulberg regarding TSI.          0.10      1595.00        $159.50

 04/14/2023    PJJ    OP        Emails from/to FTI regarding Spectrum accounts.        0.30        545.00       $163.50

 04/14/2023    JWD    OP        Prep for (.3) and attend hearing re DCP motion         1.30      1295.00       $1,683.50

 04/14/2023    JWD    OP        Review and respond to emails with Brothers'            0.30      1295.00        $388.50
                                counsel re DCP order and revise same

 04/14/2023    JWD    OP        Attend call with client re TIS issues                  0.40      1295.00        $518.00

 04/14/2023    JWD    OP        Call with TIS and counsel re CV and claim              0.30      1295.00        $388.50
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 04/14/2023    JWD    OP        Call with B Wallen re TIS update                          0.10      1295.00        $129.50

 04/14/2023    JWD    OP        Call with client team re TIS mgmt                         0.30      1295.00        $388.50

 04/14/2023    JWD    OP        Emails with J Pomerantz re TIS issues                     0.10      1295.00        $129.50

 04/14/2023    GVD    OP        Review requests to amend contracts and                    0.40      1250.00        $500.00
                                correspondence re same

 04/14/2023    GVD    OP        Conference with S. Golden re potential post petition      0.20      1250.00        $250.00
                                transactions

 04/14/2023    GVD    OP        Correspondence with Golden re case status                 0.10      1250.00        $125.00

 04/14/2023    GVD    OP        Conference with FTI and Raymond James working             0.40      1250.00        $500.00
                                groups re open issues

 04/14/2023    BLW    OP        Address numerous utility issues and correspond re:        1.50        895.00      $1,342.50
                                adequate assurance demand.

 04/14/2023    BLW    OP        Correspond re: critical vendor issues.                    0.30        895.00       $268.50

 04/14/2023    BLW    OP        Correspond with FTI re: critical vendor.                  0.20        895.00       $179.00

 04/14/2023    BLW    OP        Calls with FTI (.5) and vendor (.3) re: CV treatment      0.90        895.00       $805.50
                                and follow up corespondence (.1).

 04/14/2023    BLW    OP        Revise Critical vendor agreement.                         0.10        895.00        $89.50

 04/17/2023    MSP    OP        Work on operating entity issues; email exchange           1.80      1295.00       $2,331.00
                                with R. Corbitt, J. Davis, S. Golden, et al. regarding
                                same (.10).

 04/17/2023    PJJ    OP        Advise KCC to serve additional utility recipients         0.30        545.00       $163.50
                                with motions order.

 04/17/2023    JWD    OP        Review utility request for adequate assurance             0.10      1295.00        $129.50

 04/17/2023    SWG    OP        Call with FTI and client re: oil company agreements       0.80        895.00       $716.00

 04/17/2023    SWG    OP        Create chart re: acquisition pipeline                     2.70        895.00      $2,416.50

 04/17/2023    GVD    OP        Conference with FTI and Raymond James re open             0.50      1250.00        $625.00
                                issues and priorities

 04/17/2023    GVD    OP        Return call re Store 557 issues                           0.10      1250.00        $125.00

 04/17/2023    BLW    OP        Call with TIS.                                            0.20        895.00       $179.00

 04/17/2023    BLW    OP        Address numerous utility shut off notices.                1.40        895.00      $1,253.00

 04/18/2023    MSP    OP        Meeting with S. Golden, et al. regarding operational      0.60      1295.00        $777.00
                                issues follow-up.
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 04/18/2023    MSP    OP        Work on operating entity issues; email exchange         2.80      1295.00       $3,626.00
                                with P. Singerman, et al. regarding same (.10).

 04/18/2023    PJJ    OP        Respond to Spectrum utility request.                    0.10        545.00        $54.50

 04/18/2023    PJJ    OP        Respond to Black Hills utility request.                 0.10        545.00        $54.50

 04/18/2023    PJJ    OP        Telephone conference with Ben L. Wallen regarding       0.20        545.00       $109.00
                                utility deposit requests.

 04/18/2023    SWG    OP        Continue chart re: acquisition pipeline                 0.90        895.00       $805.50

 04/18/2023    SWG    OP        Call re: affiliate operational issues                   0.60        895.00       $537.00

 04/18/2023    GVD    OP        Conference with FTI, Raymond James, and PSZJ re         0.70      1250.00        $875.00
                                open issues

 04/18/2023    GVD    OP        Correspondence with FTI re dealer conversion            0.20      1250.00        $250.00
                                issues

 04/18/2023    GVD    OP        Review amendments to contracts and                      0.40      1250.00        $500.00
                                correspondence with client re same

 04/18/2023    BLW    OP        Review and respond re: adequate assurance demands       1.90        895.00      $1,700.50
                                (.5); call with utility counsel re: same (.1); and
                                address utility shutoff demands (1.3).

 04/19/2023    JNP    OP        Email regarding replacement dealer and process for      0.10      1595.00        $159.50
                                approving.

 04/19/2023    BLW    OP        Correspond re: contract buy out mechanics.              0.10        895.00        $89.50

 04/19/2023    MSP    OP        Meeting with S. Golden, J. Davis, et al. regarding      0.50      1295.00        $647.50
                                operational issues follow-up.

 04/19/2023    MSP    OP        Email exchange with Jeffrey Pomerantz, S. Golden,       0.10      1295.00        $129.50
                                et al. regarding operational entity issues.

 04/19/2023    PJJ    OP        Telephone conference with Ben L. Wallen regarding       0.60        545.00       $327.00
                                additional utility providers (.1); email KCC
                                regarding service of same (.2); review utility order
                                regarding additional parties (.3).

 04/19/2023    PJJ    OP        Telephone conference with Ben L. Wallen regarding       0.30        545.00       $163.50
                                utility service (.1); email KCC regarding same (.2).

 04/19/2023    JWD    OP        Analyze various operations and acq issues and           0.80      1295.00       $1,036.00
                                emails with team re same

 04/19/2023    SWG    OP        Call with J. Dulberg and G. Demo re: pending            0.30        895.00       $268.50
                                acquisitions

 04/19/2023    SWG    OP        Review and comment on proposed critical vendor          0.10        895.00        $89.50
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                                                                                         Hours           Rate     Amount
                                agreement
 04/19/2023    SWG    OP        Call with J. Pomerantz re: operational question           0.20        895.00       $179.00

 04/19/2023    GVD    OP        Review lease amendment and correspondence re              0.30      1250.00        $375.00
                                same

 04/19/2023    GVD    OP        Conference with FTI, Raymond James, and S.                0.40      1250.00        $500.00
                                Golden re open issues and next steps

 04/19/2023    BLW    OP        Resolve numerous utility shutoff notices.                 4.10        895.00      $3,669.50

 04/19/2023    BLW    OP        Call with counsel for Entergy re: Additional              0.20        895.00       $179.00
                                assurance requests.

 04/19/2023    BLW    OP        Calls (3x) with FTI re: utility issues.                   0.60        895.00       $537.00

 04/19/2023    BLW    OP        Calls (2x) with Mr. Dulberg re: utility issues and        0.30        895.00       $268.50
                                work flows.

 04/19/2023    BLW    OP        Calls with Ms. Jeffries (2x) re: utility issues.          0.40        895.00       $358.00

 04/19/2023    BLW    OP        Correspond with FTI and Ms. Jeffries re:                  0.20        895.00       $179.00
                                supplemental utility service.

 04/20/2023    HCK    OP        Telephone call with S. Golden re utility disconnects.     0.10      1550.00        $155.00

 04/20/2023    MSP    OP        Meeting with S. Golden regarding operational              0.20      1295.00        $259.00
                                issues.

 04/20/2023    MSP    OP        Work on operational entity issues (3.40); email           3.50      1295.00       $4,532.50
                                exchange with S. Golden, et al. regarding same
                                (.10).

 04/20/2023    JWD    OP        Review emails re utilities issues                         0.10      1295.00        $129.50

 04/20/2023    JWD    OP        Calls with B Wallen and J Pomerantz re utilities (.1);    0.20      1295.00        $259.00
                                email with P Keane re same (.1)

 04/20/2023    JWD    OP        Assist team and oversee utility team                      0.30      1295.00        $388.50

 04/20/2023    SWG    OP        Call with J. Davis re: utility issues                     0.20        895.00       $179.00

 04/20/2023    GVD    OP        Correspondence with PSZJ working group re                 0.30      1250.00        $375.00
                                proposed lease amendment and construction costs

 04/20/2023    GVD    OP        Review proposed lease and correspondence with             0.30      1250.00        $375.00
                                group re same

 04/20/2023    GVD    OP        Conference with FTI re real estate cure issues (0.2);     0.50      1250.00        $625.00
                                conference with FTI and client re real estate cure
                                issues (0.3)

 04/20/2023    GVD    OP        Conference with FTI, Raymond James, and S.                0.50      1250.00        $625.00
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                                                                                        Hours           Rate     Amount
                                Golden re daily priorities and next steps
 04/20/2023    BLW    OP        Resolve and address numerous utility shut off            3.10        895.00      $2,774.50
                                notices.

 04/20/2023    BLW    OP        Address multiple adequate assurance demands.             0.20        895.00       $179.00

 04/20/2023    BLW    OP        Call with FTI re: utility issues.                        0.20        895.00       $179.00

 04/20/2023    BLW    OP        Calls and correspondence with Mr. Keane re: utility      0.30        895.00       $268.50
                                issues.

 04/21/2023    JNP    OP        Conference with Gregory V. Demo, Jeffrey W.              0.30      1595.00        $478.50
                                Dulberg and Steven W. Golden regarding dealer
                                non-compliance issues.

 04/21/2023    JNP    OP        Conference with FTI, Gregory V. Demo, Jeffrey W.         0.50      1595.00        $797.50
                                Dulberg and Steven W. Golden regarding dealer
                                non-compliance issues.

 04/21/2023    JNP    OP        Conference with Jeffrey W. Dulberg regarding             0.10      1595.00        $159.50
                                Adelphi transport.

 04/21/2023    MSP    OP        Review freight rates issue (.80); email exchange         0.90      1295.00       $1,165.50
                                with S. Golden, J. Dulberg, et al. regarding same
                                (.10).

 04/21/2023    MSP    OP        Work on operational entity and lease issues; email       1.10      1295.00       $1,424.50
                                exchange with S. Golden, L. Waldrop, et al.
                                regarding same (.10).

 04/21/2023    JWD    OP        Call with client and FTI re Connect                      0.40      1295.00        $518.00

 04/21/2023    JWD    OP        Call with G Demo, J Pomerantz, S Golden re               0.30      1295.00        $388.50
                                operations issues

 04/21/2023    JWD    OP        Work on issues re Adelphi                                0.50      1295.00        $647.50

 04/21/2023    JWD    OP        Call with client group and FTI re Poolers and follow     0.80      1295.00       $1,036.00
                                up call with FTI

 04/21/2023    SWG    OP        Call with client, PSZJ, and FTI teams re: notice of      0.50        895.00       $447.50
                                liens

 04/21/2023    SWG    OP        Call with J. Ruff re: cash management                    0.10        895.00        $89.50

 04/21/2023    SWG    OP        Draft and send email to P. Battista re: Subway           0.30        895.00       $268.50
                                franchise transition

 04/21/2023    SWG    OP        Call with PSZJ team (.3) and FTI team (.5) re: dealer    0.80        895.00       $716.00
                                compliance issues

 04/21/2023    SWG    OP        Revise critical vendor agreement with SPATCO             0.30        895.00       $268.50
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 04/21/2023    GVD    OP        Conference with FTI and client re cure issues            0.30      1250.00        $375.00

 04/21/2023    GVD    OP        Conference with PSZJ working group on credit card        0.80      1250.00       $1,000.00
                                issues (0.3); conference with PSZJ and FTI on credit
                                processing issues (0.5)

 04/21/2023    GVD    OP        Correspondence with client re lease amendment and        0.10      1250.00        $125.00
                                next steps

 04/21/2023    GVD    OP        Correspondence with FTI re conversion issues             0.10      1250.00        $125.00

 04/21/2023    BLW    OP        Correspond re: utility issues.                           0.20        895.00       $179.00

 04/21/2023    BLW    OP        Call with Mr. Keane re: utility issues.                  0.20        895.00       $179.00

 04/22/2023    MSP    OP        Review freight rates issue and assist with preparing     3.20      1295.00       $4,144.00
                                board presentation (3.10); email exchange with J.
                                Dulberg, et al. regarding same (.10).

 04/22/2023    JWD    OP        Email to M Pagay re insider transaction issue            0.10      1295.00        $129.50

 04/23/2023    JNP    OP        Review analysis of Adelphi relationship and emails       0.20      1595.00        $319.00
                                regarding same.

 04/23/2023    MSP    OP        Work on freight rates issue and assist with preparing    2.50      1295.00       $3,237.50
                                board presentation (2.40); email exchange with J.
                                Dulberg, Jeffrey Pomerantz, et al. regarding same
                                (.10).

 04/23/2023    JWD    OP        Review and revise Adelphi Trans presentation             0.90      1295.00       $1,165.50

 04/23/2023    JWD    OP        Further review and revise Adelphi presentation           0.40      1295.00        $518.00

 04/23/2023    JWD    OP        Further work on slides re Adelphi Transport              0.30      1295.00        $388.50

 04/24/2023    PJK    OP        Draft stipulation/order re store 384                     1.00      1025.00       $1,025.00
                                termination/buyout, emails with PSZJ team re same,
                                review docs re same

 04/24/2023    SWG    OP        Call with N. Lansing re: Connect Express deal            0.20        895.00       $179.00

 04/24/2023    GVD    OP        Conference with FTI, Raymond James, and S.               0.40      1250.00        $500.00
                                Golden re open issues and next steps

 04/24/2023    GVD    OP        Correspondence with client re lease amendment re         0.20      1250.00        $250.00
                                construction costs

 04/24/2023    BLW    OP        Review and correspond with FTI re: utility account       0.30        895.00       $268.50
                                closures.

 04/24/2023    BLW    OP        Review and correspond re: adequate assurance             0.40        895.00       $358.00
                                demands.
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 04/24/2023    BLW    OP        Resolve multiple utility disconnect notices.            1.10        895.00       $984.50

 04/25/2023    BLW    OP        Review and comment on close out transaction             0.20        895.00       $179.00
                                stipulation

 04/25/2023    MSP    OP        Work on operating entity issues; email exchange         2.00      1295.00       $2,590.00
                                with S. Golden, J. Dulberg, et al. regarding same
                                (.10).

 04/25/2023    PJJ    OP        Prepare insurance warranty letter.                      0.10        545.00        $54.50

 04/25/2023    JWD    OP        Review A Silfen email re status of rejection motion     0.20      1295.00        $259.00
                                and emails with team re same

 04/25/2023    BLW    OP        Correspond re; utility AAP inquiry.                     0.10        895.00        $89.50

 04/25/2023    BLW    OP        Calls and correspondence re: utility disconnection      0.40        895.00       $358.00
                                notice.

 04/26/2023    JWD    OP        Review Connect issues and email with S Golden re        0.10      1295.00        $129.50
                                same

 04/26/2023    BLW    OP        Call with utility company re: resolution of             0.30        895.00       $268.50
                                disconnect notice (.1) and correspondences re: same
                                (.2).

 04/26/2023    BLW    OP        Address and resolve AAP demand from AEP.                0.30        895.00       $268.50

 04/26/2023    BLW    OP        Coordinate collection of INW equipment.                 0.30        895.00       $268.50

 04/26/2023    BLW    OP        Call re; Duke AAP Demand (.2) and address with          0.50        895.00       $447.50
                                FTI (.3).

 04/26/2023    BLW    OP        Calls (2x) with FTI re: utility issues.                 0.40        895.00       $358.00

 04/27/2023    MSP    OP        Work on operational entity issues.                      3.80      1295.00       $4,921.00

 04/27/2023    PJJ    OP        Update utility chart.                                   0.30        545.00       $163.50

 04/27/2023    JWD    OP        Emails with S Golden and J Pomerantz re Connect         0.10      1295.00        $129.50
                                Exp

 04/27/2023    SWG    OP        Calls re: Subway franchise operations                   0.30        895.00       $268.50

 04/27/2023    GVD    OP        Conference with FTI, Raymond James, and S.              0.50      1250.00        $625.00
                                Golden re open issues and next steps

 04/27/2023    GVD    OP        Conference with K. LaBrada re default tracking re       0.20      1250.00        $250.00
                                dealer contracts

 04/27/2023    BLW    OP        Address utility service/deposit issues (.3) and Call    0.50        895.00       $447.50
                                with FTI re: same (.2).
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 04/27/2023    BLW    OP        Review Duke AAP settlement proposal.                      0.10        895.00          $89.50

 04/27/2023    BLW    OP        Calls with utility providers to resolve disconnection     0.50        895.00         $447.50
                                notices.

 04/27/2023    BLW    OP        Call with counsel for critical vendor.                    0.10        895.00          $89.50

 04/27/2023    BLW    OP        Call re: oil company agreements.                          1.00        895.00         $895.00

 04/28/2023    JNP    OP        Conference with M. Healy regarding operations, fuel       0.30      1595.00          $478.50
                                reporting and related.

 04/28/2023    PJJ    OP        Emails from and to PSZJ group regarding                   0.60        545.00         $327.00
                                WHRGOPS SW LA entity status (.2); research
                                regarding same (.4).

 04/28/2023    PJJ    OP        Email to FTI regarding Spectrum accounts and cross        0.20        545.00         $109.00
                                reference with Debtor entities.

 04/28/2023    JWD    OP        Attend call with counsel to Connect Express               0.30      1295.00          $388.50

 04/28/2023    JWD    OP        Review and respond to emails re dealer dispute            0.20      1295.00          $259.00

 04/28/2023    JWD    OP        Emails re Moore transaction                               0.10      1295.00          $129.50

 04/28/2023    GVD    OP        Conference with FTI, Raymond James, and S.                0.50      1250.00          $625.00
                                Golden re open issues and next steps

 04/28/2023    GVD    OP        Correspondence with client re lease amendment             0.10      1250.00          $125.00
                                issues

 04/28/2023    BLW    OP        Correspond re: utility disconnect issues.                 0.20        895.00         $179.00

                                                                                        156.90                    $170,367.50

  Retention of Prof. [B160]
 04/01/2023    VAN    RP        Draft Raymond James employment application.               1.30      1175.00         $1,527.50

 04/01/2023    VAN    RP        Draft/revise motion to retain ordinary course             0.60      1175.00          $705.00
                                professionals.

 04/02/2023    VAN    RP        Draft ordinary course professionals motion.               0.60      1175.00          $705.00

 04/03/2023    PJJ    RP        Update/clean-up matrix for conflicts search.              2.00        545.00        $1,090.00

 04/03/2023    BLW    RP        Draft PSZJ Retention Application.                         1.60        895.00        $1,432.00

 04/03/2023    BLW    RP        Call with Ms. Jeffries re: PSZJ retention issues.         0.20        895.00         $179.00

 04/03/2023    VAN    RP        Email correspondence with Jake Wainwright                 0.20      1175.00          $235.00
                                regarding Raymond James employment application.
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                                                                                     Hours           Rate     Amount

 04/04/2023    GFB    RP        Review and analyze conflicts data; draft emails to    1.10      1050.00       $1,155.00
                                Ira Kharasch, Richard Pachulski, Brad Sandler, and
                                Michael Warner regarding same.

 04/04/2023    JWD    RP        Review email from OCP and call re same                0.10      1295.00        $129.50

 04/04/2023    JWD    RP        Work on issues re RJ retention with new counsel       0.20      1295.00        $259.00

 04/04/2023    BLW    RP        Continue to work on PSZJ Retention Application.       0.50        895.00       $447.50

 04/04/2023    BLW    RP        Correspond with Ms. Newmark re: FTI Retention.        0.20        895.00       $179.00

 04/05/2023    PJJ    RP        Review/revise PSZJ retention application.             0.30        545.00       $163.50

 04/05/2023    JWD    RP        Review and revise PSZJ empl app (.3); emails with     0.80      1295.00       $1,036.00
                                team re conflicts review (.2) and work on related
                                issues (.3)

 04/05/2023    BLW    RP        Draft PSZJ Retention Application.                     2.50        895.00      $2,237.50

 04/05/2023    VAN    RP        Review/revise draft FTI CRO employment                1.00      1175.00       $1,175.00
                                application.

 04/06/2023    JNP    RP        Emails regarding retention application.               0.10      1595.00        $159.50

 04/06/2023    PJJ    RP        Update parties in interest list and circulate.        0.50        545.00       $272.50

 04/06/2023    PJJ    RP        Revise employment application (PSZJ) (.2);            0.30        545.00       $163.50
                                telephone conference with Jeffrey W. Dulberg and
                                Ben L. Wallen regarding same (.1).

 04/06/2023    JWD    RP        Review issues and emails to FTI and N Lansing re      0.30      1295.00        $388.50
                                OCP issues

 04/06/2023    JWD    RP        Work on various retention apps                        0.30      1295.00        $388.50

 04/06/2023    JWD    RP        Review updated PSZJ app and emails re conflicts       0.20      1295.00        $259.00
                                review

 04/06/2023    JWD    RP        Emails re PSZJ retention                              0.10      1295.00        $129.50

 04/06/2023    JWD    RP        Review RJ dec materials                               0.60      1295.00        $777.00

 04/06/2023    BLW    RP        Call with Mr. Dulberg and Ms. Jeffries re: PSZJ       0.10        895.00        $89.50
                                Retention.

 04/06/2023    BLW    RP        Revise PSZJ retention application.                    0.20        895.00       $179.00

 04/06/2023    VAN    RP        Analysis regarding ordinary course professionals      0.30      1175.00        $352.50
                                motion.

 04/06/2023    VAN    RP        Revise FTI employment application.                    0.50      1175.00        $587.50

 04/07/2023    JNP    RP        Emails with M. Healy and Gregory V. Demo              0.10      1595.00        $159.50
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                                                                                          Hours           Rate     Amount
                                regarding retention of counsel to pursue dealer
                                litigation.
 04/07/2023    JNP    RP        Emails with Jeffrey W. Dulberg regarding ordinary          0.20      1595.00        $319.00
                                course professionals motion.

 04/07/2023    JNP    RP        Review retention application.                              0.10      1595.00        $159.50

 04/07/2023    JWD    RP        Work on OCP issues                                         1.50      1295.00       $1,942.50

 04/07/2023    GVD    RP        Conference with proposed special litigation counsel        0.50      1250.00        $625.00
                                re retention and next steps

 04/07/2023    BLW    RP        Revise and finalize initial draft of PSZJ Retention        0.50        895.00       $447.50
                                Application.

 04/07/2023    BLW    RP        Numerous correspondences re: OCP Retention                 0.40        895.00       $358.00
                                issues and motion.

 04/07/2023    BLW    RP        Calls (2x) re: initial issues and onboarding of special    1.20        895.00      $1,074.00
                                litigation counsel (.8) and correspondences re: same
                                (.4).

 04/07/2023    VAN    RP        Revise FTI employment application.                         0.40      1175.00        $470.00

 04/07/2023    VAN    RP        Phone conference with FTI regarding ordinary               0.80      1175.00        $940.00
                                course professionals motion.

 04/07/2023    VAN    RP        Draft/revise ordinary course professionals motion.         1.00      1175.00       $1,175.00

 04/07/2023    VAN    RP        Analysis regarding motion to appoint independent           0.70      1175.00        $822.50
                                directors, including phone conference with Ben
                                Wallen regarding same.

 04/08/2023    JWD    RP        Review and respond to B Wallen re OCP issue                0.10      1295.00        $129.50

 04/08/2023    BLW    RP        Call with Mr. Warner re: OCP (.1) and correspond           0.30        895.00       $268.50
                                with Mr. Dulberg re: same (.2).

 04/09/2023    JWD    RP        Review emails re spec counsel retention and work           0.10      1295.00        $129.50
                                on same

 04/09/2023    JWD    RP        Emails with (.2) and calls with (.1) B Wallen re           0.30      1295.00        $388.50
                                employment app work streams

 04/09/2023    JWD    RP        Review issues and article re ind director retentions       0.90      1295.00       $1,165.50
                                (.5); calls with J Pomerantz and B Wallen re same
                                (.3); call with C Barabarosh re same (.1)

 04/09/2023    JWD    RP        Review and revise FTI application and related              0.70      1295.00        $906.50
                                pleadings

 04/09/2023    JWD    RP        Review V Newmark summary email and draft                   0.20      1295.00        $259.00
                                detailed response
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 04/09/2023    JWD    RP        Review and revise PSZJ app                               0.20      1295.00        $259.00

 04/09/2023    BLW    RP        Numerous correspondences re: Debtor retention            0.50        895.00       $447.50
                                applications and related second day issues.

 04/09/2023    JNP    RP        Conference with P. Singerman regarding retention         0.30      1595.00        $478.50
                                issues.

 04/09/2023    JNP    RP        Conference with Jeffrey W. Dulberg and Ben L.            0.30      1595.00        $478.50
                                Wallen regarding independent director retention
                                issues.

 04/09/2023    JNP    RP        Emails regarding potential retention of litigation       0.10      1595.00        $159.50
                                counsel.

 04/09/2023    VAN    RP        Analysis regarding FTI, Raymond James and                1.40      1175.00       $1,645.00
                                ordinary course professionals retention pleadings.

 04/10/2023    PJJ    RP        Research and prepare special counsel retention           1.00        545.00       $545.00
                                application.

 04/10/2023    JWD    RP        Review and revise IDD app                                0.30      1295.00        $388.50

 04/10/2023    JWD    RP        Emails with team re employment apps for all and          0.10      1295.00        $129.50
                                OCP

 04/10/2023    JWD    RP        Review email from P Singerman re IDD app status          0.10      1295.00        $129.50

 04/10/2023    JWD    RP        Work on OCP issues incl call with V Newmark (.1),        0.30      1295.00        $388.50
                                emails with A Castillo (.1); emails with PSZJ team
                                and review client emails (.1)

 04/10/2023    GVD    RP        Correspondence with J. Pomerantz and B. Wallen re        0.30      1250.00        $375.00
                                back up materials re director engagement

 04/10/2023    BLW    RP        Revise Independent Director Retention Application.       1.30        895.00      $1,163.50

 04/10/2023    BLW    RP        Revise FTI Retention Application.                        0.60        895.00       $537.00

 04/10/2023    BLW    RP        Revise RJ Retention Application.                         0.90        895.00       $805.50

 04/10/2023    JNP    RP        Review Independent Director application.                 0.10      1595.00        $159.50

 04/10/2023    VAN    RP        Analysis regarding FTI, Raymond James and                1.00      1175.00       $1,175.00
                                ordinary course professionals retention pleadings.

 04/11/2023    GFB    RP        Review and analyze conflicts data; draft email to Ira    0.30      1050.00        $315.00
                                Kharasch and Jason Rosell regarding same.

 04/11/2023    PJJ    RP        Telephone conference with Victoria A. Newmark            0.20        545.00       $109.00
                                regarding OCP motion.

 04/11/2023    PJJ    RP        Update retention applications with conforming            0.50        545.00       $272.50
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                                notice language.
 04/11/2023    JWD    RP        Work on retention app prep coordination               0.20      1295.00        $259.00

 04/11/2023    JWD    RP        Call with GableGotwals atty                           0.20      1295.00        $259.00

 04/11/2023    JWD    RP        Review and respond to email from GableGotwals         0.10      1295.00        $129.50
                                atty

 04/11/2023    JWD    RP        Review RJ application, emails with Team regarding     0.50      1295.00        $647.50
                                same and call with J Pomerantz

 04/11/2023    JWD    RP        Calls w/ J Pomerantz and revise ID app                1.30      1295.00       $1,683.50

 04/11/2023    JWD    RP        Emails re OCP updates and review issues re re same    0.20      1295.00        $259.00

 04/11/2023    JWD    RP        Email to A Castillo re OCP                            0.10      1295.00        $129.50

 04/11/2023    JWD    RP        Call with J Pomerantz re ID app                       0.10      1295.00        $129.50

 04/11/2023    JWD    RP        Work on revisions and comments re RJ retention        0.30      1295.00        $388.50

 04/11/2023    BLW    RP        Numerous correspondences re: OCPs.                    0.30        895.00       $268.50

 04/11/2023    BLW    RP        Correspond re: retention application issues.          0.10        895.00        $89.50

 04/11/2023    BLW    RP        Correspondences with Mr. Dulberg re: retention        0.30        895.00       $268.50
                                applications.

 04/11/2023    BLW    RP        Revise PSZJ retention application (.2) and interim    0.40        895.00       $358.00
                                compensation motion (.2).

 04/11/2023    BLW    RP        Review and revise ID retention application.           0.30        895.00       $268.50

 04/11/2023    JNP    RP        Review Raymond James application and emails           0.20      1595.00        $319.00
                                regarding same.

 04/11/2023    JNP    RP        Conference with Jeffrey W. Dulberg regarding          0.20      1595.00        $319.00
                                independent director application and review emails
                                regarding same.

 04/11/2023    VAN    RP        Phone conference with FTI regarding ordinary          0.80      1175.00        $940.00
                                course professionals.

 04/11/2023    VAN    RP        Analysis regarding ordinary course professionals      1.70      1175.00       $1,997.50
                                issues.

 04/11/2023    VAN    RP        Draft/revise FTI and Raymond James retention          2.50      1175.00       $2,937.50
                                pleadings.

 04/12/2023    PJJ    RP        Revise ID retention application.                      0.30        545.00       $163.50

 04/12/2023    PJJ    RP        Review retention applications with Ben L. Wallen.     0.80        545.00       $436.00

 04/12/2023    JWD    RP        Emails with FTI re application status                 0.10      1295.00        $129.50
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 04/12/2023    JWD    RP        Call w B Wallen re retention apps                       0.10      1295.00        $129.50

 04/12/2023    JWD    RP        Work on review of various retention issues              0.30      1295.00        $388.50

 04/12/2023    JWD    RP        Review emails and updates re OCP motion and             0.20      1295.00        $259.00
                                approve same

 04/12/2023    JWD    RP        Review RJ application and email with V Newmark          0.20      1295.00        $259.00
                                re same

 04/12/2023    BLW    RP        Correspond re: OCPs.                                    0.10        895.00        $89.50

 04/12/2023    BLW    RP        Correspond with Committee re: Interim                   0.10        895.00        $89.50
                                Compensation Procedures.

 04/12/2023    BLW    RP        Call with Ms. Jeffries re: retention applications.      0.80        895.00       $716.00

 04/12/2023    DLM    RP        Research re Declaration of Disinterestedness.           1.90        395.00       $750.50

 04/12/2023    JNP    RP        Conference with P. Singerman about Independent          0.20      1595.00        $319.00
                                Director applications.

 04/12/2023    JNP    RP        Conference with Jeffrey W. Dulberg regarding            0.10      1595.00        $159.50
                                retention applications.

 04/12/2023    VAN    RP        Phone conferences with FTI and Company regarding        1.40      1175.00       $1,645.00
                                OCPs; email correspondence with Jeff Dulberg
                                regarding same.

 04/12/2023    VAN    RP        Revise OCP motion and Raymond James retention           0.50      1175.00        $587.50
                                pleadings.

 04/13/2023    PJJ    RP        Revise ID retention application and circulate.          0.40        545.00       $218.00

 04/13/2023    JWD    RP        Review RJ emails re disclosures                         0.10      1295.00        $129.50

 04/13/2023    JWD    RP        Work on ID app and order changes, emails w P            0.30      1295.00        $388.50
                                Singerman and other board re same

 04/13/2023    JWD    RP        Call with J Pomerantz re operating issues and RJ app    0.10      1295.00        $129.50

 04/13/2023    JWD    RP        Further emails with P Singerman re ID application       0.20      1295.00        $259.00
                                and further acceptable revisions

 04/13/2023    JWD    RP        Call with B Wallen re retention apps                    0.10      1295.00        $129.50

 04/13/2023    BLW    RP        Review, revise,and circulate drafts of retention        0.70        895.00       $626.50
                                applications.

 04/13/2023    JNP    RP        Email to and from P. Singerman regarding retention      0.10      1595.00        $159.50
                                applications.

 04/13/2023    JNP    RP        Conference with M. Healy regarding Raymond              0.10      1595.00        $159.50
                                James application.
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 04/13/2023    JNP    RP        Conference with Jeffrey W. Dulberg regarding          0.10      1595.00        $159.50
                                Raymond James application.

 04/13/2023    VAN    RP        Follow up regarding Raymond James retention           1.00      1175.00       $1,175.00
                                application.

 04/14/2023    GFB    RP        Review and analyze conflicts data; draft emails to    0.50      1050.00        $525.00
                                Richard Pachulski, John Fiero, Michael Warner
                                regarding same.

 04/14/2023    PJJ    RP        Prepare for and file 4 retention applications, OCP    2.60        545.00      $1,417.00
                                motion and interim compensation motion.

 04/14/2023    PJJ    RP        Research OCP addresses.                               0.90        545.00       $490.50

 04/14/2023    JWD    RP        Review status of various filings today and emails     0.20      1295.00        $259.00
                                with team recompletion

 04/14/2023    JWD    RP        Review emails re issues with RJ application and       0.20      1295.00        $259.00
                                work on clean up

 04/14/2023    BLW    RP        Coordinate finalization and filing of retention       0.70        895.00       $626.50
                                applications.

 04/18/2023    MDW    RP        Review comments of UST to Applications to employ      0.80      1495.00       $1,196.00
                                and provide comments internally.

 04/18/2023    JWD    RP        Review comments from UST re various employment        0.30      1295.00        $388.50
                                apps and draft emails with team re same

 04/18/2023    BLW    RP        Review and correspond re: UST retention               0.30        895.00       $268.50
                                application comments.

 04/18/2023    VAN    RP        Research and analysis regarding Jim Johnston          1.70      1175.00       $1,997.50
                                contingent fee issue.

 04/19/2023    BLW    RP        Correspond re: UST comments to OCP Motion.            0.10        895.00        $89.50

 04/19/2023    BLW    RP        Correspond re: potential anti-trust counsel.          0.10        895.00        $89.50

 04/19/2023    JNP    RP        Review and respond to emails regarding need for       0.10      1595.00        $159.50
                                regulatory counsel.

 04/20/2023    JWD    RP        Work on comments from UST re various                  0.30      1295.00        $388.50
                                employment apps and emails re same

 04/20/2023    JNP    RP        Conference with G. Richards regarding retention       0.10      1595.00        $159.50
                                issues and related.

 04/21/2023    JWD    RP        Emails with team re various responses to UST          0.10      1295.00        $129.50

 04/22/2023    JWD    RP        Emails with S Golden and M Healy re Grant             0.20      1295.00        $259.00
                                Thornton employment status
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 04/23/2023    JWD    RP        Review J Roth email and email with team re same         0.10      1295.00        $129.50

 04/24/2023    JWD    RP        Review and respond to C Gibbs email re OCP issue        0.10      1295.00        $129.50

 04/24/2023    JWD    RP        Call with S Golden re OCP issue                         0.10      1295.00        $129.50

 04/24/2023    JWD    RP        Call with GT team re employment (.2); emails with       0.30      1295.00        $388.50
                                P Jeffries re same (.1)

 04/24/2023    JWD    RP        Emails with M Pagay re OCP comp issue                   0.10      1295.00        $129.50

 04/24/2023    BLW    RP        Review and correspond re: UST retention                 0.70        895.00       $626.50
                                application comments (.4) and call with UST re:
                                same (.3).

 04/24/2023    BLW    RP        Correspond re: PSZJ retention.                          0.10        895.00        $89.50

 04/24/2023    BLW    RP        Correspond re: OCP motion.                              0.20        895.00       $179.00

 04/24/2023    BLW    RP        Begin revisions to FTI retention order and              0.50        895.00       $447.50
                                correspond with UST re: same.

 04/25/2023    JWD    RP        Review Sidley note re RJ dec etc and work on issues     0.30      1295.00        $388.50
                                re same

 04/25/2023    JWD    RP        Review and respond to emails re Grant Thornton          0.50      1295.00        $647.50
                                and OCP status

 04/25/2023    JWD    RP        Emails re OCP issues re GT                              0.20      1295.00        $259.00

 04/25/2023    JWD    RP        Review research re contingent fees for OCP and          0.20      1295.00        $259.00
                                emails with team re same

 04/25/2023    LAF    RP        Legal research re: Ordinary course professionals and    3.80        595.00      $2,261.00
                                prepetition contingency fee arrangements.

 04/25/2023    BLW    RP        Correspond re: RJ retention issues.                     0.40        895.00       $358.00

 04/25/2023    BLW    RP        Correspond re: GT retention.                            0.20        895.00       $179.00

 04/25/2023    BLW    RP        Correspond re: OCP issues.                              0.20        895.00       $179.00

 04/25/2023    JNP    RP        Conference with G. Richards regarding                   0.20      1595.00        $319.00
                                supplemental declaration and emails regarding same.

 04/26/2023    JWD    RP        Emails with V Newmark and manage issues re OCP          0.10      1295.00        $129.50
                                amendment

 04/26/2023    JWD    RP        Review email from OCP counsel re retainer and           0.30      1295.00        $388.50
                                emails with counsel re same and with colleague re
                                issue to review

 04/26/2023    BLW    RP        Correspond with UST (.1) and FTI (.1) re: UST           0.20        895.00       $179.00
                                comments to retention application.
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 04/27/2023    JWD    RP        Email to J Roth re RJ app                             0.10       1295.00         $129.50

 04/27/2023    JWD    RP        Follow up email to counsel to OCP party re status     0.10       1295.00         $129.50

 04/27/2023    JWD    RP        Work on RJ issues re new disclosure and issues re     1.20       1295.00        $1,554.00
                                same

 04/27/2023    JWD    RP        Further emails with OCP                               0.10       1295.00         $129.50

 04/27/2023    JWD    RP        Email with B Wallen re UST comments to ID             0.10       1295.00         $129.50
                                application

 04/27/2023    BLW    RP        Correspond re: UCC questions re: OCP Motion.          0.60         895.00        $537.00

 04/27/2023    BLW    RP        Revise FTI Order.                                     0.20         895.00        $179.00

 04/27/2023    BLW    RP        Correspond and address OCP listing issue.             0.30         895.00        $268.50

 04/27/2023    BLW    RP        Correspond and call with Sidley re: RJ disclosure     0.50         895.00        $447.50
                                and retention issues.

 04/27/2023    BLW    RP        Correspond with UST re: RJ disclosures.               0.10         895.00         $89.50

 04/27/2023    JNP    RP        Conference with Jeffrey W. Dulberg regarding          0.10       1595.00         $159.50
                                Raymond James retention.

 04/28/2023    PJJ    RP        Review amended OCP motion (.3); prepare for and       0.60         545.00        $327.00
                                file (.3).

 04/28/2023    JWD    RP        Call with B Bickle re OCP retention (.1); emails      0.20       1295.00         $259.00
                                with client re same (.1)

 04/28/2023    JWD    RP        Review amended OCP motion and emails with team        0.10       1295.00         $129.50
                                re same

 04/28/2023    JWD    RP        Further emails re OCP amendment                       0.20       1295.00         $259.00

 04/28/2023    JWD    RP        Review OCP amendment and emails with team re          0.20       1295.00         $259.00
                                same

 04/28/2023    BLW    RP        Call with UST re: ID retention motion and RJ          0.20         895.00        $179.00
                                disclosures.

 04/28/2023    BLW    RP        Correspond re: UST comments to OCP order.             0.10         895.00         $89.50

 04/28/2023    BLW    RP        Revised and coordinate filing amended OCP motion.     1.60         895.00       $1,432.00

 04/28/2023    VAN    RP        Draft amended ordinary course professionals motion    1.70       1175.00        $1,997.50
                                and order.

                                                                                      82.90                    $84,592.00
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                                                                                       Hours           Rate     Amount

  Stay Litigation [B140]
 04/01/2023    BLW    SL        Continue to prepare stay violation legal fee costs      0.70        895.00       $626.50
                                analysis.

 04/03/2023    BLW    SL        Correspond with FTI re: stay violation damages (.2)     0.40        895.00       $358.00
                                and analysis re: same (.2).

 04/03/2023    BLW    SL        Correspond (.1) and call (.3) with Debtors re: Ada      0.40        895.00       $358.00
                                Coke Equipment.

 04/03/2023    BLW    SL        Call with Ms. Mendoza re: service of Ada Coke           0.20        895.00       $179.00
                                Demand.

 04/04/2023    CHM    SL        Draft letter re FTF transaction; email S. Golden re     1.20        925.00      $1,110.00
                                same.

 04/04/2023    CHM    SL        Update stay violation letter and email S. Golden re     0.30        925.00       $277.50
                                same.

 04/04/2023    PJJ    SL        Telephone call with B. Wallen regarding Ada stay        0.40        545.00       $218.00
                                violation (.2); prepare exhibits to motion re same
                                (.2).

 04/04/2023    JWD    SL        Review and revise stay violation order and emails       0.30      1295.00        $388.50
                                regarding same.

 04/04/2023    JWD    SL        Call with Ben Wallen regarding sanctions order.         0.20      1295.00        $259.00

 04/04/2023    JWD    SL        Review and respond to emails regarding new stay         0.20      1295.00        $259.00
                                violation from bottler.

 04/04/2023    JWD    SL        Work with team on response re lottery equipment         0.30      1295.00        $388.50
                                withdrawal

 04/04/2023    MDW    SL        Internal discussion re presentation of evidence re      0.50      1495.00        $747.50
                                contempt re Coke Cola -Ada.

 04/04/2023    MDW    SL        Internal discussion re Ada-Coke return of equipment     0.40      1495.00        $598.00
                                and pleading issues.

 04/04/2023    BLW    SL        Attend to Stay Violation Damages Calculation.           0.70        895.00       $626.50

 04/04/2023    BLW    SL        Revise agreed stay violation order re: McAlester        1.10        895.00       $984.50
                                Bottling.

 04/04/2023    BLW    SL        Call re; Ada Coke with District manager.                0.20        895.00       $179.00

 04/04/2023    BLW    SL        Revise ADA Coke Stay Violation Demand.                  0.50        895.00       $447.50

 04/04/2023    BLW    SL        Calls with Ada Coke (2x) (.2) and follow up internal    0.30        895.00       $268.50
                                correspondence (.1) re: same.
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 04/04/2023    BLW    SL        Review transcript and correspond with Ada Coke re:      0.80        895.00       $716.00
                                same and vulgar phone call.

 04/04/2023    BLW    SL        Begin outlining Ada Coke Contempt Motion.               0.30        895.00       $268.50

 04/04/2023    BLW    SL        Call with FTI re: stay violation damages.               0.10        895.00        $89.50

 04/04/2023    BLW    SL        Call with Mr. Dulberg re: Ada Coke violations.          0.10        895.00        $89.50

 04/04/2023    BLW    SL        Draft follow up email to Indian Nations.                0.10        895.00        $89.50

 04/04/2023    BLW    SL        Call with Mr. Warner re: Ada Coke Violations.           0.40        895.00       $358.00

 04/04/2023    DLM    SL        Draft stay violations chart exhibit.                    1.80        395.00       $711.00

 04/05/2023    JWD    SL        Emails with B Wallen re McAleister settlement           0.10      1295.00        $129.50

 04/05/2023    JWD    SL        Review draft letter re stay violation                   0.10      1295.00        $129.50

 04/05/2023    JWD    SL        Review issue re FTF and potential stay letter           0.10      1295.00        $129.50

 04/05/2023    SWG    SL        Call with N. Lansing re: postpetition mechanic's        0.20        895.00       $179.00
                                liens

 04/05/2023    MDW    SL        Internal discussion re presentation of evidence re      0.30      1495.00        $448.50
                                contempt re Ada Coke.

 04/05/2023    BLW    SL        Correspond re: Ada Coke Violations.                     0.10        895.00        $89.50

 04/05/2023    BLW    SL        Call with Mr. Warner re: Ada Coke Sty Violation         0.30        895.00       $268.50
                                Motion.

 04/05/2023    BLW    SL        Call with counsel for McAlester Bottling (.2) and       0.60        895.00       $537.00
                                finalize draft and coordinate review/approval of
                                proposed order (.4).

 04/06/2023    CHM    SL        Follow up with S. Golden re stay letter and             0.80        925.00       $740.00
                                coordinate with J. Dulberg and Pomerantz re
                                updates.

 04/06/2023    JWD    SL        Review and revise emergency stay motion                 0.50      1295.00        $647.50

 04/06/2023    BLW    SL        Correspond re: PCB damages payment and agreed           0.20        895.00       $179.00
                                order (.1) and call with counsel re; same (.1).

 04/06/2023    BLW    SL        Draft Ada Sanctions Motion.                             5.20        895.00      $4,654.00

 04/06/2023    BLW    SL        Call with Store and Regional managers re: Ada           0.30        895.00       $268.50
                                violations.

 04/06/2023    BLW    SL        Calls and correspondence re: AR State Petition to       0.80        895.00       $716.00
                                Redeam re: property foreclosre.

 04/06/2023    KLL    SL        Review for filing agreed and stipulated order re PCB    0.30        545.00       $163.50
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                                                                                         Hours           Rate     Amount
                                sanctions.
 04/07/2023    CHM    SL        Email stay violation letter and confer with counsel re    0.30        925.00       $277.50
                                same.

 04/07/2023    JNP    SL        Review motion regarding violation of stay by Coke         0.10      1595.00        $159.50
                                bottler.

 04/07/2023    PJJ    SL        Email serve Ada sanctions motion.                         0.20        545.00       $109.00

 04/07/2023    PJJ    SL        Compile exhibits for Ada sanctions motion.                0.50        545.00       $272.50

 04/07/2023    PJJ    SL        Coordinate service of Ada motion.                         0.30        545.00       $163.50

 04/07/2023    PJJ    SL        Prepare for and file Ada sanctions motion.                0.50        545.00       $272.50

 04/07/2023    JWD    SL        Email re next steps on Coke bottler stay motion           0.10      1295.00        $129.50

 04/07/2023    JWD    SL        Review CA labor law class action and email re             0.10      1295.00        $129.50
                                possible stay issue

 04/07/2023    JWD    SL        Call with B Wallen re McAleister payment                  0.10      1295.00        $129.50

 04/07/2023    MBL    SL        Review show cause motion against Coke bottler.            0.20      1445.00        $289.00

 04/07/2023    SWG    SL        Call with B. Wallen re: dealer stay violation issues.     0.50        895.00       $447.50

 04/07/2023    MDW    SL        Review and provided comments to draft Ada-Coke            0.50      1495.00        $747.50
                                motion.

 04/07/2023    BLW    SL        Finalize Ada Coke Sanctions Motion (1.4);                 1.80        895.00      $1,611.00
                                Coordinate filing and service of same (.3);
                                Correspond with Committee re: same (.1).

 04/07/2023    BLW    SL        Call with Mr. Warner re: Ada Coke Sanctions               0.70        895.00       $626.50
                                Motion and next steps.

 04/07/2023    BLW    SL        Address PCB Damages Payment, revisions to agreed          1.20        895.00      $1,074.00
                                order, approvals, and finalization and filing of same
                                (1) and calls (3x) with PCB Counsel re: same (.2).

 04/07/2023    KLL    SL        Review and finalize for filing agreed order to show       0.40        545.00       $218.00
                                cause motion re Pepsi.

 04/08/2023    JNP    SL        Emails regarding hearing on stay motion.                  0.10      1595.00        $159.50

 04/08/2023    BLW    SL        Draft declarations in support of Ada Sanctions            0.80        895.00       $716.00
                                Motion.

 04/10/2023    PJJ    SL        Serve Order to Appear and Show Cause on Ada (.2);         0.60        545.00       $327.00
                                prepare and file COs re same (.3).

 04/10/2023    PJJ    SL        Prepare exhibits to Declaration in support of OSC.        0.40        545.00       $218.00
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                                                                                        Hours           Rate     Amount

 04/10/2023    JWD    SL        Review entered order re Ada bottler and emails with      0.20      1295.00       $259.00
                                team re same

 04/10/2023    JWD    SL        Review docs for W/E for Ada hearing                      0.20      1295.00       $259.00

 04/10/2023    JWD    SL        Review issues re new dunning letter                      0.10      1295.00       $129.50

 04/10/2023    MDW    SL        Address Stay violation evidence issues with attorney     0.40      1495.00       $598.00
                                BW.

 04/10/2023    MDW    SL        Ada Coca Cola: call with attorney Wallen re              0.20      1495.00       $299.00
                                presentation to court, and call from attorney for Ada
                                Coca Cola.

 04/10/2023    BLW    SL        Correspond and coordinate re: service of Ada Coke        0.20        895.00      $179.00
                                OSC.

 04/10/2023    BLW    SL        Revise Ada Coke Sanctions Declaration.                   0.40        895.00      $358.00

 04/10/2023    BLW    SL        Multiple calls with Mr. Warner (2x) re: Ada Coke         0.40        895.00      $358.00
                                issues.

 04/10/2023    BLW    SL        Call from Ada Coke business counsel (.2) and follow      0.40        895.00      $358.00
                                up correspondence re: same (.2).

 04/10/2023    BLW    SL        Call with Ada Coke Bankruptcy Counsel.                   0.30        895.00      $268.50

 04/10/2023    BLW    SL        Numerous update emails re: Ada Coke stay                 0.50        895.00      $447.50
                                violations and potential cure re: same.

 04/11/2023    JNP    SL        Review emails regarding status of Coke bottler           0.20      1595.00       $319.00
                                contempt hearing and potential resolution.

 04/11/2023    JNP    SL        Review letter in response to Cia H. Mackle letter        0.10      1595.00       $159.50
                                regarding stay violation relating to outstanding
                                purchase agreement.

 04/11/2023    JWD    SL        Review W/E and issues for stay hearing                   0.20      1295.00       $259.00

 04/11/2023    BLW    SL        Revise W/E List and exhibits thereto. Coordinate         0.70        895.00      $626.50
                                filing of same.

 04/11/2023    BLW    SL        Call with district manager re: potential stay            0.30        895.00      $268.50
                                violation.

 04/11/2023    BLW    SL        Call with counsel for Ada Coke re: hearing.              0.20        895.00      $179.00

 04/11/2023    BLW    SL        Correspond with CRO re: Ada Coke status.                 0.10        895.00       $89.50

 04/11/2023    KLL    SL        Finalize for filing witness and exhibit list re ADA      0.40        545.00      $218.00
                                sanctions motion hearing.

 04/11/2023    DLM    SL        Review and finalize Declarations of Healy and            0.90        395.00      $355.50
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                                                                                       Hours           Rate     Amount
                                Wallen, and multiple exhibits thereto.
 04/11/2023    DLM    SL        Review and file Witness and Exhibit List re 4-12-23     0.70        395.00       $276.50
                                hearing (multiple exhibits).

 04/12/2023    JNP    SL        Conference with Ben L. Wallen and Jeffrey W.            0.10      1595.00        $159.50
                                Dulberg regarding contempt hearing.

 04/12/2023    JNP    SL        Participate in hearing on stay violation.               0.60      1595.00        $957.00

 04/12/2023    JNP    SL        Follow up call with Michael D. Warner and Ben L.        0.10      1595.00        $159.50
                                Wallen regarding stay violation.

 04/12/2023    JWD    SL        Attend stay hearing                                     0.30      1295.00        $388.50

 04/12/2023    MDW    SL        Internal calls re prep for Stay violation hearing re    0.80      1495.00       $1,196.00
                                Ada Coke, and attend hearing.

 04/12/2023    BLW    SL        Prepare for and attend Ada Coke Contempt Hearing.       3.90        895.00      $3,490.50

 04/13/2023    PJJ    SL        Telephone conference with Ben L. Wallen regarding       0.20        545.00       $109.00
                                ADA estimations for damages.

 04/13/2023    PJJ    SL        Telephone call with B. Wallen re Ada Coca-Cola          0.20        545.00       $109.00
                                damage estimations.

 04/13/2023    BLW    SL        Call re: Ada violation damages.                         0.10        895.00        $89.50

 04/14/2023    BLW    SL        Call and follow up correspondence re: post petition     0.60        895.00       $537.00
                                litigation

 04/17/2023    PJK    SL        Review litigation stay tracker, research re same,       2.40      1025.00       $2,460.00
                                emails to counsel in pending litigation re stay and
                                notices of BK, emails with PSZJ team re same

 04/17/2023    BLW    SL        Calculate damages re: Ada stay violation.               2.10        895.00      $1,879.50

 04/18/2023    BLW    SL        Work on and correspond re: Ada Coke Damages             0.80        895.00       $716.00
                                calculation.

 04/18/2023    DLM    SL        Draft Stay Violations Damages chart.                    0.60        395.00       $237.00

 04/19/2023    JWD    SL        Review and respond to emails re workers comp lit        0.30      1295.00        $388.50
                                and call with counsel re same

 04/19/2023    JWD    SL        Emails re Ada Coke bottler damages submission           0.10      1295.00        $129.50

 04/19/2023    PJK    SL        Research re litigation tracker and notices of BK for    0.50      1025.00        $512.50
                                filing in pending litigation

 04/19/2023    GVD    SL        Conference with J. Pomerantz and J. Dulberg re          0.60      1250.00        $750.00
                                research on stay issues (0.1); conference with S.
                                Golden re same (0.3); conference with P. Keane re
                                same (0.2)
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 04/19/2023    BLW    SL        Prepare and circulate Ada Coke damages.                     1.10        895.00       $984.50

 04/19/2023    DLM    SL        Revisions and additions to stay violations chart.           1.20        395.00       $474.00

 04/20/2023    JWD    SL        Review Ada Coke response to damages demand and              0.10      1295.00        $129.50
                                email with B Wallen re same

 04/20/2023    BLW    SL        Draft agreed Ada Coke sanctions order and                   0.50        895.00       $447.50
                                correspond re: same.

 04/21/2023    PJK    SL        Additional work on litigation pending and stay              1.20      1025.00       $1,230.00
                                notices for BK filing, review tracker, research re
                                same

 04/21/2023    BLW    SL        Finalize and coordinate approvals and filing of Ada         0.30        895.00       $268.50
                                Coke Order.

 04/24/2023    BLW    SL        Correspond re: Ada Coke Sanctions Order.                    0.10        895.00        $89.50

 04/25/2023    JWD    SL        Review and respond to emails re new bottler issues          0.10      1295.00        $129.50
                                and stay

 04/25/2023    JWD    SL        Emails re new bottler issue                                 0.10      1295.00        $129.50

 04/25/2023    PJK    SL        Research re litigation stay notices of BK, review           1.40      1025.00       $1,435.00
                                tracker chart, emails to litigation counsel re same

 04/25/2023    SWG    SL        Draft and send letter to Ackroo re: stay violation          0.20        895.00       $179.00

 04/25/2023    BLW    SL        Call from district manager re: Homer Coke Stay              0.20        895.00       $179.00
                                Violation (.1) and correspond re: same (.1)

 04/26/2023    JWD    SL        Review emails re Semper Fi re stay violations               0.10      1295.00        $129.50

 04/26/2023    BLW    SL        Correspond re: LA Bottler potential stay violation.         0.10        895.00        $89.50

 04/26/2023    BLW    SL        Call and correspondences with company re: Semper            0.20        895.00       $179.00
                                Fi violations.

 04/26/2023    BLW    SL        Call with Semper Fi (.1) and draft demand letter to         1.50        895.00      $1,342.50
                                counsel for same (1.4).

 04/27/2023    JWD    SL        Email with B Wallen re stay issue update                    0.10      1295.00        $129.50

 04/27/2023    BLW    SL        Correspond re: voluntary resolution of stay violation       0.10        895.00        $89.50
                                (Homer).

 04/27/2023    BLW    SL        Resolve septic company stay violation.                      1.10        895.00       $984.50

 04/27/2023    BLW    SL        Draft stay letter re: Addilan self help threats.            0.80        895.00       $716.00

 04/28/2023    PJK    SL        Research re litigation tracker and dockets in pending       2.00      1025.00       $2,050.00
                                matters for litigation stay notices (1.7), emails with P
                                Jeffries re same (.3)
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 04/28/2023    BLW    SL        Correspond re: Addilan demand.                         0.10         895.00         $89.50

                                                                                       65.20                    $59,960.00

  Tax Issues [B240]
 04/25/2023    JWD    TI        Review email from K Tarazi and draft note to FTI re    0.20       1295.00         $259.00
                                same

 04/27/2023    BLW    TI        Call with Mr. Golden re: tax issues.                   0.10         895.00         $89.50

                                                                                        0.30                      $348.50

  TOTAL SERVICES FOR THIS MATTER:                                                                         $1,439,375.00
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 Expenses
 04/03/2023    RE2       SCAN/COPY ( 21 @0.10 PER PG)                       2.10
 04/03/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/04/2023    FE        58614.00002 FedEx Charges for 04-04-23            98.94
 04/04/2023    FE        58614.00002 FedEx Charges for 04-04-23            98.94
 04/04/2023    PO        Postage LA                                        28.75
 04/04/2023    RE        ( 21 @0.20 PER PG)                                 4.20
 04/04/2023    RE        ( 3 @0.20 PER PG)                                  0.60
 04/04/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/04/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/04/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/04/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/04/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/04/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/05/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/05/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/06/2023    LN        58614.00002 Lexis Charges for 04-06-23            18.59
 04/06/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/06/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/06/2023    RE2       SCAN/COPY ( 10 @0.10 PER PG)                       1.00
 04/06/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/06/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/06/2023    RE2       SCAN/COPY ( 19 @0.10 PER PG)                       1.90
 04/06/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/06/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/06/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/06/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/06/2023    RE2       SCAN/COPY ( 23 @0.10 PER PG)                       2.30
 04/06/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/06/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/06/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/06/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/06/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
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 04/06/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/06/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/06/2023    RE2       SCAN/COPY ( 27 @0.10 PER PG)                       2.70
 04/06/2023    RE2       SCAN/COPY ( 19 @0.10 PER PG)                       1.90
 04/06/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/06/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/06/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/06/2023    RE2       SCAN/COPY ( 12 @0.10 PER PG)                       1.20
 04/06/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/06/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/07/2023    FE        58614.00002 FedEx Charges for 04-07-23           106.26
 04/07/2023    FE        58614.00002 FedEx Charges for 04-07-23           106.26
 04/07/2023    FE        58614.00002 FedEx Charges for 04-07-23           106.26
 04/07/2023    LN        58614.00002 Lexis Charges for 04-07-23            92.94
 04/07/2023    PO        Postage LA                                         9.96
 04/07/2023    RE2       SCAN/COPY ( 236 @0.10 PER PG)                     23.60
 04/07/2023    RE2       SCAN/COPY ( 29 @0.10 PER PG)                       2.90
 04/10/2023    FE        58614.00002 FedEx Charges for 04-10-23            99.59
 04/10/2023    FE        58614.00002 FedEx Charges for 04-10-23            99.59
 04/10/2023    FE        58614.00002 FedEx Charges for 04-10-23            99.59
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23            36.46
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23            22.08
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23            15.63
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23             6.99
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23             7.80
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23             3.00
 04/10/2023    LN        58614.00002 Lexis Charges for 04-10-23            14.17
 04/10/2023    PO        Postage LA                                         8.10
 04/10/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/10/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/10/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/10/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/10/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/10/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
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 04/10/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
 04/10/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 04/10/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 04/11/2023    LN        58614.00002 Lexis Charges for 04-11-23                        2.00
 04/11/2023    LN        58614.00002 Lexis Charges for 04-11-23                       28.36
 04/11/2023    RE2       SCAN/COPY ( 34 @0.10 PER PG)                                  3.40
 04/11/2023    RE2       SCAN/COPY ( 193 @0.10 PER PG)                                19.30
 04/11/2023    RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20
 04/12/2023    LN        58614.00002 Lexis Charges for 04-12-23                       36.96
 04/12/2023    LN        58614.00002 Lexis Charges for 04-12-23                        3.96
 04/12/2023    LN        58614.00002 Lexis Charges for 04-12-23                        3.96
 04/12/2023    LN        58614.00002 Lexis Charges for 04-12-23                        7.29
 04/12/2023    PO        Postage LA                                                    2.94
 04/12/2023    RE2       SCAN/COPY ( 15 @0.10 PER PG)                                  1.50
 04/12/2023    RE2       SCAN/COPY ( 25 @0.10 PER PG)                                  2.50
 04/12/2023    RE2       SCAN/COPY ( 20 @0.10 PER PG)                                  2.00
 04/12/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 04/12/2023    RE2       SCAN/COPY ( 47 @0.10 PER PG)                                  4.70
 04/12/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 04/12/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
 04/12/2023    RE2       SCAN/COPY ( 21 @0.10 PER PG)                                  2.10
 04/12/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                                   0.10
 04/12/2023    TE        Travel Expense [E110] Court Parking Fee - Ada Coca Cola      10.00
                         Hearing, BLW
 04/13/2023    RE2       SCAN/COPY ( 35 @0.10 PER PG)                                  3.50
 04/13/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
 04/13/2023    RE2       SCAN/COPY ( 32 @0.10 PER PG)                                  3.20
 04/13/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                                   0.20
 04/13/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                                   0.40
 04/13/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
 04/13/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                                  1.10
 04/13/2023    RE2       SCAN/COPY ( 36 @0.10 PER PG)                                  3.60
 04/13/2023    RE2       SCAN/COPY ( 38 @0.10 PER PG)                                  3.80
 04/13/2023    RE2       SCAN/COPY ( 92 @0.10 PER PG)                                  9.20
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 04/13/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/13/2023    RE2       SCAN/COPY ( 17 @0.10 PER PG)                       1.70
 04/13/2023    RE2       SCAN/COPY ( 7 @0.10 PER PG)                        0.70
 04/13/2023    RE2       SCAN/COPY ( 1 @0.10 PER PG)                        0.10
 04/13/2023    RE2       SCAN/COPY ( 26 @0.10 PER PG)                       2.60
 04/13/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/14/2023    LN        58614.00002 Lexis Charges for 04-14-23            15.68
 04/14/2023    LN        58614.00002 Lexis Charges for 04-14-23             7.52
 04/14/2023    RE2       SCAN/COPY ( 7 @0.10 PER PG)                        0.70
 04/14/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/14/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/14/2023    RE2       SCAN/COPY ( 27 @0.10 PER PG)                       2.70
 04/14/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/14/2023    RE2       SCAN/COPY ( 9 @0.10 PER PG)                        0.90
 04/14/2023    RE2       SCAN/COPY ( 7 @0.10 PER PG)                        0.70
 04/14/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/14/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/14/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/14/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/14/2023    RE2       SCAN/COPY ( 22 @0.10 PER PG)                       2.20
 04/14/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/17/2023    LN        58614.00002 Lexis Charges for 04-17-23           129.01
 04/17/2023    RE2       SCAN/COPY ( 22 @0.10 PER PG)                       2.20
 04/17/2023    RE2       SCAN/COPY ( 3 @0.10 PER PG)                        0.30
 04/18/2023    LN        58614.00002 Lexis Charges for 04-18-23            14.33
 04/18/2023    LN        58614.00002 Lexis Charges for 04-18-23            29.16
 04/18/2023    LN        58614.00002 Lexis Charges for 04-18-23            13.99
 04/18/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/19/2023    LN        58614.00002 Lexis Charges for 04-19-23           129.02
 04/19/2023    LN        58614.00002 Lexis Charges for 04-19-23             6.99
 04/19/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/19/2023    RE2       SCAN/COPY ( 25 @0.10 PER PG)                       2.50
 04/20/2023    LN        58614.00002 Lexis Charges for 04-20-23             7.84
 04/20/2023    LN        58614.00002 Lexis Charges for 04-20-23             4.93
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 04/20/2023    LN        58614.00002 Lexis Charges for 04-20-23            28.67
 04/20/2023    RE2       SCAN/COPY ( 20 @0.10 PER PG)                       2.00
 04/20/2023    RE2       SCAN/COPY ( 15 @0.10 PER PG)                       1.50
 04/20/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/20/2023    RE2       SCAN/COPY ( 239 @0.10 PER PG)                     23.90
 04/20/2023    RE2       SCAN/COPY ( 43 @0.10 PER PG)                       4.30
 04/20/2023    RE2       SCAN/COPY ( 65 @0.10 PER PG)                       6.50
 04/20/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/20/2023    RE2       SCAN/COPY ( 103 @0.10 PER PG)                     10.30
 04/20/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/20/2023    RE2       SCAN/COPY ( 43 @0.10 PER PG)                       4.30
 04/20/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/20/2023    RE2       SCAN/COPY ( 80 @0.10 PER PG)                       8.00
 04/20/2023    RE2       SCAN/COPY ( 65 @0.10 PER PG)                       6.50
 04/20/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/20/2023    RE2       SCAN/COPY ( 15 @0.10 PER PG)                       1.50
 04/20/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/20/2023    RE2       SCAN/COPY ( 103 @0.10 PER PG)                     10.30
 04/20/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/20/2023    RE2       SCAN/COPY ( 26 @0.10 PER PG)                       2.60
 04/20/2023    RE2       SCAN/COPY ( 7 @0.10 PER PG)                        0.70
 04/20/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/20/2023    RE2       SCAN/COPY ( 239 @0.10 PER PG)                     23.90
 04/20/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/20/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                       1.10
 04/20/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/21/2023    RE2       SCAN/COPY ( 20 @0.10 PER PG)                       2.00
 04/23/2023    LN        58614.00002 Lexis Charges for 04-23-23             7.81
 04/23/2023    LN        58614.00002 Lexis Charges for 04-23-23             6.99
 04/24/2023    LN        58614.00002 Lexis Charges for 04-24-23            64.51
 04/24/2023    LN        58614.00002 Lexis Charges for 04-24-23             6.87
 04/24/2023    LN        58614.00001 Lexis Charges for 04-24-23            58.34
 04/24/2023    LN        58614.00001 Lexis Charges for 04-24-23            51.55
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 04/24/2023    RE2       SCAN/COPY ( 14 @0.10 PER PG)                       1.40
 04/24/2023    RE2       SCAN/COPY ( 2 @0.10 PER PG)                        0.20
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/24/2023    RE2       SCAN/COPY ( 7 @0.10 PER PG)                        0.70
 04/24/2023    RE2       SCAN/COPY ( 13 @0.10 PER PG)                       1.30
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/24/2023    RE2       SCAN/COPY ( 15 @0.10 PER PG)                       1.50
 04/24/2023    RE2       SCAN/COPY ( 42 @0.10 PER PG)                       4.20
 04/24/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/24/2023    RE2       SCAN/COPY ( 239 @0.10 PER PG)                     23.90
 04/24/2023    RE2       SCAN/COPY ( 711 @0.10 PER PG)                     71.10
 04/24/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                        0.80
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                        0.40
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                        0.50
 04/24/2023    RE2       SCAN/COPY ( 80 @0.10 PER PG)                       8.00
 04/24/2023    RE2       SCAN/COPY ( 26 @0.10 PER PG)                       2.60
 04/24/2023    RE2       SCAN/COPY ( 103 @0.10 PER PG)                     10.30
 04/24/2023    RE2       SCAN/COPY ( 18 @0.10 PER PG)                       1.80
 04/24/2023    RE2       SCAN/COPY ( 32 @0.10 PER PG)                       3.20
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                        0.60
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 04/24/2023    RE2       SCAN/COPY ( 11 @0.10 PER PG)                          1.10
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                           0.80
 04/24/2023    RE2       SCAN/COPY ( 9 @0.10 PER PG)                           0.90
 04/24/2023    RE2       SCAN/COPY ( 42 @0.10 PER PG)                          4.20
 04/24/2023    RE2       SCAN/COPY ( 44 @0.10 PER PG)                          4.40
 04/24/2023    RE2       SCAN/COPY ( 5 @0.10 PER PG)                           0.50
 04/24/2023    RE2       SCAN/COPY ( 238 @0.10 PER PG)                        23.80
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                           0.60
 04/24/2023    RE2       SCAN/COPY ( 6 @0.10 PER PG)                           0.60
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 1640 @0.10 PER PG)                      164.00
 04/24/2023    RE2       SCAN/COPY ( 43 @0.10 PER PG)                          4.30
 04/24/2023    RE2       SCAN/COPY ( 8 @0.10 PER PG)                           0.80
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 44 @0.10 PER PG)                          4.40
 04/24/2023    RE2       SCAN/COPY ( 65 @0.10 PER PG)                          6.50
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RE2       SCAN/COPY ( 4 @0.10 PER PG)                           0.40
 04/24/2023    RS        Research [E106] Cl@s Information Services, Inv.     270.00
                         464335-44142, P. Jeffries
 04/25/2023    BB        58614.00002 Bloomberg Charges through 04-25-23      198.10
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23               36.95
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23                7.10
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23                7.29
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23               21.87
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23                3.91
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23               27.99
 04/25/2023    LN        58614.00002 Lexis Charges for 04-25-23                7.81
 04/25/2023    LN        58614.00001 Lexis Charges for 04-25-23                7.29
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 04/25/2023    LN        58614.00001 Lexis Charges for 04-25-23            95.75
 04/27/2023    LN        58614.00002 Lexis Charges for 04-27-23            61.74
 04/27/2023    LN        58614.00002 Lexis Charges for 04-27-23           150.52
 04/30/2023    LN        58614.00002 Lexis Charges for 04-30-23             3.91
 04/30/2023    PAC       Pacer - Court Research                            60.60

   Total Expenses for this Matter                                    $3,354.81
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        04/30/2023

Total Fees                                                                                         $1,439,375.00

Total Expenses                                                                                             3,354.81

Total Due on Current Invoice                                                                       $1,442,729.81

  Outstanding Balance from prior invoices as of        04/30/2023          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 132382                   03/31/2023               $831,220.00           $5,194.52                   $166,244.00

             Total Amount Due on Current and Prior Invoices:                                        $1,608,973.81
